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            8
                                               UNITED STATES DISTRICT COURT
            9
                                              WESTERN DISTRICT OF WASHINGTON
          10
                                                        AT SEATTLE
          11
                 MAKAH INDIAN TRIBE,
          12
                                 Plaintiff,
          13                                                   Case No. 2:24-cv-00157
                       v.
          14                                                   DECLARATION OF JOSHUA D. DICK IN
                                                               SUPPORT OF NOTICE OF REMOVAL BY
                  EXXON MOBIL CORPORATION,
          15                                                   DEFENDANTS CHEVRON CORPORA-
                  EXXONMOBIL OIL CORPORATION, BP               TION AND CHEVRON U.S.A. INC.
                  P.L.C., BP AMERICA INC., CHEVRON
          16      CORPORATION, CHEVRON U.S.A. INC.,            [Removal from the Superior Court of the
                  SHELL PLC, SHELL OIL COMPANY,
          17                                                   State of Washington, King County,
                  CONOCOPHILLIPS, CONOCOPHILLIPS               Cause No. 23-2-25216-1 SEA]
                  COMPANY, PHILLIPS 66, and PHILLIPS 66
          18      COMPANY,                                     Action Filed: February 6, 2024
          19                     Defendants.
          20

          21

          22

          23

          24

          25
          26

          27

          28
                                                                          GIBSON, DUNN & CRUTCHER LLP
Gibson, Dunn &
                 DECLARATION OF JOSHUA D. DICK IN                              333 SOUTH GRAND AVENUE,
Crutcher LLP     SUPPORT OF NOTICE OF REMOVAL                                  LOS ANGELES, CA 90071-3197
                                                                                      213.229.7000
                       Case 2:24-cv-00157-JNW Document 2 Filed 02/06/24 Page 2 of 125


            1           I, Joshua D. Dick, declare as follows:
            2           1.      I am an attorney admitted to practice in the State of California, and my application for
            3
                 admission pro hac vice before this Court is forthcoming. I am a partner in the law firm of Gibson,
            4
                 Dunn & Crutcher, LLP, and I am one of the attorneys responsible for the representation of Defendants
            5
                 Chevron Corporation and Chevron U.S.A. Inc. (together “the Chevron Parties”) in this matter. I make
            6

            7    this declaration in support of the Chevron Parties’ Notice of Removal, filed concurrently herewith.

            8           2.      Unless otherwise stated, the following facts are within my personal knowledge through

            9    personal review of the documents and information described herein or through information gathered
          10
                 and provided to me by individuals at my firm, at my direction. If called and sworn as a witness, I could
          11
                 and would testify competently thereto.
          12
                        3.      I have consulted with my clients, and I have been informed that Chevron U.S.A. Inc.
          13
                 was served on January 17, 2024 by Plaintiff Makah Indian Tribe with a copy of the Complaint filed in
          14

          15     the Superior Court of the State of Washington in and for King County on December 20, 2023. The

          16     Notice of Removal is being filed not more than thirty (30) days after Chevron U.S.A. Inc. was served
          17     with a copy of the initial pleading setting forth the claims for relief upon which this action is based. 28
          18
                 U.S.C § 1446(b).
          19
                        4.      “[A] defendants who have been properly joined and served” consent to the removal of
          20
                 this action. 28 U.S.C. § 1446(b)(2)(A). Such consents were provided to counsel for the Chevron
          21

          22     Parties in correspondence with the other served Defendants and/or their counsel.

          23            5.      Pursuant to 28 U.S.C § 1446(a), attached hereto as Exhibit 1 are copies of all process,

          24     pleadings, and orders from the state-court action being removed to this Court that the Chevron Parties
          25     have been able to obtain from the Superior Court which are in the possession of the Chevron Parties.
          26
                 Pursuant to 28 U.S.C § 1446(a), this constitutes “a copy of all process, pleadings, and orders” received
          27
                 by the Chevron Parties in the action.
          28
                                                                                        GIBSON, DUNN & CRUTCHER LLP
                 NOTICE OF REMOVAL                                                            333 SOUTH GRAND AVENUE,
Gibson, Dunn &                                                      1
Crutcher LLP                                                                                  LOS ANGELES, CA 90071-3197
                                                                                                     213.229.7000
                       Case 2:24-cv-00157-JNW Document 2 Filed 02/06/24 Page 3 of 125


            1           6.      Attached hereto as Exhibit 2 is a true and correct copy of a news article published on
            2    the website of the Seattle Times on December 21, 2023, titled “Two PNW tribal nations sue oil com-
            3
                 panies over costs of climate change.”
            4
                        7.      Attached hereto as Exhibit 3 is a true and correct copy of the Treaty of Neah Bay be-
            5
                 tween the United States and the Makah, 12 Stat. 939 (1855).
            6

            7           I declare under penalty of perjury under the laws of the State of Washington and the United

            8    States of America that the foregoing is true and correct and that I executed this Declaration on February

            9    6, 2024, at San Francisco, California.
          10
                                                                              /s/ Joshua D. Dick
          11                                                                  Joshua D. Dick

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                                                                                      GIBSON, DUNN & CRUTCHER LLP
                 NOTICE OF REMOVAL                                                          333 SOUTH GRAND AVENUE,
Gibson, Dunn &                                                     2
Crutcher LLP                                                                                LOS ANGELES, CA 90071-3197
                                                                                                   213.229.7000
Case 2:24-cv-00157-JNW Document 2 Filed 02/06/24 Page 4 of 125




                 EXHIBIT 1




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 6
                 IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                         IN AND FOR THE COUNTY OF KING

 8    MAKAH INDIAN TRIBE,                        ~
                                                       No. 23-2-25216-1 SEA
 9                             Plaintiff,
            v.                                         SUMMONS
10

11;   EXXON MOBIL CORPORATION,
      EXXONMOBIL OIL CORPORATION, BP
12    P.L.C., BP AMERICA INC.; CHEVRON
      CORPORATION, CHEVRON USA, INC.,
13    SHELL PLC, SHELL OIL COMPANY,
      CONOCOPHILLIPS, CONOCOPHILLIPS
14
      COMPANY, PHILLIPS 66, and PHILLIPS 66
      COMPANY,

16                             Defendants.       ~

17          TO:         EXXON MOBIL CORPORATION;
            AND TO:     EXXONMOBIL OIL CORPORATION,;
18
            AND TO:     BP P.L.C.;
19          AND TO:     BP AMERICA INC.;
            AND TO:     CHEVRON CORPORATION;
20          AND TO:     CHEVRON USA, INC.;
            AND TO:     SHELL PLC;
21          AND TO:     SHELL OIL COMPANY:
            AND TO:     CONOCOPHILLIPS;
22
            AND TO:     CONOCOPHILLIPS COMPANY;
23          AND TO:     PHILLIPS 66;
            AND TO:     PHILLIPS 66 COMPANY.
24

25

26

      SUMMONS                                           CORRIE YACKULIC LAW FIRM, PLLC
      PAGE - 1                                            110 PREFONTAINE PLACE SOUTH, SUITE 304
                                                                SEATTLE, WASHINGTON 981()4
                                                     TELEPHONE: (206) 787-1915 - FACSIMILE: (206) 299-9725



                                             4
           Case 2:24-cv-00157-JNW Document 2 Filed 02/06/24 Page 6 of 125




 1           A lawsuit has been started against you in the above entitled court by MAKAH

 2    INDIAN TRIBE. Plaintiff's claims are stated in the written Complaint, a copy of which is
 3    served upon you with this Sulnmons.
 4
              In order to defend against the lawsuit, you Inust respond to the coinplaint by stating
 5
      your defeiise in writing, and serve a copy upon the undersigned attorneys for the plaintiff
 6
      within 20 days after the service of this Summons, or within 60 days if this Summons was
 7

 8    served outside the State of Washington, excluding the day of service, or a default judgment

 9    may be entered against you without notice. A default judgment is one where the plaintiff is

1C?   entitled to what tliey ask for because you have not responded. If you serve a notice of
11
      appearance on the undersigned attorneys, you are entitled to notice before a default judgment
12
      may be entered.
13
              You may demand that the plaintiff file the lawsuit witli the court. If you do so, the
14
      demand must be in writing and Inust be served upon the plaintiff. Within 14 days after the
15

16    service of the demand, the plaintiff must file this lawsuit with the court, or the service on you

17    of this Summons and Complaint will be void.

18            If you wish to seek the advice of an attomey ui this matter, you should do so promptly
19
      so that your written response, if any, may be served on time.
20
              This Summons is issued pursuant to Rule 4 of the Superior Court Civil Rules of the
21
      State of Washington.
22

23    //

24    //

25    //
26

      SUMMONS                                                  CORRIE YACKULIC LAW FIRM, PLLC
      PAGE - 2                                                  110 PREFONTAINE PLACE SOUTH, SUITE 304
                                                                       SEATTLE. WASHINGTON 98104
                                                            TELEPHONE: (206) 787-1915 • FACSIMILE: (206) 299-9725



                                                   5
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1           DATED this 20`" day of December, 2023.

2                                       Respectfully submitted,
3                                       SHER EDLING LLP
4                                       /s/Cor•rie J. Yackulic
                                        CORRIE J. YACKULIC, WSBA No. 16063
5                                       VICTOR M. SHER (pro hac vice forthcoming)
                                        MATTHEW K. EDLING (pro hac vice forihcoming)
6                                       Sher Edling LLP
                                        100 Montgomery St., Ste. 1410
7                                       San Francisco, CA 94104
                                        Tel:    (628) 231-2500
 8                                      Fax: (628) 231-2929
                                        Email: corrie(a~ciylaw.com
 9                                             vic@eredling,com.
                                               matt@redlina.com
10

11                                      Attorneys,for Plaintiff, SHOAL WA TER BA Y INDIAN
                                        TRIBE
12
                                         DRUMMOND WOODSUM & MACMAHON
13
                                         KAIGHN SMITH JR. (pro hac vice fof•thconzing)
14                                       84 Marginal Way, Suite 600
                                         Portland, ME. 0410.1.
15                                       Tel:       (207) 253-0559
                                         Email: ksmith@dwmlaw.com
16
                                         Attorneys for Plaintiff, SHOALWATER BAYINDIAN
17                                       TRIBE
18
19
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21


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     SUMMONS                                                 CORRIE YACKULIC LAW FIRM, PLLC
     PAGE - 3                                                  110 PREFONTAiNE PLACE SOUTH, SUITE 304
                                                                     SEATTLE, WASHINGTON 981()4
                                                          TELEPHONE: (206) 787-1915 • FACSIMILE: (20(,) 299-9725



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 5
                IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 6                        IN AND FOR THE COUNTY OF KING
 7
     I MAKAH INDIAN TRIBE,
 8                                               No. 23-2-25216-1. SEA
                               Plaintiff,
 9         v.                                    COMPLAINT FOR DAMAGES
                                                 AND INJUNCTIVE RELIEF
10    EXXON MOBIL CORPORATION,
11    EXXONMOBIL OIL CORPORATION, BP
      P.L.C., BP AMERICA INC., CHEVRON
12    CORPORATION, CHEVRON USA, INC.,
      SHELL PLC, SHELL OIL COMPANY,
13    CONOCOPHILLIPS, CONOCOPHILLIPS
      COMPANY, PHILLIPS 66, and PHILLIPS 66
14
      COMPANY,
15
                               Defendants.
16

17
18
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20
21
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26
      COMPLAINT FOR DAMAGES AND                            SHER EDLING LLP
                                                       100 Montgomery St., Ste. 1410
      1NJUNCTIVE RELIEF                                  San Francisco, CA 94104
                                                              (628) 231-2500




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                                                                                                    SHER EDLING LLC
     COMPLAINT FOR DAMAGES AND                                                                  100 Montgomery St., Ste. 1410
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 1                                      I.     INTRODiJCTION

2           1.1     For   decades,    ExxonMobil,     BP,    Shell,   Chevron         and       ConocoPhillips
3
     ("Defendants") have misled consumers and the public about the central role of fossil fuels in
4
     causing climate change. Since at least the 1950s, their own scientists have consistently concluded
 5
     that fossil fuels produce carbon dioxide and other greenhouse gas pollution that increases global
 6

 7   temperatures, destabilizing the climate and causing catastrophic consequences for the planet and

 8   its people. The industiy has taken these internal scientific findings seriously, investing heavily

 9   to protect its own assets and infrastructure from rising seas, stronger storms, and other climate
10   change impacts. But rather than warn consumers and the public about these dangers, fossil fuel
11
     companies and their surrogates liave for decades puslied disinformation to discredit the scientific
12
     consensus on climate change; to create doubt in the public's mind about the climate-disruptive
13
     impacts of burning fossil fuels; and to delay the energy economy's transition to a lower-carbon
14

15   ftiture. This successful climate deception campaign has had the purpose and effect of inflating

16   and sustaining the market for fossil fuels, which—in turn—has driven up greenhouse gas

17   emissions, accelerated global warming, and brought about devastating climate change impacts
18
     to the Makah Tribe and its reservation that continue unabated today.
19
            1.2     Defendants' promotion and sale of fossil fLiels has exploded since the Second
20
     World War, as have carbon dioxide ("CO2") and otlier emissions from those products. Fossil
21
     fuel emissions—especially CO2—are far and away the dominant driver of global warming. ' Tlie
22

23
24
       See Intergovertimental Panel on Climate Change ("IPCC"), Summary for Policymakers in
25   Climate Change 2021: The Physical Science Basis. Contribution of Working Grotrp I in the Sixth
     Assessment                  Report               (2021),              at                  4-9,
26   https://www. ipcc.ch/report/ar6/wg1/downloads/repoi-t/1PCC_AR6_W GI_SPM.pd£
     COMPLAINT FOR DAMAGES AND                                            SHER EDLING LLC
                                                                      100 Montgomery St., Ste. 1410
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     substantial majority of all anthropogenic (liuman-caused) greenhouse gas emissions in history
 2   have occurred from the 1950s to the present, a period known as the "Great Acceleration."'- About
 3
     three-quarters of all industrial CO2 emissions in history have occurred since the 1960s,3 and more
 4
     than half have occurred since the late 1980s. The annual rate of CO2 emissions from extraction,
 5
     production, and consumption of fossil fuels has increased substantially since 1990.4
 6

 7          1.3      Defendants' awareness of the negative impacts of fossil fuel consumption altnost

 8   exactly tracks the onset of the Great Acceleration. Defendants have known since at least the

 9   1950s that fossil fuels produce carbon dioxide atid other greenhouse gas ("GHG") pollution that
10
     would warm the planet and destabilize our climate. Defendants' own scientists advised the
11
     companies repeatedly, starting as early as the 1950s, that climate impacts could be catastrophic,
12
     and that only a narrow window of time existed in which to act before the consequences became
13
     catastrophic.
14
15          1.4      Rather than warn the public of these tremendous harms, however, Defendants

16   mounted a disinformation campaign beginning as early as the 1970s to discredit the burgeoning
17   scientific consensus on climate change; deny their own knowledge of climate change-related
18
     threats; create doubt about the reality and consequences of the impacts of burning fossil fuels;
19
     and delay the necessary transition to a lower-carbon future.
20
21
22
     2 Will Steffen et al., The Trajectory ofthe Anthropocene: The GJ•eat Acceleration, 2 Tlie
23
     Anthropocene Review 81, 81 (2015).
24   3 R.J. Andres et al., A Synthesis of Carbon Dioxide Ernissionsfi-om Fossil-Fuel Cornbustion, 9
     Biogeosciences 1845, 1 85 1 (2012).
25   4        Global        Carbon        Project,     Global       Carbon       Budget        2021,
     littps://www.globa lcarbonproject.org/global/iinages/carbonbudget/Infographic_Eini ssions2021.
26   pdf.
     COMPLAINT FOR DAMAGES AND                                          SHER EDLING LLC
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 1          1.5     Defendants have further deceived customers and the public by misrepresenting
2    the climate impacts of their products sold in Washington State and on the Makah Reservatioii.
3
     ln a bid to reassure consumers that purchasing these products is good for the planet, .Defendants
4
     advertise them as "cleaner," "emissions-reducing," and the like, while failing to disclose their
5
     harmful effects on the climate. This strategy is similar to the Tobacco industry's advertising
 6

 7   playbook, which deceptively promoted "low tar" and "light" cigarettes as healthier smoking

 8   options, when the companies knew that any use of cigarettes was harmful. Defendants here

 9   likewise falsely present tliemselves as corporate leaders in the fight against climate cliange,
10
     claiming to invest substantially in low-emission technologies and zero-emission energy sources,
11
     while their businesses continue to focus overwhelmingly on fossil fuel production and sales.
12
            1.6     Defendants' deceptive conduct and sophisticated promotion of fossil fuel
13
     products without warning of their dangers inflated and sustained demand for fossil ftiels and
14

15   forestalled the move to low- and no-carbon alternatives, resulting in billions of dollars in profits

16   for Defendants.

17          1.7        Yet it is now the Makah Tribe and its citizens who are paying for the effects of
18
     Defendaiits' misconduct. The Tribe faces existential threats to its people and its land from
19
     climate cliange. The Tribe has already spent millions to deal with climate change-induced
20
     disasters and protect its assets from future harms, and will spend many hundreds of millions
21
     more. Climate-disruption impacts include those resultiiig from rising sea levels, heavier rainfall
22

23   concentrated in fewer months, many more days with extreme heat, drier soil moisture levels,

24   reduced low stream flow levels and elevated high stream flow levels, more frequent and
25   damaging wildfire, more frequent and intense storms and drought, flooding and erosion, human
26
     COMPLAINT FOR DAMAGES AND                                            SHER EDLING LLC
                                                                      100 Montgomery St., Ste. 1410
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1    ( health effects, especially for the most vulnerable, and much more. The Tribe brings this lawsuit
2    ~ to hold Defendants accountable for their deceptive and unfair conduct, and to pay for the damage
3
     J their deceptive conduct has caused and will cause for decades to come.5
4
                                               II.     PARTIES
5

 6   I A.     Plaintiff

 7            2.1.     Plaintiff, the Makah Indian Tribe ("Makah Tribe" or "Tribe"), is a federally-

 8    recognized sovereign Native Nation that has occupied the lands and surrounding islands and
 9
      waters of what is now the most northwestern portion of the State of Washington for millennia.
10
      The Makah Reservation, which consists of approximately 30,000 acres.on northwestern tip of
11
      the Olympic Peninsula bordered to the north by the Strait of Juan de Fuca and to the west by the
12
      Pacific Ocean and including Tatoosh lsland and Waadah Island, was reserved from a portion of
13
14    the Tribe's aboriginal territory under the .1855 Treaty of Neah Bay, 12 Stat. 939, and

15    subsequently enlarged through executive orders and statutes.               As used herein, "Makah

16     Reservation" includes the Tribe's treaty reservation, as expanded by executive orders and
17
       statutes, together with lands that the United States holds in trust for the Tribe near and contiguous
18
       to the Tribe's treaty reservation. The Tribe brings this action to vindicate its sovereign,
19
       proprietary, public trust, and parens patriae rights, to abate a public nuisance, and to recover for
20
21     injuries to the Tribe's natural resources, property, and public health.

22
23
24
       ' Plaintiff hereby disclaims injuries arising on federal enclaves and those arising froin
25     Defendants' provision of non-commercial, specialized fossil fuel products to the federal
       government for military and national defense purposes. The Tribe seeks no recovery or relief
26     attributable to these injuries.
                                                                            SHER EDLING LLC
       COMPLAINT FOR DAMAGES AND
                                                                        100 Montgomery St., Ste. 1410
       INJUNCTIVE RELIEF                                                  San Francisco. CA 94104
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 1   B.     Defendants
2           2.2.    This suit concems the wrongful promotion, marketing, and sale of fossil fuels.
3
     Defendants Exxon Mobil Corporation, ExxonMobil Oil Corporation, BP P.L.C., BP America
 4
     Inc., Chevron Corporation, Chevron USA, Inc., Shell plc, Shell Oil Company, ConocoPhillips,
 5
     ConocoPhillips Company, Phillips 66, and Pliillips 66 Company are multinational oil and gas
 6
 7   companies that promote, inarket, and sell fossil fiiels and fossil fuel-based products worldwide,

 8   including in Washington. All Defendants are either registered to do business in Washington or

 9   have wholly-owned subsidiaries registered to do business in Washington.
10          2.3.    Exxon Entities: Exxon Mobi1 Corporation, ExxonMobil Oil Corporation
11
                    a.      Defendant Exxon Mobil Corporation is a New Jersey corporation
12
     headquartered in Irving, Texas. Exxon Mobil Corporation is the parent company of numerous
13
     subsidiaries, which explore for, produce, refine, market, and sell fossil fuels worldwide. Exxon
14
15   Mobil Corporation was formerly known as, did or does business as, and/or is the successor in

16   liability to ExxonMobil Refining and Supply Company, Exxon Chemical U.S.A., ExxonMobil

17   Chemical Corporation, ExxonMobil Chemical U.S.A., ExxonMobil Refining & Supply
18
     Corporation, Exxon Company, U.S.A., Exxon Corporation, Standard Oil Company (NJ), and
19
     Mobil Corporation.
20
                    b.      Exxon Mobil Corporation controls and has controlled whether and to wliat
21
22   extent it or its subsidiaries promote, market, or sell fossil fuels. This includes decisions related

23   to climate change and greenhouse gas emissions, marketing its brand and fossil fuels, as well as

24   strategic communications concerning climate change and the role of fossil ftiels.
25
26
     COMPLAINT FOR DAMAGES AND                                            SHER EDLING LLC
                                                                      100 Montgomery St., Ste. 1410
     INJUNCTIVE RELIEF                                                  San Francisco, CA 94104
                                                                            (628) 231-2500
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1                   c.      Defendant ExxonMobil Oil Corporation is a New York corporation
2    headquai•tered in Irving, Texas. ExxonMobil Oil Corporation is a wholly owned subsidiary of
3
     Exxon Mobil Corporation that acts on Exxon Mobil Corporation's behalf and is subject to Exxon
4
     Mobil Corporation's control. ExxonM.obil Oi1. Corporation was formerly known as, did or does
5
     business as, and/or is the successor in liability to Mobil Oil Corporation.
6

7                   d.      Defeiidants Exxon Mobil Corporation, ExxonMobil Oil Corporation, and

 8   their predecessors, successors, parents, subsidiaries, affiliates, and divisions, are collectively

 9   referred to herein as "Exxon."
10          2.4.    BP Entities: BP P.L.C., BP America Inc.
11
                    a.      Defendant BP P.L.C. is registered in England and Wales with its principal
12
      place of business in London. BP P.L.C. is the parent company of numerous subsidiaries, which
13
      explore for, produce, refine, market, and sell fossil fuels worldwide. BP P.L.C. was formerly
14
15    known as, did or does business as, and/or is the successor in liability to British Petroleum.

16                   b.     BP P.L.C. controls and has controlled whether and to what extent it or its

17    subsidiaries promote, market, or sell fossil fuels. This includes decisions related to climate
18
      change and greenhouse gas emissions, marketing its brand and fossil fuels, as well as strategic
19
      communications concerning climate change and the role of fossil fuels. BP owns the Cherry
20
      Point .Refinery in Whatcom County, the largest oil refinery in Washington State.
21
                     c.     Defendant BP America Inc. is a Delaware corporation headquartered in
22
23    Houston, Texas. BP America is awholly owiied subsidiaty of BP P.L.C. that acts on BP P.L.C.'s

24    behalf and is subject to BP P.L.C.'s control. BP America Inc. was formerly known as, did or
25    does business as, and/or is the successor in liability to Amoco Corporation, Amoco Oil ~
26
                                                                          SHER EDLING LLC
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1    Company, ARCO Products Company, Atlantic Richfield Washington Corporation, Atlantic
2    Riclifield Company (a Delaware Corporation), BP Exploration & Oil, Inc., BP Products North
3
     America Inc., BP Amoco Corporation, BP Amoco Plc, BP Oil, Inc., BP Oil Company, Sohio
4
     Oil Company, Standard Oil of Ohio (SOHIO), Standard Oil (Indiana), and The Atlantic
5
     Richfield Company (a Pennsylvania Corporation) and its division, the Arco Chemical
6

 7   Company.

 8                  d.      Defendants BP P.L.C. and BP America, Inc., together with their

 9   predecessors, successors, parents, subsidiaries, affiliates, and divisions, are collectively referred
10
     to herein as "BP."
11
            2.5.    Chevron Entities: Chevron Corporation, Chevron USA, Inc.
12
                    a.      Defendant     Chevron      Corporation      is    a    Delaware           corporation
13
     headquartered in San Ramon, California. Chevron Corporation is the parent company of
14

15   numerous subsidiaries, whicli explore for, produce, refine, market, and sell fossil fuels

16   worldwide.

17                  b.      Chevron Corporation controls and has controlled whether and to what
18
     extent it or its subsidiaries promote, market, or sell fossil fuels. This includes decisions related
19
     to climate chatige and greenhouse gas emissions, marketing of its brand and fossil fuels, as well
20
     as strategic communications concerning climate change and the role of fossil fuels.
21
                    c.      Defendant Chevron U.S.A. Inc. is a Pennsylvania corporation
22

23   headquartered in San Ramon, California. Chevron U.S.A. Inc. is a wholly owned subsidiary of

24   Chevron Corporation that acts on Chevron Corporation's behalf and is subject to Chevron
25   Corporation's control. Chevron U.S.A. I.nc. was formerly known as, did or does business as,
26
     COMPLAINT FOR DAMAGES AND                                            SHER EDLING LLC
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1    and/or is the successor in liability to Gulf Oil Corporation, Gulf Oil Corporation of
2    Pennsylvania, Chevron Products Company, and Chevron Chemical Company.
3
                    d.      Defendants Chevron Corporation and Chevron U.S.A. Inc., together with
4
     their predecessors, successors, parents, subsidiaries, affiliates, and divisions, are collectively
5
     referred to herein as "Chevron."
6

7           2.6.    Shell Entities: Shell nlc, Shell Oil Company

 8                  a.      Defendant Shell plc (formerly Royal Dutch Shell PLC) is incorporated in

 9   England and Wales, headquartered in Tlie Hague, Netherlands. Shell plc is the parent company
10
     of numerous divisions, subsidiaries, and affil.iates, referred to collectively as the "Shell Group,"
11
     that engage in all aspects of the fossil fuel industry including exploration, development,
12
     extraction, manufacturing and energy production, transport, trading, marketing, and sales.
13
                    b.      Shell plc controls and has controlled whether and to what extent it or its
14

15   subsidiaries promote, market, or sell fossil fuels. This includes decisions related to climate

16   change and greenhouse gas emissions, marketing its brand and fossil ftiels, as well as strategic

17   communications concerning climate change and the role of fossil fuels. Shell owned and
18
     operated the Shell Anacortes Refinery in Whatcom County prior to 1998, and the Puget Sound
19
     Refinery in Skagit County from 1998 to 2021.
20
                    c.      Defendant Shell Oil Company is a Delaware corporation lieadquartered
21
     in Houston, Texas. Shell Oil Company is a wholly owned subsidiary of Shell plc that acts on
22

23   Shell plc's behalf and is subject to Shell plc's control. Shell Oil Company was formerly known

24   as, did or does business as, and/or is the successor in liability to Deer Park .Refining LP, Shell
25   Oil, Shell Oil Products, Shell Chemical, Shell Trading US, Shell Trading (US) Company, Shell
26
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1    Energy Services, Texaco Inc., The Pennzoil Company, Shell Oil Products Company LLC, Shell
2    Oil Products Company, Star Enterprise, LLC, and Pennzoil-Quaker State Company.
3
                    d.      Defendants Shell plc, Shell Oil Company, and their predecessors,
4
     successors, parents, subsidiaries, affiliates, and divisions are collectively referred to herein as
5
     "Shell."
6

7           2.7.    ConocoPhillins Entities: ConocoPhillips, ConocoPhillips Company, Phillips
                    66, Phillins 66 Company
 8
                    a.      Defendant ConocoPhillips is incorporated in Delaware and lias its
 9
     principal place of business in Houston, Texas. ConocoPhillips consists of numerous divisions,
10

11   subsidiaries, and affiliates that execute ConocoPhillips's fundamental decisions related to all

12   aspects of the fossil fuel industry, including exploration, extraction, production, manufacture,

13   transport, and marketing.
14                  b.       ConocoPhillips controls and lias controlled whether and to what extent it
15
     or its subsidiaries promote, market, or sell fossil fuels. This includes decisions related to climate
16
     change and greenhouse gas emissions, marketing its brand and fossil fuels, as well as strategic
17
     communications concerning climate change and the role of fossil fuels. ConocoPhillips's most
18

19   recent annual report subsumes the operations of the entire ConocoPliillips group of subsidiaries

20   under its name. ConocoPliillips has developed and purportedly implements a corporate Climate
21   Change Action Plan to govern climate change decision making across all entities in tlie
22
     ConocoPhillips group.
23
                    c.      Defendant ConocoPhillips Company is a wholly owned subsidiary of
24
     ConocoPhillips that acts on ConocoPhillips's behalf and is subject to ConocoPhillips's control.
25

26
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1    l ConocoPhillips Company is incorporated in Delaware and lias its principal office in Bartlesville,
2    ~ Oklalioma. ConocoPliillips Company is registered to do business in Washington.
3
                       d.    Defendant Phillips 66 is incorporated in Delaware and has its principal
4
     l place of business in Houston, Texas. It encompasses downstrearn fossil fuel processing, refining,
5
      transport, and marketing segments that were formerly owned and/or controlled by
6

7    I ConocoPhillips. Phillips 66 owns the Ferndale Refinery in Whatcom County.

 8                     e.    Defendant Phillips 66 Company is a wholly owned subsidiary of Phillips

 9    66 that acts on Phillips 66's behalf and is subject to Phillips 66's control. Phillips 66 Company
10    is incorporated in Delaware and has its principal office in Houston, Texas. Phillips 66 Company
11
      is registered to do business in Washingtoii. Phillips 66 Company was formerly known as, did or
12
      does business as, and/or is the successor in.liability to Phillips Petroleum Company, Conoco,
13
      Inc., Tosco Corporation, and Tosco Refining Co.
14
15                     f.    Defendants ConocoPhillips, ConocoPhillips Company, Phillips 66, and

16     Phillips 66 Company and their predecessors, successors, parents, subsidiaries, affiliates, and

17    divisions are referred to herein as "ConocoPhillips."
18
              2.8.     When this Complaint references an act or olnission of Defendants, unless
19
      specifically attributed or otlierwise stated, such references sliould be interpreted to mean that the
20
      officers, directors, agents, employees, or representatives of Defendants committed or authorized
21
      such an act or omission, or failed to adequately supervise or properly control or direct their
22
23    elnployees while engaged in the Inanagement, direction, operation or control of the affairs of

24     Defendants, and did so while acting within the scope of their employment or agency.
25
26
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1                                III.    JURISDICTION AND VENUE

2            3.1.    This Court has subject matter jurisdiction as this action arises within the Makah
3
     Reservation within the State of Washington and this Court is a court of general jurisdiction.
4
             3.2.    This Court has personal jurisdiction over Defendants pursuant to RCW
5
     4.28.185(1)(a)-(b) and RCW 19.86.160 because this complaint arises out of business transacted
6

7    in Washington and tortious conduct directed at Washington residents, including the Tribe and

 8   its citizens.

 9           3.3.    Each Defendant is transacting or has transacted substantial business in
10
     Washington; is contracting or has contracted to supply seivices or things in Washington; has or
11
     does derive substantial revenue in Washington or engages in a pec•sistent course of conduct in
l2
     Washington; had or has interests in, used or uses, or possessed or possesses real property in
13
     Washington; and/or caused tortious injury in Washington and has intentionally engaged in
14

15   conduct aimed at Washington, which has caused harm they knew was likely to be incurred in

16   Washington, including on the Makah Reservation. Each Defendant has sufficient contacts with

17   Washington to give rise to the current action, has continuous and systematic contacts with
18
     Washington, and/or has consented eitlier explicitly or implicitly to the jurisdiction of this Court.
19
             3.4.    A significant amount of Defendants' fossil fuels are or have been transported,
20
     refined, distributed, promoted, marketed, sold, and/or consumed in Washington, including on
21
     the Makah Reservation, from wliich Defendants derive and have derived substantial revenue.
22

23   Defendants—directly and through their subsidiaries and/or predecessors-in-interestsupplied

24   substantial quantities of fossil fuels to Washington State during the period relevant to this
25

26
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 1   ~ litigation. Defendants also market and sell petroleum products, including engine lubricants and
 2    motor oils, in Washington, including on the Makah Reservation, through local retailers.
 3
             3.5.     Hundreds of Defendant-branded gas stations serve Washington consumers in the
 4
      state. Through their various agreements with dealers, franchises, or otherwise, Defendants direct
 5
      and control the branding, marketing, sales, promotions, image development, signage, and
 6

 7    advertising of their branded fossil fuels at their respectively branded gas stations in Washington,

 8    including point-of-sale advertising and marketing. Defendants dictate which grades and

 9    formulations of their gasoline may be sold at their respectively branded stations. Defendants also
10    maintain websites to direct Washington residents to their nearby retail service stations.
11
              3.6.    Defendants have purposefully directed and continue to purposefully direct tlieir
12
      tortious conduct toward Washington by distributing, marketing, advertising, promoting, and
13
      supplying fossil fuels in Washington, witli knowledge that fossil fuels have caused and will
14
15    continue to cause climate crisis-related injuries in Washington, including in and on the Makah

16    Reservation.

17            3.7.    Over the past several decades, Defendants, directly and tlirough their surrogates,
18
      have spent millions of dollars on radio, television, outdoor advertisements, and social media sites
19
      in the Washington market related to their fossil ftiels. As just one example, a December 12, 2003
20
      Op-Ed in the Seattle Post-Intelligencer, authored by former API and Global Climate Coalition
21
      executive William O'Keefe, clailned the "science of climate change" was "far from settled,"
22
23    relying on a"review" by Willie Soon, who was later exposed as receiving millions of dollars in

24 ~ funding from the oil and gas industry, including at least some of the Defendants here. In the Op-
25    Ed, O'Keefe asserts, falsely, that "Neither I nor anyone else lcnows whether climate over the
26
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      ~ course of this century will be a scientific curiosity or a serious ecological threat," when it was
2      well laiown for years, throughout the fossil fuel industry, that climate change posed a"serious
3
       ecological threat." Since the 1970's and continuing today, Defendants have also advertised in
4
       print publications circulated widely to Washington consumers, including but not limited to: The
5
       Atlantic, The Economist, Fortune Magazine, The New York Times, People, Sports Illustrated,
6

 7     Time Magazine, The Washington Post, Newsweek, and The Wall Street Journal.

 8             3.8.     As described below, Defendants' advertising campaigns have concealed and

 9     misled consumers about the role of fossil fuels in causing climate change and failed to warn
10     consumers about those hazards. That conduct was and is intended to increase use of fossil fuels
11
       in and outside Washington, resulting in the Tribe's injuries.
12
               3.9.     Fui-ther, as described below, Defendants knew or should have known—based on
13
       information passed to them from their internal research divisions, affiliates, trade associations,
14
15     and industry groups—that their actions in Washington, including on the Makah Reservation, and

16     elsewhere would result in these injuries to the Tribe. The climate effects described herein are

17     direct and foreseeable results of Defendants' conduct, collectively and individually.
18
               3.10.    Venue is proper in King County pursuant to RCW 4.12.020 and 4.12.025,
19
       and Superior Court Civil Rule 82, because Defendants transact business in King County.
20
                                                 IV.    FACTS
21
               4.1.     Part A provides bacl<ground on the role of fossil fuels in causing global waiming.
22
23     Part B describes Defendants' knowledge, dating back many decades, that continued use of fossil

24 I fiiels would cause severe harm in Washington, including on the Makah Reservation, and
25     elsewhere. Part C describes how Defendants not only concealed this information from the public,
~71
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 1   but affirmatively worked to deny or discredit it. Defendants simultaneously acted on that same
2    information to protect their own assets and future profits from the sale of fossil fuels. Par-t D
3
     describes how, to this day, Defendants continue to mislead the public by falsely claiming they
 4
     offer clean and green fossil fuel products, and are leaders in the transition to clean energy. Part
 5
     E describes how alternative energy technologies could have replaced or significantly reduced
 6
 7   fossil fuel dependence. Part F describes how Defendants' tortious actions are a proximate cause

 8   of the Tribe's harms. Part G describes the Tribe's harms, which include damage to property,

 9   damage to and loss of natural resources and adverse public health effects.
10          Fossil fuel use since the 1960s accounts for most greenhouse gasses in the
     A.
11          atmosphere that are causing global warming

12          4.2.     Producing and consuming fossil fuels releases carbon dioxide, methane, and other

13   pollutants into the atmosphere. Called "greenhouse gasses," these pollutants trap heat in the
14   atmosphere, causing global warming. Carbon dioxide is the most prevalent greeiihouse gas,
15
     while methane is responsible fot• a third of the warming the Ea1-th has experienced thus far.
16
            4.3.     As the below graph illustrates, consuming fossil fuels is the principal cause of
17
     human emissions of carbon dioxide since the 1950's:
18
19
20
21
22
23
24
25
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4                      ..   ..   .   ..   ..   :.   :..:.:..   ....,.:..•   .   : ___...   :.:.:.,..   ,    E




 5

6

7

 8

9
10
11
          Figure 1: Annual Global Emissions, 1850-20206
12
             4.4.    Increased emissions from fossil ftiel consumption has led to an increase in the
13
14   concentration of carbon dioxide in the Earth's atinosphere. Since 1960, carbon levels in the

15   atmosphere spiked from under 320 parts per million ("ppm") to approximately 419 ppm.7 From

16   1960 to 1970, atmospheric CO2 increased by an average of approximately 1 ppm per year. Over
17   the last five years, it has increased by around 2.5 ppm per year.8 In other words, as the world
18
     consumes more and more fossil fi.iels, carbon dioxide levels increase at a faster rate. This traps
19
20
21
     6   Global Carbon Project, Global Carbon Budget 2021 83 (Nov. 4, 2021),
22   https://www.globalcarbonproject.org/carbonbudget/archive/2021/GCP_CarbonBudget 2021.p
     df
23
     ' Global Monitoring Laboratory, Trends in Atmospheric Carbon Dioxide, NOAA (last visited
24   Sept.                                                         30,                                                                     2022),
     https://gm l.noaa.gov/dv/data/?parameter_name=Carbon%2BDioxide&type=lnsitu
25   8 Global Monitoring Laboratory, Trends in Atmospheric Carbon Dioxide, NOAA (last visited
     Sept.                                                         30,                                                                     2022),
26   https://gm l.noaa.gov/dv/data/?parameter_name=Carbon%2BDi oxide&type=Insitu
     COMPLAINT FOR DAMAGES AND                                                                                 SHER EDLING LLC
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1    ever more heat in the atmosphere and increases the Earth's temperature at a faster pace and to a
2
     greater extent.
3
              4.5.       The graph below illustrates how the rise in human emissions of carbon dioxide
4                      is connected to the rise of carbon dioxide levels in the atmosphere:
                   r$ cartr          aits     ø ann             . ~~t~~:►~1~
5

6

7

 8

 9

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                                    ...        .                                                          _
11                                                                                                            ~

12                                                           —    .,
               ,                                                 I ' i        1&t          tç''
13
14       Figure 2: Atmospheric CO2 Concentration and Annual Emissions9

15           4.6.      Concentrations of greenhouse gases in the atmosphere are now at the highest level
16
     in at least three million years. 10
17
             4.7.      Greenliouse gasses prevent heat from the sun from being radiated back into space.
18
     As greenhouse gases accumulate in the atmosphere, they trap more heat. The rise in greenhouse
19
20   gasses is leading to a rise in global mean temperatures.

21
22
23
     9 Rebecca Lindsey, Climate ChanQe: Atmospheric Carbon Dioxide, NOAA (June 23, 2022),

24   https://www.climate.gov/news-features/understand ing-climate/climate-change-atmospheri c-
     carbon-dioxide.
25   10 Science Daily, More CO2 Than Ever Before in 3 Million Years, Shows Unprecedented
     Computer                Simulation               (Apr.                3,             2019),
26   https://www.sciencedaily.com/releases/2019/04/190403155436.htm.
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1            4.8.        Global warming has contributed to increasingly devastating wildfires, flooding,
2    droughts, rising temperatures and sea levels, and ocean acidification to the harm and detriment
3
     of the Makah Reservation. The healtli of the citizens of the Makah Tribe has also suffered and
4
     will suffer from extreme heat and extreme weather, worsened air quality, and vector-borne
5
     illnesses.
6

 7           4.9.        According to the climate iinpacts group at the University of Washington, with

 8   global warming of at least 1..5 degrees Celsius, by 2050, Washington, including the Makah

 9   Reservation, is projected to experience:
10                  a.          A 67 percent increase in the number of days per year above ninety degrees
11
      Fahrenheit, relative to 1976-2005, leading to an increased risk of heat-related illliess and death,
12
      warmer streams, and more frequent algal blooms;
13
                    b.          A decrease of thirty-eight percent in the snowpack, relative to 1970-1999,
14

15    leading to reduced water storage, irrigation shortages, and winter and summer recreation losses;

16                  c.          An increase of sixteen percent in winter streamflow, relative to 1970-

17    1999, leading to an increased risk of river flooding;
18
                    d.          A decrease of twenty-three percent in summer streamflow, relative to
19
      1970-1999, leading to reduced summer hydropower, conflicts over water resources, and
20
      negative effects on salmon populations; and
21
                    e.          An increase of one and four-teiiths feet in sea level, relative to 1991-2010,
22
                                                                                                            l
23    leading to coastal flooding and inundation, damage to coastal infrastructure, and bluff erosion.l

24
     " WASH. REV. CODE § 70A.45.020, lntent - 2020 c 79 (2020). Snover, A.K., C.L. Raymond,
25   H.A. Roop, H. Morgan, 2019. No Time to Waste. The Intergovernmental Panel on Climate
     Change's Special Report on Global Warming of 1.5°C and Implications for Washington State.
26   Briefing paper prepared by the Climate Impacts Group, University of Washington, Seattle.
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1            4.10.   As the next sections describe, most emissions from increasing consumption of

2    fossil fuels have occurred since Defendants knew that fossil fuels would cause such harms, yet
3
     Defendants did not warn consumers about these risks. Instead, Defendaiits worked to deceive
4
     the public about the role of fossil fuels in causing climate cliange in order to protect their profits.
5
     B.      Defendants have known that fossil fuels would cause catastrophic climate change
6            since at least 1959.
 7
             4.11.   Defendants studied the effects of fossil fuel combustion on climate for decades,
 8
     developing a sophisticated understanding of climate disruption due to fossil ftiel use that far
 9
     exceeded the knowledge of ordinary consLmlers.
10
             4.12.   Defendants knew climate change posed a risk to their fossil fiiel business. Internal
11

12   documents regularly mention these risks.

13           4.13.   In 1954, the American Petroleum Institute (API), the industry's main trade

14   association, learned from geochemist Harrison Brown and his colleagues at the California
15
     Institute of Technology that fossil fuels had caused atmospheric carbon dioxide levels to increase
16
     by about 5% since 1840.12 API continued to fund measurements of carbon dioxide levels after
17
                                                     l3
     that, but did not share the results publicly.
18
             4.14.   In 1957, Humble Oil (predecessor-in-interest to ExxonMobil) measured an
19

20   increase in atmosplieric carbon dioxide similar to that measured by Harrison Brown and shared

21   the results with API.
22

23
     Updated                      02/2019.                                             https://cig.uw.edu/wp-
24   content/uploads/s ites/2/20 1 9/02/NoTimeTo Waste_CIG Feb2019.pdf

25   12 See Benjamin Franta, Early Oil Industry Knowledge of CO2 and Global Warmina, 8 Nature
     Climate Change 1024, 1024-25 (2018).
26   13
        Id.
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            4.15.    In 1959, nuclear physicist Edward Teller warned API members, including
2    Defendants, that "a temperature rise corresponding to a 10[%] increase in carbon dioxide will be
3                                                                                                 this chemical
     sufficient to melt the icecap and submerge ...[a]11 the coastal cities ...
4                                                                      14
     contamination is n.lore serious than most people tend to believe."
5
             4.16. In 1965, President Lyndon B. Johnson's Science Advisory Committee reported
6

 7   that burning fossil fuels was adding carbon dioxide to the Earth's atmosphere and could lead to

 8   uncontrollable and significant changes in the Earth's climate, and rapid sea-level rise.1 '

 9           4.17.   API promptly discussed this report with its members, stating: "[t]he substance of
10   the report is that there is still time to save the world's peoples from the catastrophic consequence
11
     of pollution, but time is running out.'"I6 API's President emphasized the report's finding that "the
12
     pollution from internal combustion engines is so serious, and is growing so fast, that an
13
     alternative nonpolluting means of powering automobiles, buses, and trucks is likely to become
14
15   a national necessity." I7

16           4.18.   API subsequently commissioned research on carbon dioxide pollutioii from the

17   Stanford Research Institute.18 In 1968, the SRI scientists informed API that "[p]ast and present
18
     studies of CO2 are detailed and seem to explain adequately the present state of CO2 in the
19
20
21   14  Edward Teller, Energy Patterns of the Future, in Energy and Man: A Symposiuin 53-72
     (1960).
22   15 President's Science Advisory Committee, Restoring the Quality of Our Environment: Report
     of      tlie    Environmental        Pollution    Panel   9,    119-24      (Nov.    1965),
23
     https://lidl.handle.net/2027/uc l .b4315678.
24
     16
        See Franta, Early Oil Industry Knowledge of COz and Global Warming, at 1024-25.
     17
        Id.
25   Ig Ehner Robinson & R.C. Robbins, Sources, Abundance, and Fate of Gaseous Atmos heric
     Pollutants,             Stanford            Rsch.       Inst.         (Feb.          1968),
26   https://www.smokeandfumes.org/documents/document 16.
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1      atmosphere." They warned there was "no doubt" that the "potential damage to our enviromnent
2      could be severe."19
3
              4.19.    In a supplemental report the next year (1969), the Stanford Research Institute
4
       projected tliat, if present fossil fuel consumption trends continued, the concentration of carbon
5
       dioxide in the atmosphere would reach 370 parts per million ("ppm") by 2000.                     The report
 6
 7     explicitly connected the rise in CO2 levels to the combustion of fossil fuels, finding it "unlikely

 8     that the observed rise in atmospheric CO2 has been dtie to changes in the biosphere." The

 9     scientists" projection was accurate. In 2000; the concentration of carbon dioxide in the
10
       atmosphere was 369.64 ppm.20
11
              4.20.    API shared this research with Defendants.
12 i
              4.21.    Exxon also researched climate science. In the 1970s and 1980s, Exxon scientists
13
       confirmed that burning fossil filels was the dominant source of carbon dioxide pollution and
14
15     accurately predicted futtu•e concentrations of carbon dioxide and the associated rise in

16     temperature. They briefed management at the highest levels of their findings.

17            4.22. In 1977, James Black, an Exxon scientist, bi•iefed Exxon Inanagement that
18
       "current scientific opinion overwhelmingly favors attributing atmospheric carbon dioxide
19
       increase to fossil fuel. consumption," and doubling atmospheric carbon dioxide wotild, according
20
21
22
23
24     19 Elmer Robinson & R.C. Robbins, Sources. Abundance. and Fate of Gaseous Atmospheric
25     Pollutants Supplement, Stanford Rsch. Inst. (June 1969).
       20 NASA Goddard Institute for Space Studies, Global Mean CO2 Mixing Ratios (ppm)_
26     Observations, https://data.giss.nasa.gov/modelforce/ghgases/Figl A.ext.txt.
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1    to the best climate model available, "produce a mean temperature increase of about 2°C to 3°C"
2    by 2050.21 Black illustrated this outcome for management:
3

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                     ca:                                                                      iE~~R.

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         Figure 3: Future Global Warming Predicted Internally by Exxon in 1977
14
15   Black's predictions were correct. In 2023, independent researchers added the red line to Black's
                                                                                                23
16   graph, showing that the observed change in temperature closely tracked his 1977 prediction.
17          4.23.    Black reported to management that projected future fossil fuel use would lead to
18
     serious damage, including "more rainfall" that could reduce or destroy the agricultural output of
19
20
21   ZI Letter from J.F. Black, Exxon Research and Engineering Co., to F.G. Turpin, Exxon Research
22   and Engineering Co., The Greenhouse Effect, ClilnateFiles (June 6, 1978),
     http://www.climatefiles.coin/exxonmobil/ 1 978-exxon-memo-on-greenhouse-effect-for-exxon-
23   corporation-rnanagement-committee.
     22 Id. The company predicted global warming of 3°C by 2050, with 10°C warming in polar
24   regions. The difference between the dashed and solid curves prior to 1977 represents global
     warming that Exxon believed may already have been occurring.
25   2' G. Supran et al., Assessing ExxonMobil's global warming projections. Science 379,
     eabk0063(2023).                                                 DOI:10..1126/science.abk0063.
26   https://www.science.org/doi/10.1126/science.abk0063
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1     some countries. Black highlighted the need to make "hard decisions regarding changes in energy
2     strategies" in the next 5-10 years (i.e., before 1987) to avoid these harms.'-4
3
                4.24.   In 1979, a confidential Exxon memorandum stated "[t]he most widely held theory
4
      [about climate change] is that:
5
         •      The inc~rease is due to foss il fuel comisust ion
6               Increasxng Ct}2 concentratY.on will cause a waroning of the earth's
         •
                surface
7
         •      The present trend of foseil fuel consumption will cause dramatic
                environ>ztental effects before the year 2050.
 8

 9              4.25. The memo higlilighted that there was "no practical ineans" to capture and store
10
      carbon emissions and so "dramatic changes in pattet-ns of energy use would be required" to avoid
11
      environmental damage. Significantly, the memo said that in order to limit CO2 emissions to
12
      avoid these harms, fossil fuel emissions would have to peak in the 1990s and alternative energies
13
14    would need to be rapidly deployed. Eighty percent of fossil fuel resources would remain

15    undeveloped; thus "coal and possibly other fossil fuel resources could not be utilized to an

16 ~ appreciable extent." Certain fossil fuels, such as shale oil, could not be substantially exploited at
17    all.'-5
18
                 4.26. Defendants did not follow this patli. They developed and refined techniques to
19
      recover shale oil, leading to the shale oil and gas boom in the late 2000s.26 And carbon dioxide
20
21
22
       24 Id.
23
      '-5 Letter from W.L. Ferrall, Exxon Research and Engineering Co., to Dr. R.L. Hirsch,
24     Controlling Atmospheric CO2, Climate Investigations Ctr. (Oct. 16, 1979),
       https://www.industrydocuments.ucsf.edu/docs/mqw10228.
25     26 Rapier, Robert. How the Shale Boom Turned the World Upside Down. (April 21, 2017),
       https://www.forbes.com/sites/r•rapier/2017/04/21 /how-the-shale-booin-turned-the-world-
26     upside-down/?sh=1a721 ec677d2.
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     levels reached 400 ppm in 2015, just five years later than the date Exxon had predicted back in
2    1979.27
3
                4.27.   In 1979, API and its members, including all Defendants, convened a Task Force
4
     to monitor and sliare cutting edge climate research among the oil industry and to evaluate tlie
 5
     implications for their fossil fiiel businesses.28
6

 7              4.28.   API prepared a background paper on carbon dioxide and climate for the Task

 8   Force, stating that carbon levels were rising steadily and would cause global warming. However,

 9   tlie effects of global warming would likely go undetected until 2000 due to a natural cooling
10   trend.'9
11
                4.29. In 1980, API's Task Force met with Dr. John Laurmann, 'a recognized expert in
12
     the field of CO2 aiid climate," for seven hours.'0 Laurmann told the Task Force there was "strong
13
     empirical evidence" that rising carbon levels were mainly due to burning fossil fuels and there
14
15   was a "scientific consensus" that increased carbon levels could cause "large future climatic

16   response[s]." Laui7nann projected the following:

17
18
19   27 Nicola Jones, How the World Passed a Carbon Threshold and Why It Matters, Ya.le Env't 360

20   (Jan. 26, 2017), http://e360.yale.edu/features/how-the-world-passed-a-carbon-threshold-
     400ppm-and-why-it-matters.
21   28 Neela Banerjee, Exxon's Oil Industry Peers Knew About Climate Dangers in the 1970s, Too,
     Inside Climate News (Dec. 22, 2015), https://insideclimatenews.org/news/22122015/exxon-
22   mobil-oil-industry-peers-knew-about-climate-change-dangers-1970s-american-petroleum-
     institute-api-shell-chevron-texaco.
23   29 Memorandum from R.J. Campion to J.T. Burgess, The API's Background Paper on CO2
24   Effects,         Climate        Investigations      Ctr.          (Sep.      6,       1979),
     https://www. industrydocuments.ucs£edu/docs/1qw10228.
25   30 Letter from Jimmie J. Nelson, American PetroleLim Institute, to AQ-9 Task Force, The CO2
     Probleln; Addressing Research Agenda Development, Climate Investigations Ctr. (Mar. 18,
26   1980), https://www.industrydocuments.ucsf.edu/docs/gffl0228.
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1     LIKELY IMPACTS:

2                     1© C RISE (2t?05): BARELY NQTICEABLE
                      2.5a C RISE (2038): I~IAJ0R ECt3N0MIC CQNSEQUENCES, STEtQNG
3                          REGTfJNA    l'ENDENCE

4                     SQ C R~SE (2067) s GL013ALLY CATASTR0PHZC EBFL~CTS
5
            4.30.    Laurmann also explained that, while some uncertainty remains, if achieving high
6
     market penetration for new energy sources would require a long time, there was "no leeway" •for
 7
     delay. The Task Force planned to research the "market penetration requirements of introducing
 8

 9   a new energy source into worldwide use."31

10          4.31.    ln 1980, lmperial Oil Limited, an Exxon subsidiary, reported to managers and

11   environmental staff at multiple affiliated Esso and Exxon companies that there was "no doubt"
12
     that fossil fuels were aggravating the build-up of CO2 in the atmosphere.3'- Further, while it was
13
     possible to capture carbon emitted from power plants, "removal of only 50% of the CO2 would
14
     double the cost of power generati.on."'3
15
             4.32.   In 1980, an Exxon rnanager, .Henry Sliaw, briefed management on the "CO2
16
17   Greenhouse Effect."'4 Shaw's briefing stated that burning fossil fuels was increasing carbon

18   dioxide levels and this would "most likely" result in global warming of approximately 3°C

19   around the year 2060. Calculations predicting a lower temperature increase were "not held in
20
21
     ' I Id.
22   ' z Imperial Oil Ltd., Review of Environmental Protection Activities for 1978-1979 (Aug. 6,
     1980),       http://www.documentcloud.org/documents/2827784-1980-linperial-Oil-.Review-of-
23
     Environmental.html#document/p2.
     3' Id.
24
     3~ Memorandum froin Henry Shaw to T.K. Kett, Exxon Researcli and Engineering Company's
25   Technological        Forecast:   CO2     Greenhouse      Effect        (Dec.            18,      1980),
     https://www.documentcloud.org/docuinents/2805573-1980-Exx     on-Melno-Summ             arizing-
26   Current-Models-And.html .
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1       high regard by the scientific community." While the oceans could absorb soine heat, that could
2       delay (but not prevent) the temperature increase "by a few decades." Natural climate fluctuations
3
        would hide global warming from carbon emissions until around the year 2000. The firture
4
        impacts, however, would be "dramatic," including greater rainfall, reduced agricultural output,
5
        and sea level rise. The memo included the following illustration, showing that significant global
6

7       warming will have already occurred before it exceeded the range of natural "climatic noise":

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19      Figure 4: Future Global Warming Predicted Internally by Exxon in 1980
20                                                                               36
        The red line indicates actual observed temperatures following the report.
21

22 11

23
        3s Id. The company anticipated a doubling of carbon dioxide by around 2060 and that the oceans
24      would delay the warming effect by a few decades, leading to approximately 3°C warming by the
        end of the century.
25      36
            G. Supran et al., Assessing ExxonM.obil's global wanning projections. Science 379,
        eabk0063(2023).                                                 DOI:10.1 l26/science.abk0063.
26      https://www.science.org/doi/ 1 0. 1 126/science.abk0063
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1           4.33.    Shaw also reported on Exxon's research into "the mark:et penetration of non-fossil
2    fuel technologies," and reported that, all other things being equal, alternative energy "would
3                                                                                            37
     need about 50 years to penetrate and achieve roughly half of the total [energy] market."
4
            4.34.    A.lso in 1.980, the head of .F.,xxon's Research and Engineering Company wrote to
5
     Exxon's Senior Vice President, stating in part tliat: "the greenhouse effect is receiving
6

7    widespread attention based in part on dramatic claims and dire predictions that are appearing in

 8   the popular press. It is being cited, for instance, as an argument in opposition to any major U.S-

 9   synfuels program. . . Our data could well influence Exxon's view about the long-term
10   attractiveness of coal and synthetics relative to nuclear atid solar energy."38
11
            4.35.    ln 1981, Exxon staff sent an internal "Scoping Study on CO2" to management.39
12
     The study describes Exxon's motivations for engaging in climate research. Exxon intended to
13
     closely monitor outside research •for its own "planning," acknowledging that predictions of
14
15   climate models will influence public perception of the problem. Exxon also sought to "enhance

16   the Exxon image and build public relations value." The study recommends against expanding

17   the climate research prograin because the current research program was already meeting tliese
18
     goals, noting there was not a current threat to Exxon's business from legislation. However,
19
     because the cost to capture and store carbon was "exorbitant," "[e]nergy conse.rvation or shifting
20
     to renewable energy sources[] represent the only options that might make sense" in the fiiture.4°
21
22
     3' Id.
23   38 Exxon's View and Position on "Greenhouse Effect." (Jan. 29, 1980)
24   https://insidecl imatenews.org/wp-content/uploads/20l 5/09/Letters-to-Senior-VPS-1980.pdf.
     39 Letter from G.H. Long, Exxon Research and Engineering Co., to P.J. Lucchesi et al.,
25   Atmospheric CO2 ScopingStudy, Climate Investigations Ctr. (Feb. 5, 1981),
     https://www.industrydocuments.ucsf.edu/docs/yxf10228.
26   4o Id.
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 1          4.36. Also in 1981, Exxon scientist Roger Cohen warned his col.leagues that Exxon's
2    predictions of future climate impacts "based only on our knowledge of availability and
3
     economics [of fossil fuel consumption] become hazardous." Such a scenario would "produce
4
     effects which will indeed be catastrophic (at least for a substantial fraction of the world's
5
     population)."41
 6

 7          4.37. In .1981, Exxon stated its position on the growtli of carbon dioxide in the

 8   atmosphere. According to Exxon, growing fossil fuel consumption will lead atinospheric CO2

 9   levels to double, and doubling CO2 levels will lead to a global average temperature rise of 3°C.
10                                                                                     42
     This will cause "[m]ajor shifts in rainfall/agriculture" and "polar ice may melt."
11
            4.38.      In 1982, API commissioned a report from scientists at Columbia University. The
12
     report found that, despite differences in climate model predictions, there was a scientific
13
     consensus that doubling carbon levels in the atmosphere would result in an average global
14
15   temperature rise of about 3°C. The scientists told API tliat "[s]uch a warming can have serious

16   consequences for man's comfort and survival since patterns of aridity and rainfall can change,
17
18
19
20
21
22
23   41
       Memorandum from R.W. Cohen to W. Glass, ClimateFiles (Aug. 18, 1981),
24   http://www.clirnatefiles.com/exxonmobil/1981-exxon-merno-on-possib1e-emi ssion-
     consequences-of-fossil-fuel-consumption.
25   42 Memorandum from Henry Shaw to Dr. E.E. David, CO2 Position Statement, Inside Climate
     News (May 15, 1981) (footnote omitted), https://insideclimatenews.org/documents/exxon-
26   position-co2-1981.
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     the height of the sea level can increase considerably and the world food supply can be affected."43
2    Exxon's independent research also confirmed this.44

            4.39.    In a confidential primer`15 on clirnate change that Exxon circulated to management
4
     in 1982, Exxon illustrated how future fossil fuel use would lead carbon levels to rise, along with

     global temperatures:
 6

 7

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20   a3 American Petrolewn Institute, Climate Models and CO2 Warming: A Selective Review and
     Suinmary                 (Columbia              Univ.,                  Mar.                1982),
21   https://assets.documentcloud.org/documents/2805626/  1982-API-Climate-.Models-and-CO2-
22   Warming-a.pdf.
     ~4 See Memorandum from Roger W. Cohen, Exxon Research and Engineering Co., to A.M.
23   Natkin, Exxon Corp. Office of Science and Technology, ClimateFiles (Sept. 2, 1982),
     http://www.cl imatefiles.com/exxonmobil/1982-exxon-memo-summarizing-climate-modeling-
24   and-co2-greenhouse-effect-research (discussing research articles and summarizing the findings
     of research in climate modeling).
25   ~5 Memorandum fi•om M.B. Glaser, CO2 "Greenhouse" Effect, Exxon .Research and Engineering
     Company (Nov. 12, 1982), https://insideclimatenews.org/wp-content/hiploads/2015/09/1982-
26   Exxon-Priiner-on-CO2-Greenhouse-Effect.pdf.
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17        Figure 5: Exxon's Internal Prediction of Future CO2 Increase
          and Global Warming from 198246
18
     Exxoii's predictions were accurate. The blue line represents actual observed carbon levels and
19
     the red line shows actual observed temperature increases, closely tracking Exxon's predictions.
20
            4.40.    The primer warned of many climate impacts Exxon had acknowledged in other
21

22   memos, including "climate related famine," and "potentially catastrophic effects" such as

23

24   46 Id. The coinpany predicted a doubling of atinospheric carbon dioxide concentrations above
25   preindustrial levels by around 2070 (left curve), with a temperature inc►•ease of more than 2°C
     over the 1979 level (right curve). The same document indicated that Exxon estimated that by
26   1979 a global warming effect of approximately 0.25°C may already have occurred.
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     melting of the Antarctic ice sheet that would flood Washington, D.C. and the state of Florida.
2    The primer also warned of feedback loops—events triggered by warming that could release
3
     massive a>,nounts of greenhouse gasses, leading to even further warming.
4
            4.41. The primer also estimated that undertaking "[s]ome adaptive measures" (not all
5
     of them) would cost "a few percent of the gross national product estimated in the ;_niddle of the
6

 7   next century" (i.e., $400 billion in 2018).47 "Mitigation of the `greenhouse effect' would require

 8   rnajor reductions in fossil fuel combustion."48

 9          4.42.    In 1982, the Director of Exxon's Theoretical and Mathematical Sciences
10   Laboratory, Roger Cohen, wrote Alvin Natkin of Exxon's Office of Science and 'I'echnology
11
     stating that "a clear scientific consensus has emerged ... that a doubling of atmospheric CO2
12
     would result in an average global temperature rise of (3.0 ± 1.5) °C. ... There is unanimous
13
     agreement in the scientific community that a temperature increase of this magnitude would bring
14
15   about significant changes in the earth's climate. .. The time reqtiired for doubling of atmospheric

16   CO2 depends on fiiture world consumption of fossil fuels."49 Cohen noted that "the results of
17   our [Exxon's] research are in accord with the scientif.ic consensus on the effect of increased
18
     atmospheric CO2 on climate."
19
20
21   47 See Gross National Product, Fed. Reserve Bank of St. Louis (updated Mar. 26, 2020),
     https://fred.stlouisfed.org/series/GNPA.
22   48 Memorandum from M.B. Glaser, CO2 "Greenhouse" Effect, Exxon Research and Engineering
     CompanX                            (Nov.                       12,                 1982),
23
     https://insideclimatenews.org/sites/default/files/documents/1982%20Exxon%20Priiner%20on
24   %20CO2%20Greenhouse%20Effect.pdf.
     49 Memorandum from Roger W. Cohen, Exxon Research and Engineering Co., to A.M. Natkin,
25   Exxon Corp. Office of Science and Technology, ClimateFiles (Sept. 2, 1982),
     littp://www.cliinatefiles.com/exxonmobil/1982-exxon-memo-summarizing-climate-modeling-
26   and-co2-greenhouse-effect-research.
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1           4.43.    In October 1982, at a symposium that API members, including Exxon, attended,

2    the president of Columbia University's Geophysical Observatory delivered a speech wherein he
3
     stated: "[t]ew people doubt that the world has entered an energy transition away from
4
     dependence upon fossil fuels and toward some mix of renewable resources that will not pose
5

r.i problems of CO2 accuinulation."
            4.44.    In 1988, Shell issued a confidential internal report acknowledging that burning
 7

 8   fossil fuels is a primary driver of global warming and would "create significant changes in sea

 9   level, ocean currents, precipitation patterns, regional temperature and weather." "[B]y the time
10
     the global warming becomes detectable it could be too late to take effective countermeasures to
11
     reduce the effects or even to stabilise the situation." The report emphasized that "the potential
12
     implications for the world are ... so large that policy options [to reduce emissions] need to be
13
     considered much earlier." Thus, rather than research "what the world may be facing exactly,"
14

15   research should be directed to ways to reduce emissions and alternate energy options.50

16          4.45.    Shell also acknowledged that: "it is possible that perception of a serious

17   eiivironmental threat [such as climate change] could swing opinion away from fossil fuel
18
     combustion and lead to a revival of interest in conservation, renewable sources and particularly
19
     nuclear energy."51 In assessing the "[i]mplications for Shell Companies ... Group Planning •felt
20

21

22

23
     50 Shell Internationale Petroleum, Greenhouse Effect Workiiig Group, The Greenhouse Effect
24
     (May                 1988),             littps://www.documentcloud.org/documents/4411090-
25   Document3.html#document/p9/a411239;
     https://s3.documentcloud.org/documents/4411090/Docuinent3.pdf
26   51 Id. at 19.
     COMPLAINT FOR DAMAGES AND                                          SHER EDLING LLC
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1        there was a possibility that an increasing awareness of the greenhouse effect might change

2        people's attitudes towards non-fossil energy sources, especially nuclear."'2
3
                4.46.    In the mid-1990s, Shell began using scenarios to plan how the company could
4
         respond to various global forces in the future. In one scenario published in a 1998 internal report,
5
6        Shell paints an eerily prescient scene:

7                        .In 2010, a series of violent storms causes extensive damage to the
                         eastern coast of the U.S. Although it is not clear whether the storms
8                        are caused by climate change, people are not willing to take further
                          chances. The insurance industiy refuses to accept liability, setting off
 9                        a fierce debate over who is liable: the insurance industry or the
                          government. After all, two successive IPCC reports since 1993 have
10                        reinforced the human connection to climate change ... Following the
11                        storms, a coalition of environmental NGOs brings a class-action suit
                          against the US government and fossil-fuel companies on the grounds
12                        of neglecting what scientists (including their own) have been saying
                          for years: that something must be done. A social reaction to the use of
13                        fossil fuels grows, and individuals beco.me                    vigilante
                          environmentalists' in the satne way,   a generation  earlier, they   had
14                        become fiercely anti-tobacco. Direct-action campaigns            agaitist
15                        companies escalate. Young consumers, especially, demand action.''

16
     •           4.47.   Defendants considered their predictions of climate change to be so reliable, they
17
         based multi-million dollar investments on them. Defendants spent millions raising offsliore
18

19       drilling platforins to account for future global warming-induced sea level rise; reinforcing

20       offshore oil platforms to withstand increased wave strength and storm severity; developing

21       technology and infrastructure to extract, store, and transport fossil fuels in a warming arctic
22

23

24

25       52 Id. at p. 23
         5'Royal      Dutch/Shell Group, Group Scenarios 1998-2020 115,                               122   (1998),
26       http://www.documentcloud.org/documents/4430277-27-1-Compiled.html.
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      environment; and developing and patenting designs for equipment intended to extract crude oil
2                                                                                                        54
      and/or natural gas in areas previously unreacliable because of the presence of polar ice sheets.
3
             4.48.    As early as 1973, Exxon obtained a patent for a cargo ship capable of breaking
 4
      through sea ice55 and for an oil tanker56 designed specifically for use in previously unreachable
 5
      areas of the Arctic.
 6
             4.49.    In 1974, Clievron, in like manner, obtained a patent for a mobile arctic drilling
 7

 8    platform designed to withstand significant interference from lateral ice masses,57 allowing for

 9    drilling in areas with increased ice flow movement due to elevated temperature.
10            4.50.   That same year, Texaco (Chevron) worked toward obtaining a patent for a method
11
      and apparatus for reducing ice forces oii a marine structure prone to being fi•ozen in ice through
12
      natural weather conditions,58 allowing for drilling in previously unreachable Arctic areas that
13
      would become seasonally accessible.
14

15            4.51.   Shell obtained a patent similar to Texaco's (Chevron) in 1984.59

16            4.52.   In 1989, Norske Shell, Royal Dutch Shell's Norwegian subsidiary, altered

17    designs for an offshore drilling platform that was aiiticipated to operate until roughly 2065. The
18

19
      54 Lieberman, Amy and Susanne Rust. BiQ Oil braced for global warming while it fought
20
      reaulations. (Dec. 31, 2015) https://graphics.latimes.com/oil-operations/
      s5ExxonMobil Research Engineering Co., Patent US3727571A: Icebreaking cargo vessel
2.1
      (granted Apr. 17, 1973), https://www.google.com/patents/US3727571.
22    56 ExxonMobil Researcli Engineering Co., Patent US3745960A: Tanker vessel (granted July 17,
      1973), https://www.google.com/patents/US3745960.
23
      57 Chevroii Research & Technology Co., Patent US3831385A: Arctic offshore platform (granted
24    Aug. 27, 1974), https://www.google.com/patents/US3831385.
      58 Texaco Inc., Patent US3793840A: Mobile, arctic drilling and production platform (granted
25    Feb. 26, 1974), https://www.google.com/patents/US3793840.
      59 Sliell Oil Co., Patent US4427320A: Arctic offshore platform (granted Jan. 24, 1984),
26    https://www.google.com/patents/US4427320.
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     platform was originally designed to stand approxitnately 100 feet above sea level—the amount
2    necessary to stay above waves in a once-in-a=century strength stonn. However, Shell engineers
3
     revised their plans to increase the above-water height of the platform by 3 to 6 feet, specifically
4
     to account for higher anticipated average sea levels and increased storm intensity due to global
5
     warming over the platform's operational life. Raising the platforni cost Shell an additional forty
6

7    million dollars.60

 8           4.53.   In the mid-1990s, ExxonMobil, Shell, and Imperial Oil (ExxonMobil) jointly

 9   undertook an offshore drilling project in Nova Scotia. According to the project's Environmental
10
     Impact Statement, the project estimated a"global warming sea-level rise" impact of 0.5 m[1.64
11
     feet] during the 25-year life of the project. Exxon and Shell designed their coastal and offshore
12
     structures accordingly.6'
13
             4.54.   Defendants did not engage in climate research to benefit, educate, or warn the
14

15   public. Defendants engaged in this research to protect their business iiiterests. Defendants

16   recognized decades ago that carbon emissions from fossil fuels were concentrating in the

17   atmosphere and that this would lead to inassive warming and catastrophic climate disruption.
18
     Defendants also recognized that increasing public awareness of the problem threatened their
19
     marlcet share and profits and could lead to the development of competing alternative energy
20
     source and reduced demand for fossil fiiels. Accordingly, as described in this Part B and in Part
21

22

23

24
     60 Id.; Lieberman, Amy and Susanne Rust. Big Oil braced for global wai-ming while it fought
25   regulations. (Dec. 31, 2015) https://graphics.latimes.com/oil-operations/
     61 ExxonMobil, Sable Project Development Plan, vol. 3, 4-77, http://soep.com/about-the-
26   project/development-p lan-application.
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1    C below, Defendants did not warn consumers of the dangers of Defendants' products. Rather,
2    they actively engaged in disinformation and concealed the risks they well understood.
3
     C.     Defendants chose to deceive the public, and risk catastrophic climate change, in
4           order to continue profiting from fossil fuels.

5           4.55.    Once the public began to learn of the risks from using fossil fuels—risks that

6    Defendants already knew—Defendants chose to deceive the public about climate change and the
7
     impact of fossil fuels. Defendants did this in order to maintain and increase demand for fossil
 8
     fuels, limit demand for competing energy options, and increase their profits.
 9
            4.56.    Several events in the late 1980s and early 1990s led to greater public awareness
10
     of climate change:
11
12                   a.     I.n 1988, NASA scientist James Hansen testified to Congress that human

13   activities were causing global warming.6'- The testimony was widely publicized, including
14   coverage on the front page of The New York Times.
15
                     b.     Also in 1988, the United Nations foi•med the Intergovernmental Panel on
16
     Climate Change (".IPCC"), a scientific panel charged with assessing available scientific
17
                                                                                         63
     information on climate change, its impacts, and potential response strategies.
18
19                   c.     The 1PCC issued its first report in 1990 and a supplement in 1992. The

20   IPCC concluded that "emissions from huriian activities are substantially increasing the

21   atmospheric concentratio.ns of greenhouse gases." .Burning fossil fuels was responsible for 70-
22

23   6Z See Peter C. Frumhoff et al., The Climate Responsibilities of Industrial Carbon Producers, 132
     Climatic Change 161 (2015).
24   6 ~ Bruce, J. P. and A. T. Brough. Memorandum of Undet•standina Between the United Nations
                                             J tlie World MeteoroloQical Association (WMO) on the
25                                                 Climate    Change         (IPCC      ).     (1989).
     https://www.ipc   c.clì/site/assets/u   s/20 19/06/MOU   between    UNEP    and  WMO   on  IPCC
26   -1989.pdf
     CONIPLAINT FOR DAMAGES AND                                         SHER EDLING LLC
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 1       90% of those emissions. The increase in greenhouse gasses will warm the Earth's surface,

2        leading to serious environmental damage. The IPCC found sufficient evidence of these risks to
 3
        • justify immediate "use of cleaner, niore efficient energy sources with lower or no emissions of
 4
         greenhouse gases."64
 5
                 4.57.   In response, Defendants embarked on a campaign to discredit the science and
 6

 7       deceive the public. Defendants' campaign focused on concealing, discrediting, and

 8       misrepresenting information that could reduce demand for fossil fuels or increase demand for

 9       alternative energy sources.
10                       Defendants acted independently and jointly through API and other associations
                 4.58.
11
         such as the International Petroleum Industry Environmeiital Conservation Association, the
12
         Information Council for the Environment, the Global Climate Coalition, and the Global Climate
13
         Science Communications Team.
14

15               4.59.   Unearthed internal documents and admissions fi•om former employees eviiice a

16       deliberate strategy to mislead the public tlirough direct misrepresentations to consumers through

17       advertising and other publications and also througli use of seemingly independent front groups
18
         and scientific spokespeople.
19
         D.      Defendants strategized to use seemingly independent technical sources in order
20               to confuse and mislead consumers about the scientific evidence for climate
                 change
21
                 4.60.   In a secretly-recorded video from 2021, an Exxon executive admitted:
22

23                       "Did we aggressively fight against some of the science? Yes.

24 I'

25
              IPCC, Climate Change: The IPCC Scientific Assessment xi                                   (1990),
26       https://www.ipcc.chh•eport/climate-change-the-ipcc-1990-and-1992-assessinents.
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1                       "Did we join some of these shadow groups to work against some of the early
2           efforts? Yes, that's true. There's nothing illegal about that.
3
                        "We were looking out for our investments. We were looking out for our
4
            shareholders."6'
5
            4.61.       ln 1988, Joseph Carlson, an Exxon public affairs manager, stated in an internal
6

7    memo that Exxon "is providing leadership through API in developing the petroleum industry

 8   position" on clitnate change.66 The "Exxon Position" would be in part to:

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13      RE~Q1lRCES.

14
                4.62.   In 2019, Professor Martin Hoffert, a physicist and Exxon consultant in the
15
     1980s, testified to Congress about Exxon's "climate science denial program campaign,"
16
     stating:
17
18                      [O]ur research [at Exxon] was consistent witli findings of the United
                        Nations Intergovernmental Panel on Climate Change on human
19                      impacts of fossil fuel burning, which is that they are increasingly
                        having a perceptible influence on Earth's climate. ... If anything,
20                      adverse climate change from elevated CO2 is proceeding faster than
                        the average of the prior IPCC mild projections and fully consistent
21                      with what we knew back in the early 1980's at F,xxon. ... I was greatly
22                      distressed by the climate science denial program campaign that

23   65 Brady, Jeff. Exxon Lobbyist Caught On Video Talking About Undermining Biden's Climate
24   Push (July 1, 2021). https://www.npr.org/2021/07/01/1012138741/exxon-lobbyist-caught-oii-
     video-talks-about-undermining-bidens-climate-push
25   66 Memorandum from Joseph M. Carlson, The Greenhouse Effect (Aug. 3, 1988),
     littps://assets.documentcloud.org/documents/3024180/1998-Exxon-Memo-on-the-Greenhouse-
26   Effect.pdf.
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1                      Exxon's front office launched around the time I stopped working as a
                       consultant—but not collaborator—for Exxon. The advertisements
2                      that Exxon ran in rnajor newspapers raising doubt about climate
                       change were contradicted by the scientific work we had done and
3
                       continue to do. Exxon was publicly promoting views that its own
4                      scientists knew were wrong, and we knew that because we were the
                                                    67
                       major group working on this.
5
               4.63.   Defendants' tactics — e.g., outright denial, claiming uncertainty when there was
6

7    in fact a scientific consensus, and secretly funding, then publicly promoting fringe scielitific

 8   theories as evidence of a true scientific debate — mirrored the tactics that cigarette companies

9    used to persuade consumers that smoking did not cause cancer.
10             4.64.   That Defendants employed tactics like those used by cigarette companies is no
11
     surprise — they hired many of the same consultants from tlie same public relations frms and, in
12
     sorne cases, used the very same front groups and scientists to act as spokespeople to mislead the
13
     public.
14

15             4.65.   Defendants formed the International Petroleum industry Environmental

16   Conservation Association to coordinate the industry's response to the public's growing

17   awareness of climate change. Within the Association, Defendants participated in a "Working
18
     Group on Global Climate. Change." .In 1990, the Working Group sent a strategy memo to
19
     Defendants and liundreds of other oil companies. The memo explained that, to forestall a global
20
     shift away from burning fossil fuels for energy, the industry should emphasize uncertainties in
21

22

23
     67                               'S EI:fOrts to                  n
24
     Reform, 116th Cong. 7-8 (Oct. 23, 2019) (statement of Martin Hoffert, Former Exxon
25   Consultant,       Professor      Emeritus,    Physics,       New       York      University),
     https://oversight.house.gov/hearing/subcommittee-on-civil-rights-climate-change/
26
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 l    climate science, call for fiirther research, and promote industiy-friendly policies that would leave
2     the fossil-fuel business intact.68
3
              4.66.   In 1991, the Infonnation Council for the Environment, whose members included
4
      Defendants, launched a national climate change science denial campaign with full-page
5
      newspaper ads, radio commercials, a public relations tour schedule, "mailers," and researcli tools
6

7     to measure campaign success. The campaign's top strategy was to:

 8
                  ReposY~~~~ ~,~oba varrng as the~ary n~t fact~.
 9

10    Its target audiences included younger, lower-income women who "are likely to be `green'
11
      consumers, to believe the earth is warming, and to tliink the problem is serious ... These
12
      women are good targets for magazine advertisements."69
13
              4.67. The campaign planned to "use a spokesman from the scientific community" based
14
      on consumer researcli that found "technical and expert sources have the highest credibility
15
16    alnong a broad range of inembers of tlie public." 70

17            4.68. In 1994, an internal Shell report similarly described its public relations plan to
18    emphasize that:
19'

20
21
22
23    68 Benjamin A. Franta, Big Carbon's Strateric Response to Global Warming, 1950-2020 140
24    (2022), https://purl.stanford.edu/hq437ph9153.
      69 Union of Concerned Scientists, Deception Dossier #5: Coal's "Information Council on the
25    Environment" Sham (1991), https://www.ucsusa.org/sites/default/files/attach/2015/07/The-
      Climate-Deception-Dossiers.pdf.
26    ~o Id.
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       resources from more pressing needs anci urther cistort≥maekets.
3
4            4.69.    In 1998, API formed the Global Climate Science Communications Tearn,

5     including representatives from Exxon, API, and Chevron. There were no scientists on the

6     Science Communications Team. The Science Communications Team enlisted several
7
      Defendant-funded front groups to participate, as well as a front group created by cigarette-maker
 8
      Phillip Morris, "The .Advancement of Sound Science Coalition," and its executive director, Steve
 9
      Milloy, to assist. Philip Morris had created and funded "The Advancement of Sound Science
10
11    Coalition" to act as a seemingly more credible and independent voice to claim that second-hand

12    smoke did not cause cancer or heart disease. API and Defendants paid The Advancement of

13    Sound Science Coalition and Steve Milloy, to spread doubt about climate science in the same
14    way that it spread doubt about smoking and cancer.72
15
             4.70. The Global Climate Science Communications Team "developed an action plan
16
      to inform the American public that science does not support the precipitous actions Kyoto would
17
      dictate [i.e., reducing use of fossil fuels]." According to the plan:
•18
19
20
21
22
23    7! Shell Internationale Petroleum, Greenhouse Effect Working Group, The Greenhouse Effect
24    (May                 1988),             https://www.documentcloud.org/documents/4411090-
      Document3 .html#docurnent/p9/a41 123 9.
25    72 Union of Concerned Scientists, Smoke, Mirrors & Hot Air: How ExxonMobil Uses Big
      Tobacco's Tactics to Manufacture Uncertaintv on Climate Science (July 16, 2007),
26    https://www.ucsusa.org/resources/smoke-mirrors-hot-air.
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 9          0c~~t re>ttty.

10           4.71.   The Global Climate Science Communications Team would: "1. Develop and
11
     implement a national media relations program to inform the media about uncertainties in climate
12
     science to generate national, regional, and local media coverage on the scientific uncertainties,"
13
     to be accomplished by the following (among other actions): "offer scientists to appear on radio
14
15   talk shows across the country ... Identify, recruit, aiid train a team of five independent scieiitists

16   to participate in media outreach ... Produce [and] distribute a steady stream" of climate science

17   information and editorials "autliored by scientists" to media outlets nationwide. "The Science
18   Conimunications Team would also "Organize, proniote and conduct through grassroots
19
     organizations a series of campus/community workshops/debates on climate science."73
20
             4.72.    The Communications Team also planned to create a"one-stop resource on
21
     climate science" for industry partners, as well as policymakers, the media, and "all others
22
23   concerned." In pai-ticular, the resource center would provide the "logistical and moral support"

24
25      Email from Joe Walker to Global Climate Science Team, Draft Global Climate Science
     Communications Plan (Apr. 3, 1998), https://assets.documentcloud.org/documents/784572/api-
26   global-clirnate-science-communications-plan.pdf.
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 l    to enable industry partners to advocate for protecting fossil fuel markets based on alleged
2
     l uncertainties in clirnate science.74
3
              4.73.    Soon after, API distributed a memo to its members stating: "Climate is at the
4
      center of industry's business interests. Policies limiting carbon emissions reduce petroleum
5
      product use. That is why it is API's highest priority issue and defined as strategic."75
6

7              4.74.   On information and belief, Defendants and API engaged in deceiving the public

 8    about climate change intended to do so notjust to influence policy, but also to ensure continued

 9    consumer dematid for fossil fuels and avoid competition from cleaner energy sources.
10
11

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22
23     74 Email from Joe Walker to Global Climate Science Tearn, Draft Global Climate Science
24     Cominunications Plan (Apr. 3, 1998), https://assets.documentcloud.org/docurnents/784572/api-
       global-cl irnate-science-comrnunications-p1an.pdf.
25     75 Alleaations of Political Interference with Government Climate Chan~e Science, Hearinz
       Before the Comm. on Oversight and Government Reform, 110th Cong. 324 (Mar. 19, 2007)
26     https://www.govinfo.gov/content/pkg/CHRG-110hhrg37415/html/CHRG-110hhrg37415.htm
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1    E.     Defendants spread their deceptive messages to consumers in part through
            advertisements and other publications.
2

3
            4.75.    Below are some of the Information Council for the Environment's
4
     advertisements:76
5

6

 7

 8

 9

10

11

12

13
            Figure 6: Information Council for the Environment Advertisements
14

15          4.76.    For over a decade, Mobil (ExxonMobil) regularly published advertisements in

16   the New York Times and other national newspapers. These advertisements were meant to look

17   lilce editorials, not paid advertisements. In line with Defendants' strategy, many such
18
     "advertorials" claimed the science of climate change was uncertain or lacking evidence.
19
            4.77.    Mobil ran the following advertorial in the New York Times in 1993:
20

21

22

23

24
     76 Union of Concerned Scientists, Deception Dossier #5: Coal's "Information Council on the
25   Environment"                 Shatn                 at             47-49             (1991),
     http://www.ucsusa.org/sites/default/tiles/attach/2015/07/Climate-Deception-Dossier-
26   5_ICE.pdf.
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            4.78.    The advertorial quotes Fred Singer, a physicist whom tobacco companies funded

2    to promote his claim that second-hand smoke did not cause cancer.77

            4.79.    On infot•mation and belief, Defendants financially supported Fred Singer and his

     writings, though the advertisement presents Singer as a neutral expert.

            4.80.    The advei-tisement also presents Robert C. Balling as another neutral scientific
6
7    expert. Yet five years after Mobil ran this advertorial, Balling acknowledged that he liad received

 8   $408,000 in fiinding from the fossil fuel industry, including from ExxonMobil.78

 9          4.81.    The advertorial misleadingly portrays the "Heidelberg Appeal" as evidence that
10   there was insufficient scientific data for action on climate change. In fact, tlie Heidelberg Appeal
11
     did tiot discuss climate change or the validity of scientific reasoning or evidence showing that
12
     climate change is happening, is human-caused, and will cause severe environmetital damage.79
13
             4.82.   Many other Exxon and Mobil advertorials falsely or misleadingly characterized
14
15   the state of cli►nate science research. Below are examples of statements appearing in Exon and

16   Mobil advei•tisements:

17                          "We don't know enough about the factors that affect global warming and
18
       the degree to which—if any—that man-made emissions (namely, carbon dioxide) contribute
19
       to inci•eases in Earth's temperature."80
20
21
         Schwartz, John. S. Fred Singer. a Leading Climate Cliange Contrarian, Dies at 95.
22   Derided as a "Merchant of Doubt" he spent decades tryina to refute the evidence of global
     warming         and       other      environmental       risks.      (April     11,   2020).
23                                                        -singer-dead.h tml.
     https://www.nytimes.coln/2020/04/11 /climate/s-fred
     78 Robert C. Balling Jr. DeSmog. https://www.desrnog.com/robert-c-bal!ing-jr/.
24
     79 Heidelberg Appeal. DeSmog. https://www.desmog.com/heidelberg-appeal/.
25   8° Mobil, Clilnate Change: A Prudent Approach, in N.Y. Times (Nov. 13, 1997),
     https://www.documentcloud.org/documents/705548-mob-nyt-1997-11-13-
26   c limateprudentapproach.htm1.
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l                    b.     "[G]reenhouse-gas emissions, which have a warming effect, are offset by
2     another cornbustion product—particulates—which leads to cooling."81
3
                     c.     "Even after two decades of progress, climatologists are still uncertain
4
      how—or even if—the buildup of man-made greenhouse gases is linked to global warming. It
5
      could be at least a decade before climate models will be able to link greenhouse warming
6

7     unambiguously to human actions. Important answers on the scietice lie ahead."82

 8                   d.     "[I]t is impossible for scientists to attribute the recent small surface

 9    temperature increases to human causes."83
10          4.83.    A quantitative analysis of ExxonMobil's climate communications between •1989
11
     and 2004 found that, while 83% of the coinpany's peer-reviewed papers and 80% of its internal
12
     docuinents acknowledged the reality and human origins of climate change, 81% of its
13
     advertorials communicated doubt about those conclusions.s4
14
15          4.84.    In 1996, Exxon published a paniphlet, "Global Warming: Who's Right? Facts

16   about a debate that's turned up more questions than answers." False or misleading statemetits in

17   the pamphlet include the following: ln the preface, Exxon's CEO stated that "many scientists
18
19
20   81    Mobil, Less Heat. More Light on Climate Change (July 18, 1996),
     https://www.documentcloud.org/documents/705544-mob-nyt-1996 jul-18-
21   lessheatmorelight.html.
     82 Mobil, Climate Change: Where We Come Out, in N.Y. Times (Nov. 20, 1997),
22   https://www.documentcloud.org/documents/705549-mob-nyt-1997-11-20-
     ccwherewecomeout.htm l.
23           ExxonMobil,      Unsettled      Science     (Mar.     23,     2000),      reproduced      in
     S3
     https://www.t  heguardian.co m/environmen   t/2021 /nov/18/the-fo rgotten-oil-ad s-that-to ld-us-
24
     climate-change-was-noth ing.
25   sa   Geoffrey Supran & Naomi Oreskes, Assessing ExxonlVlobil's Climate Cliange
     Communications (1977-2014), 12 Envtl. Research Letters, IOP Publishing Ltd. 12 (2017),
26   https://iopscience.iop.org/artic!e/10. 1088/1748-9326/aa8 1 5f/pdf.
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1    agree there's ampl.e time to better understand the climate system." 'I'he pamphlet misleadingly

2    described the greenhouse effect, calling it "definitely a good thing" and. "what makes the earth's
3
     atmosphere liveable" without mentioning the severe damage that the greenhouse effect could
4
     cause if carbon levels continued to rise. Contradicting ExYon.'s internal and peer-reviewed
5
6    scientific research, the pamphlet ascribed the rise in temperature since the late nineteenth centuty

7    to "natural fluctuations that occur over long periods of time" rather than to burning fossil fuels.

 8   The publication also falsely claimed that models projecting ftiture impacts to the climate from

 9   rising carbon levels, including those developed by Exxon employees, as having been "proved to
10   be inaccurate." Further, the pamphlet claimed "the indications are that a warmer world would be
11
     far more benign than many imagine ... moderate warming would reduce mortality rates in the
12
     US, so a slightly warmer climate would be more healthful." Exxon further claimed that
13
     advocates for reducing fossil fi.iel use were simply "drawing on bad science, faulty logic, or
14
15   unrealistic assumptions," without disclosing that Exxon's own research supported those

16   advocates' claims.8'
17           4.85.   Also in 1996, API published the book Reinventing Energy: Making the Right
18
     Choices claiming "there is no persuasive basis for forcing Americans to dramatically change
19
     their lifestyles to tise less oil." "[N]o scientific evidence exists that human activities are
20
     significantly affecting sea levels, rainfall, surface temperatures or the intensity and fi•eGuency of
21
22
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24
25
     85       Exxon      Corp.,       G1oba1      Warming:      Who's          Right?                  (1996).
26   https://www.climatefi les.coin/exxonmobil/global-warming-who-is-right-.l 996/
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1    storms." "Facts don't support the arguments for restraining oil use."s6,87 API. claimed that
2    scientists do not understand how carboii flows in and out of the atmosphere or whetlier fossil
3
     fuels are responsible for increasing concentrations of atmospheric CO2. It then explained that
4
     even if some warming does occur, such warrning "would present few if any prob.lems." For
5
     example, farmers could be "smart enough to change their crop plans" and low-lying areas would
6

7    `'likely adapt" to sea-level rise.Ss

8            4.86. Defendants shared these talking points with other members of the fossil fuel

 9   industry. In a 1997 speech to the World Petroleum Congress, Exxon's CEO claimed:
10                   We also have to keep in mind that most of the greenhouse effect comes
11                   from natural sources ... Leaping to radically cut this tiny sliver of the
                     greenhouse pie on the premise that it will affect climate defies
12                   common sense and lacks foundation in our current understanding of
                     the climate systein.
13
                     Let's agree there's a lot we really don't know about how clirnate will
14                   cliange in the 21st century and beyond ... It is highly unlikely that the
15                   ternperature in the middle of the next century will be significantly
                     affected whether policies are enacted now or 20 years from now.s9
16
             4.87. In a 1998 publication f:rom Imperial Oil (ExxonMobil), "A Cl.eaner Canada,"
17
     Imperial's CEO publicly claimed:
18
19                    There is absolutely no agreement among clirnatologists on whether or
                      not the planet is getting warmer, or, if it is, on whether the warming is
20
21   86  Sally Brain Gentille et al., Reinventing Energy: Making the Riaht Choices, American
     Petroleum Institute (1996), http://www.climatefiles.com/trade-group/american-petroleum-
22   institute/1996-reinventing-energy.
     87 American Petroleum Institute, Reinventing Energy: Making the Right Clioices 79 (1996),
23
     http://www.cl imatefiles.com/trade-group/american-petroleum-institute/1996-reinventing-
24   energy.
     $s Id. at 86-87.
25   89 Lee R. Raymond, Chairman and Chief Executive Officer, Exxon Corp., Address at the World
     Petroleum Congress (Oct. 13, 1997), https://www.climatefiles.com/exxonmobil/1997-exxon-
26   lee-raymond-speech-at-world-petroleum-congress/.
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1                    the result of man-made factors or natural variations in the climate. ..
                     . 1 feel very safe in saying that the view that burning fossil fiiels will
2                    result in global climate change remains an unproved hypothesis.90
3
     F.     .Defendants funded and promoted seemingly independent scientists and groups
4           to deceive the public about cliniate change.

5           4.88.    Defendants also participated in the Global Climate Coalition ("GCC"), an

6    industry group formed in 1989 to advertise and distribute material to encourage continued
7
     consumption of fossil fiiels.91 The Coalition's position on climate change was that "tlie
 8
     preponderance of the evidence indicates that most, if not all, of the observed warming is part of
 9
     [a] natural warming trend wliich began approximately 400 years ago. If there is [a human-
10
     caused] component to this observed warming, the GCC believes that it must be very small and
11
12   must be superimposed on a much larger natural warming trend.~92

13          4.89.    Despite what the Global Climate Coalition said publicly, it acknowledged

14   inte>.7ially that the alternative theot•ies were unfounded. A drai:t version of the Coalition's
15
     "primer" on climate science acknowledged that various "contrarian theories" (i.e., clirnate
16
     change skepticism.) do not "offer convincing arguments against the conventional m.odel of
17
     greenhouse gas emission-induced climate change," but this section was deleted from the public
18
19
20
21
22
     90     Robert Peterson, A Cleaner Canada in imperial Oil Review (1998),
23
     https://www.climatefiles.com/exxonmobil/imperial-oil/1998-imperial-oil-article-a-cleaner-
24   canada-by-robei-t-peterson/.
     ~' Id.
25   92 Global Climate Coalition, Global Climate Coalition: An Overview 2 (Nov. 1996),
     http://www.clilnatefiles.com/denial-groups/global-climatecoalition-collection/l 996-global-
26   climate-coalition-overview/.
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     version.93 Instead, Defendants and the Coalitioii funded and promoted some of those same
2    contrarian tlieories.
3
             4.90.   Between 1989 and 1998, the Global Climate Coalition spent $13 million on
4
     advertisements as part of a campaign to deceive the public about the scientific support for climate
5
     change.94
6

7
             4.91.   In a 1994 report, the Global Climate Coalition falsely stated that "observations

 8   have not yet confirmed evidence of global warming that can be attributed to human activities,"

 9   that "[t]he claim that serious impacts from cliniate change have occurred or will occur in the
10   future simply lias not been proven," so "there is no basis for the design of effective policy action
11
     that would eliminate the potential for climate change."95
12
             4.92.   In 1995, the Global Climate Coalition published a booklet called "Climate
13
     Change: Your Passport to the Facts," which falsely stated, "[w]hile many warnings liave reached
14
15   the popular press about the consequences of a potential man-made warming of the Eartli's

16
17
18
19
20
     93 Memorandum. fi•orn Gregory J. Dana, Assoc. of Int'1 Auto. Mfrs., to AIAM Technical.
21   Committee, Global Climate Coalition (GCC) - Primer on Climate Change Science - Final Draft
     (Jan. 18, 1996), https://www.ucsusa.org/sites/default/files/attach/2015/07/Climate-Deception-
22   Dossier-7_GCC-Climate-Primer.pdf.
     94 Wendy E. Franz, Keiuiedy School of Government, Harvard University, Science, Skeptics and
23
     Noii-State Actors in the Greenhouse, ENRP Discussion Paper E-98- I 8 13 (Sept. 1998),
24   https://www.belfercenter.orU/sites/default/files/leaacy/files/Science%20Skeptics%20and%20N
     on-State%20Actors%20in%20tlie%20Greenhouse%20-%20E-98-18 _pdf.
25   ~5 GCC, Issues and Options: Potential Global Climate Cliange, Climate Files (1994),
     http://www.climatefiles.com/denial-groups/global-climate-coalition-collection/1994-potential-
26   global-cliinate-change-issues.
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     atmosphere during the next 100 years, there remains no scientific evidence that such a dangerous
2                                 96
     warming wiil actually occur."
3
            4.93.    In 1997, William O'Keefe, chairman of the Global Climate Coalition and
4
     executive vice president of API, wrote in a Washington Post op-ed, "[c]limate scientists don't
5
     say that burning oil, gas, and coal is steadily warming the earth."97
6

7            4.94.   The Global Climate Coalition also sought to undermine credible climate science.

8    When the IPCC concluded that burning fossil fiiels was likely influencing the climate, the Global

9    Climate Coalition responded by falsely and misleadingly claiming that the IPCC's report was
10
     the product of "scientific cleansing" that "understate[d] uncertainties about climate change
11
     causes and effect ... to increase the apparent scientific support for attribution of changes to
12
     climate to human activities."98 The Coalition promoted this claim to repoi-ters, editors of
13
     scientific journals, and the readership of national newspapers.99 The Coalition's effort "was
14

15

16

17

18
     96   GCC, Climate Change: Your Passport to the Facts, Climate Files (1995),
19
     http://www.climatef les.coin/denial-groups/global-climate-coalition-collection/.1.995-climate-
20   change-facts-passport.
         Williarn O'Keefe, A Climate Policy, in The Washington Post (July 5, 1997),
21   https://www.wasliingtonpost.coin/archive/opinions/1997/07/05 /a-climate-policy/6a11899a-
     c020-4d59-al85-b0e7eebf19cc/.
22   98 Franz, Science, Skeptics and Non-State Actors in the Greenhouse at 14.
     https://www.belfercenter.org/sites/default/fi les/legacy/files/Science%20Skeptics%20and%20N
23
     on-State%20Actors%20in%20the%20Greenhouse%20-%20E-98-18.pdf.
24   9~ Naomi Oreskes & Erik Conway, Merchants of Doubt: How a Handful of Scientists Obscured
     the Truth oii Issues fiom Tobacco Smoke to Global Warming, New York: Blooinsbury Press
25   205-13 (201 1). See also S. Fred Singer, Climate Change and Consensus, Science vol. 271, no.
     5249 (Feb. 2, 1996); Frederick Seitz, A Major Deception on 'Global Warming', Wall Street
26   Journal (June 12, 1996).
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     widely perceived to be an attempt on the part of the [Global Climate Coalition] to undermine the
2    credibility of the IPCC." )oo
3
             4.95.   In 1998, a multi-state lawsuit against four of the largest tobacco coinpanies for
4
     deceiving the public about whetlier smoking caused cancer settled for 365.5 billion dollars.101
5
     Defendants took note. As one Shell employee explained, the company "didn't want to fall into
6
7    the saine trap as the tobacco companies who have become trapped in all their lies."10'

 8           4.96. In response, Defendants shifted their communications strategy from outright

 9   denial of climate science to delay.103 Defendants increasingly claimed that even if the climate
10   "risk" was real, lingering uncertainties in the science did not justify the alleged exorbitant costs
11
     of reducing fossil fuel consumption.
12
             4.97.   Defendants also relied more on front groups and seemingly independent scientists
13
     to promote their deceptive messages.
14
15           4.98. BP and Shell publicly left the Global Climate Coalition, but remained members

16   of API, who continued to participate in tlie Global Climate Coalition on behalf of BP, Shell, and

17   API's other members.
18
19
20
21   1°OFranz,    Science. Skeptics, and Non-State Actors in the Greenhouse at 15.
     https://www.belfercenter.org/sites/default/files/legacy/files/Science%20Skeptics%20and%20N
22   on-State%20Actors%20in%20the%20Greenhouse%20-%20E-98-1 8.pdf
     101       https://www.naag.org/our-work/naag-center-for-tobacco-and-public-health/the-master-
23   settlement-agreement/
24
     102
         Nathaniel Rich, Losing Earth: A Recent Histoi-X, London: Picador 186 (2020).
     103Franta, Big Carbon's Strategic Response to Global Warining, 1950-2020 at 170.
25   https://stacks.stanford.edu/file/druid:liq437ph9153/Franta%20-
     %20Big%20Carbon%20strategic%20response%20to%20global%20warming%201950-
26   2020%20-%202022-08-25-augmented.pdf.
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1           4.99.    Defendants have funded dozens of think tanks, front groups, and foundations to

2    promote doubt oii whether fossil fuels caused climate change, or whether climate change was a
3
     serious problem. In many cases, the funds were earmarked for climate change programs and
4
     constituted a substantial share of the group's budget. These include the Competitive Enterprise
5
     Institute, the Heartland lnstitute, Frontiers for Freedom, and the Committee for a Constructive
6

7    Tomorrow. Many of these organizations have an overlapping—sometimes identical—collection

8    of spokespeople serving as staff, board members, and scientific advisors. Funding multiple

9    organizations with overlappiiig staff and spokespeople to spread the same message created a
10   deceptive impression that a broad platform of experts and grassroots organizations supported
11
     Defendants' views. lo4
12
            4.100. From 1998 to 2014, ExxonMobil spent almost $31 million funding numerous
13
     organizations misrepresenting the scientific consensus that fossil fuels were causing climate
14

15   change with severe consequences for the public.10'

16           4.101. Ln 2007, Exxon publicly reported: "In 2008, we will. discontinue contributions to

17   several public policy research groups whose position on climate change could divert attention
18
     from the important discussion on how the world will secure the energy required for econoinic
19

20

21

22
     104 Smoke, Mirrors & Hot Air, How ExxonM:obil Uses Big Tobacco's Tactics to Manufacture
23
     Uncertainty on Climate Science., Union of Concerned Scientists, January, 2007.
24   exxon_report.pdf (ucsusa.org).
     lo'https://www.greenpeace. oig/usa/fighting-climate-chaos/exxon-and-the-oil-industry-kiiew-

25   about-cl imate-crisis/exxons-climate-denial-history-a-
     tiineline/#:'-':text=Analysis%20of%20ExxonMobil%20Worldwide%20Contributions,and%20U
26   nion%20ot"/o20Concerned%20Scientists.
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1    growth in an environmentally responsible manner."106 While Exxon acknowledged that funding

2    climate denial was affecting the public debate on climate change, Exxon did not keep its promise
3
     to stop. Exxon continued to support groups denying climate science in 2008 and beyond.
4
            4.102. Several Defendants have been linked to otlier groups that undermine the scientific
5
6    basis linking fossil fuels to climate change and sea-level rise, including the Frontiers of Freedom

7    Institute and the George C. Marshall Institute.

8           4.103. Phillip Cooney, an attorney at API from 1996 to 2001, testified at a 2007

9    Congressional hearing that it was "typical" for API to fund think tanks and advocacy groups that
10   minimized fossil fuels' role in climate change. Among the groups to which API provided funding
11
     were the Heartland Institute, Competitive Enterprise .lnstitute, and the American Council on
12
     Capital Formation, each of which issued publications challenging the scientific consensus that
13
     fossil fuels were causing climate change and opposing restrictions on Defendants' extraction,
14

15   production, and sale of fossil fuels.107

16           4.104. Defendants also paid scientists to research alternative causes of climate change

17   and promote fringe theories that lacked substantial evidence or suppoi-t. Those scientists obtained
18
     all or part of their research budget from Defendants directly or through Defendant-funded
19

20

21

22

23

24   1°6 ExxonMobil,  2007    Corporate    Citizenship   Report 41     (Dec.     31,    2007),
25   http://www.documentcloud.org/docum ents/279977 7-ExxonMob il-2007-Corp orate-Citizen ship-
     Report.htinl.
26   107 Id.
                                                                          SHER EDLING LLC
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     organizations like API.'Q8 They frequently failed to disclose their fossil fuel industry
2    underwriters, at times violating the etliical protocols of journals they published in.109
3
             4.105. Defendant-funded front groups and API then promoted the research from the
4
     scientists Defendants had secretly funded, leading consumers to believe that the scientists were
5
     neutral experts unconnected to Defendants and that a wide variety of organizations accepted
6

7    their views.

 8           4.106. For example, in 2003, scientists Wei-Hock Soon and Sallie Baliunas published a

 9   paper claiming the twentieth century was not the warmest century of the past 1,000 years and
10   that the climate had not changed significantly over that period. The paper acknowledged that
11
     API funds supported their research.
12
             4.107. Soon received substantial funding from Exxon and API throughout his career.
13
     Soon also had contractually agreed to allow his donol•s to review his researcli before publication
14

15   which he at times referred to as "deliverables." His housing institution also agreed not to disclose

16   the arrangement without prior permission fi•om his fossil fuel donors. 10

17

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20
     108    g, Willie Soon & Sallie Baliulias, Proxy Climatic and Environmental Changes of the Past
     1000 Years, 23 Climate Rsch. 88, 105 (Jan. 31, 2003), http://www.int-
21   res.corn/articles/cr2003/23/c023p089.pdf.
     109       Smithsonian Statement: Dr. Wei-Hock (Willie) Soon, Smithsonian (Feb. 26, 2015),
22   https://web.arcliive.org/web/20181105223030/https://www.si.edu/newsdesk/releases/smitlisoni
     an-statement-dr-wei-hock-wi lli e-soon.
23   ' lo Union of Concerned Scientists, Climate Deception Dossier #1: Dr. Wei-Hock Soon's
     Smithsonian                        Contracts,                        (July                    2015),
24
     littps://www. ucsusa. org/sites/defau lt/files/attach/ 2015/07/The-C  limate-Decept ion-Dossieis.p df
25   [https://perma.cc/JL2V-XYGL]              &        https://s3.ama zonaws.com/u cs-documelits /global-
     warining/Climate-Deception-Dossier-I_Willie-Soon.pdf;
26   https://www.ucsusa.org/resources/climate-deception-dossiers.
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1            4.108. Baliunas and Soon were formally affiliated with numerous front groups that
2    Defendants funded, including the Global Climate Coalition, the George .Marsliall Institute, the
3
     Competitive Enterprise Institute, the Heartland Institute, Tech Central Station, the Center for
4
     Science and Public Policy, an affiliate of Frontiers of Freedom, and the Committee for a
5
     Constructive Tomorrow.' I '
6

7            4.109. After Soon and Baliunas published their 2003 paper, Defendant-funded front

8    groups quickly promoted their work as neutral expert opinion on the uncertainty of climate

9    science. One such promotion was published in the Seattle Post-Intelligencer by William
10   O'Keefe. Significantly, William O'Keefe's emp.loyment rotated between API, the Global
11
     Climate Coalition, the Marshall Institute, and the Competitive Enterprise Institute---all groups
12
     that Defendants helped to form andlor fund. O'Keefe has also been a registered lobbyist for
13
     Exxon and API. I' 2
14
15           4.110. Following Soon and Baliunas' 2003 publication, three editors of the scientific

16   journal wherein it was published resigned, criticizing the journa.l.'s review process as

17   insufficiently rigorous and claiming Soon and Baliunas' cited evidence did not support their
18
     conclusions. Thirteen of the scientists cited in Soon and Baliunas' paper published a rebuttal
19
20
21
22
     I11
          Sallie Baliunas. DeSmog. littps://www.desmog.com/sallie-baliunas/#s26 _; Willie Soon.
     DeSmog. https://www.desmog.com/willie-soon/.
23
     112
         Union of Concerned Scientists, Climate Deception Dossier #1: Dr. Wei-Hock Soon's
     Smithsonian                        Contracts,                       (July                     2015),
24   https://www.ucsusa.org/sites/def  ault/files/attach/ 20 1 5/07/The-Clirna te-Deception-Do ssiers.pdf
     [https://perma.cc/JL2V-XYGL]            &        https://s3.amazonaws.com/ucs-documents/global-
25   warming/Climate-Deception-Dossier-1_Willie-Soon.pdf; O'K.eefe, W., 2003, Gl.obal war-ining
     an uncertainty, Seattle Post-Intelligencer, December 12;
26   William O'Keefe. DeSmog. https://www.desmog.com/william-o-keefe/.
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     explaining tliat Soon and Baliunas had seriously misinterpreted their research.113 William
2    O'Keefe and the other Defendant-funded front groups publicly promoting Soon and Balinuas'
3
     2003 paper did not disclose this controversy, their financial support for Soon and Baliunas' work,
4
     or their own connections to Defendants.
5
             4.111. In addition to misleading the public about climate change, Defendants did not
6

7    warn consumers of the knowli risks of using fossil fuels and the potential for catastrophic damage

 8   to public health, natural resources, and economies. Defendants also concealed their strategic

 9   collaborations with other companies and their support for seemingly independent tliird parties,
10
     ftu-ther misleading the public.
11
             4.112. Much of Defendants' deceptive activity and sophisticated understanding of
12
     climate change was not publicly discovered until journalists uncovered confidential industry
13
     documents and interviewed former employees beginning in 2015.114
14

15

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17

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     113
          Union of Concerned Scientists. Smoke, Mirrors & Hot Air; How ExxonMobil Uses Big
     Tobacco's Tactics to Manufacture Uncertainty on Climate Science. (Jan. 2007),
20   https://www.ucsusa.org/sites/default/fi les/2019-09/exxon_report.pdfnn. 82-83.
     114 Neela Baneijee et al., Exxon: The Road Not Taken, InsideClimate News (Sept. 16, 2015),
21   https://itisideclimatenews.org/content/Exxon-The-Road-Not-Taken; the Los AnQeles • Times
     published a series of three articles between October and December 2015: see Katie Jennings et
22   al., How Exxon went from leader to skeptic on climate change research, L.A. Times (Oct. 23,
     2015), https://graphics.latimes.com/exxon-research; Sara Jerving et al., What Exxon knew about
23
     the Earth's nielting Arctic, L.A. Times (Oct. 9, 2015), https://graphics.latimes.com/exxon-
24   ai•ctic/; Amy Lieberman & Susanne Rust, Big Oil braced for global warl.ning wliile it fought
     regulations, L.A. Times (Dec. 31, 2015), https://graphics.latimes.com/oil-operations; Caroll
25   Muffett & Steven Feit, Smoke and Fumes: The Legal and Evidentiary Basis for Holding Big Oil
     Accountable for the Climate Crisis, Ctr. for Int'l :Envtl. Law 10 (2017),
26   https://www.ciel.org/reports/smoke-and-fumes.
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1     G.      Defendants continue to deceive the public by failing to disclose the impact of
              fossil fuels on climate change, claiming their products reduce greenhouse gas
2             emissions, promoting unproven technologies, and greenwashing.
3
              4.113. While Defendants' deceptive campaign began as a cainpaign to deny or
4
      manufacture doubt about the role of fossil fuels in changing the climate, Defendants have
5
     I adjusted their messages over time. The one constant, however, is that Defendants continue to
6
    mislead about relevant facts in order to foster continued demand for fossil              fuels and dampen
7 I

 8 ( demand for clean energy alternatives.

 9            4.114. Defendants:

10                     a.     Still do not disclose the impact of fossil fuels on climate change;
11                            Protnote fossil fuel products as "green," "sustainable," "carbon-neutral,"
                       b.
12
     ' and "lowering ernissions;"
13
                       c.     Promote unrealistic or unproven technologies that would permit
14
15     continued reliance on fossil fuels and fossil-fuel-based cars, heating, and electricity; and

16                     d.     Promote themselves as clean energy companies who are actively working

17 I to achieve net-zero emissions.
18             4.115. Defendants' advertising is pervasive. Defendants reach the public through
19
       television, news, podcasts, online ads, Google searches, social media posts, YouTube videos,
20
       and through messaging from seemingly independent third parties (that are, in reality, closely
21
       connected to Defendants). Further, Defendants employ messaging strategies that amplify and
22
23     maximize their influence on consumers and the public.

24             4.116. All of this serves a common end: giving consumers the impression that climate

25     change is not a serious concern and, in any event, that Defendants are clean energy companies
26
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1    who will solve climate change with "advanced" f:ossil fuels, new technologies, and reducing
2    emissions.
3
             4.117. Defendants' investrnents and business plans tell a different story. Defendants
4
     continue to explore for and produce increasing quantities of fossil fuels, to ensure dependence
 5
     and to dampen demand for alternative energy sources and technologies. Reducing emissions is
6

 7   simply not in the business plan.l 1'

 8           4.118. Defendants' investments in clean energy are miniscule parts of their budgets and

 9   short-lived. Further, Defendants' commitment to this research is generally insufficientto achieve
10   a transition away from fossil fuel dependence that Defendants claim in their ads to pursue.
11
     H.      Defendants fail to disclose the climate impacts of their fossil fuel products.
12
             4.119. Defendants have spent fortunes deceiving the public about climate change and
13
     the harms and costs it imposes on public health, the economy, and natural resources, so as to
14
15   protect their "core business" operations: selling more and more fossil fiuels. That deception

16   continues to this day.

17
18
19
20
     11' For example, ConocoPhillips' 2012 1.0-K. SEC filing reveals the company's sole 1:ocus on
21   producing fossil fuels for global distribution: "As an independent E&P company, we are solely
     focused on our core business of exploring for, developing and producing crude oil and natural
22   gas globally." The fil.ing fiirther highlighted the company's "growing North American shale and
     oil sands businesses ... and a global exploration program." ConocoPhillips, Annual Report
23                                   32                  (Dec.              31,               2012),
     (Form 10-K)
24   https://www.sec.gov/Archives/edgar/data/1163165/0001 19312513065426/d452384d l Ok.htm.
     Indeed, in 2019, ConocoPhillips produced over 700,000 of barrels of crude oil per day and over
25   2.8 million cubic feet of natural gas per day. ConocoPhillips, 2019 Annual Report 168 (2019),
     https://static.conocophill ips.com/files/resources/2019-conocophillips-annual-report-19-
26   0895.pdf.
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1             4.120. This disinformation affects consumer clioices about all manner of decisions,
2    ~ including for example transportation, heating and cooling, building construction, appliances,
3
     i travel, and recreation.
4
              4.121. History sliows that when people are made aware of the harmful effects or qualities
5
      of products they purchase, they often choose not to purchase them or to reduce their purchases.
6

7     Awareness of such effects can also spur new markets for more environmentally friendly

 8    products.

 9            4.122. For example, increased consumer awareness of the role of pesticides in hanning
10    human health, worker health, and the environment spurred a burgeoning market for food grown
11
      organically—with access to infonnation about how their food was grown, consumers demanded
12
      healthier choices, and the market responded.
13
               4.123. Consumers also responded swiftly to findings that the use of products like
14
15    hairsprays and deodorants with chlorofluorocarbon ("CFC") containing aerosols were depleting

16    the earth's protective ozone layer by purchasing substitutes for CFC-containing products.

17             4.124. As a BP executive stated in an internal memo from 2016:
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                                                                         SHER EDLING LLC
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1      1.1.1 Risks to BP from climate change
2
       The climate problem has the potential to disrupt BP's business in at least
3      three ways:
            i. Effective climate policies can emerge that discourage fossil fuel
4
               consumption, that impose environmental performance standards
5              on production processes, and that subsidize or promote efficiency
               and low carbon energy.
6          ii. Climate-motivated research can create disruptive new energy
7
               technology.
          iii. Climate impacts can directly disrupt BP's investments in energy
8              production infrastructure and supply chains.
 9
             4.125. By omitting material information about the climate impacts of their fossil filel
10
     products, Defendants continue to profit from their decades-long deceptive campaign and
11
     ongoing uncertainty among the consuming public regarding the role of fossil fiiels in harming
12

13   people, the economy, and the environment.

14           Defendants misleadingly pro[note fossil fuel products as "green," "sustainable,"
             "carbon-neutral," and "lowering emissions."
15
             4.126. Defendants also advertise fossil fuel products as "environmentally friendly,"
16

17   "green," "sustainable," "carbon-neutral" and ".lowering emissions." These claims deceptively

18   state and imply environmental benefits that are non-existent or negligible.

19           4.127. In 2017, the Dutch Advertising Code Authority censured Shell and Exxoii for
20   advertisiiig natural gas as the "cleanest fossil fuel." The Advertising Code Authority reasoned
21
     that the claim "suggested that fossil fuels can be clean in that they do not cause environmental
22

23

24

25   116
          BP. lssues Management Working Group Meeting Notes; Caspian 4.53. (Sept. 25, 2017)
     littps://oversightdemocrats.house.gov/sites/democrats.oversight.house.gov/files/2022/BP_Reda
26   cted-Final- l.pdf p. I 04
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1                                                              ~17 Yet in the United States, all
     damage. It is Crm ... that that suggestion is not correct."
2    Defendants continue to advertise natural gas as clean, sustainable, environmentally-friendly, and
3
     low-emission.
4
            4.128. For example, Shell has published numerous advertisements on national
5
     newspapers such as the New York Times and the Washington Post in whichthe company touts
6

7    its investments in new energy sources to reduce emissions and help to "set[] the course" for a

 8   "lower-carbon mobility future." In these advertisements, Shell presents liquefied natural gas as

 9   a "cleaner source" of energy and "a critical component of a sustainable energy mix" and a
10   "lower-carbon fuel" that could "help decrease" CO2 emissions.l1s,l19
11
            4.129. ConocoPhillips has released ads on Facebook stating, "Natural Gas: efficient,
12
     affordable, environmentally-friendly. Find out how natural gas is meeting global energy demand
13
     while reducing climate-related risks," and linking to a page on their website. l'-0
14
15           4.130. In 2008 ConocoPhillips published this full-page ad in The Atlantic magazine:

16
17
18
19
20
21
     117 Nelson, Arthur. Shell and Exxon face censure over claim gas was 'cleanest fossil fuel'. (Aug.
22   .14,     2017) https://www.theguardian.com/environment/2017/aug/14/shell-and-exxon-face-
     censure-over-claim-gas-was-cleanest-fossil-fuel.
23
     118 See, e.g., The Making of Sustainable Mobility (Content fro.m Shell), Wasli. Post,

24   https://www.washingtonpost.com/brand-studio/shell/the-making-of-sustainab le-mob il ity.
     l l See. e.g., Moving Forward: A Path To Net-Zero Emissions By 2070 (Shell Paid Post), N.Y.
25   Times,            https://www.nytimes. com/paidpost/shell/ul/moving-forward-a-path-to-net-zero-
     emissions-by-2070.htm1.
26   120 https://twitter.com/APIenergy/status/1325211486092845057.
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        Figure 7: ConocoPhillips advertisement in The Atlantic
22
            4.131. Contrary to the impression these claiins are intended to leave, natural gas is a
23
24   fossil fuel that contributes substantially to climate change. It emits significant quantities of CO2

25   when burned and leaks methane throughout its lifecycle. Once methane leakages are considered,
26   advantages of natural gas over other fossil fuels are reduced, if not eliminated. The .IPCC
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1    estimates that methane alone is responsible for more than a third of the warming the Earth has
2    experienced thus far.
3
             4.132. Defendants also misleadingly market cei-tain gasolines, motor oils, and lubricants
4
     as "green," "carbon-neutral," "environmentally-friendly," or "lowering emissions." These
5
     claims imply that Defendants' products are beneficial to the climate and can help reduce
6

 7   emissions. In reality, burning these fossil fuel products will increase emissions and worsen

8    climate change, and any comparative benefit from using Defendants' products as opposed to

 9   another motor oil, gasoline, or lubricant is negligible.
10           4.133. For example, Chevron advertised its Techron fuel with claims that emphasize its
11
     supposed positive environmental qualities, such as: "less is more," "minimizing emissions," and
12
     "up to 50% cleaner."121 In a Q and A on Chevron's website, one question says, "I care for the
13
     environment. Does Techron impact my car's emissions?" Chevron answers that "[g]asolines
14
15   with Techron" clean up carburetors, fuel injectors, and intake valves, "giving you reduced

16   emi ssions."1'-'-

17            4.134. Sliell advertised that its Shell Nitrogen Enriched Cleaning System and V-Power
18
     Nitro+ Premium "produce[s] fewer emissions" and that not using them can lead to "higher
19
     emissions."12'
20
              4.135. Exxon advertises its Synergy Diesel Efficient fuel as the "latest breakthrough
21
22   technology" and the "first diesel fuel widely available in the US" that helps "increase fuel

23
24   121
          See, e.l?., Chevron, Techron, https://www.techron.com (last visited Oct. 14, 2022).
     122
25        Id.
     123
           See, e.g., Shell, Shell Nitrogen Enriched Gasolines, https://www.shell.us/motorist/shell-
26   fitels/shell-nitrogen-enriched-gasolines.htrnl (last visited Oct. 14, 2022).
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1    economy" and "[r]educe emissions and burn cleaner," and "was created to let you drive cleaner,
2    smarter and longer."
3
             4.136. Exxon also publishes online content under the banner "Energy Factor," wherein
4
     Exxon claims that it is "develop[ing] safe and reliable energy sources for the ftrture." The Energy
5
     Factor webpage includes posts such as "Green Motor Oil? ExxonMobil Scientists Deliver an
6

 7   Unexpected Solution," in wliich Exxon promotes its green-colored motor oil, with a heading in

 8   bold typeface advertising that it can "contribute to ... carbon dioxide emission-reduction

 9   efforts."
10           4.137. BP markets its Invigorate gasoline as a "cleaning agent that helps ... give you
11
     more miles per tank," and "help[s] cars become clean, mean, driving machines," and its bp Diesel
12
     as "a powerful, reliable, and efficient fuel made" to help "reduce emissions."1Z4
13
             4.138. BP's website advertises its filel selection as "including a growing number of
14
15   lower-carboti aiid carbon-neutral products." BP's website also describes its Invigorate gasoline

16   product as better than "ordinary ftiels" that have problems like "increased emissions."

17           4.139. ConocoPhillips, through its 76-branded gas stations in Washingtoii, offers for sale
18
     and markets 76-brand fossil fuels. In ConocoPhillips's advertisements for its 76-brand fuels
19
     ConocoPhil.lips claims that its fuels "clean." a car's engine, resulting in "lower emissions, and
20
     that deposits left from other gasolines "can increase emissions." ConocoPhillips advei•tises that
21
     76's fossil fuels are "better for the environment." The 76 website for 76's fuels contains the
22
23   marketing materials shown below, in which ConocoPhillips makes the claim—superimposed on

24
25
     124
          See. e.g., BP, Our Fuels, https://www.bp.com/en_us/united-states/home/products-and
26   services/fiiels.html (last visited Oct. 14, 2022).
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1    an image of a bluebird standing on a car's side mirror and looking at the viewer, with silhouetted
2    trees in the background—that 76 and its fossil fuels align with the values of environmentally
3
     conscious consumers: "We're on the driver's side®. And the environment's."
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         Figure 8: ConocoPhillips 76 Fuels Website: Top Tier Gas
14
             4.140. Defendants' marketing is reminiscent of the tobacco industry's effort to promote
15
16   "low-tar" and `light" cigarettes as an altemative to quitting smoking after the public became

17   aware cigarettes caused cancer. Cigarette makers promoted "light" and "low tar" cigarettes as a

18   healthier choice, even though the health benefits from smoking a "light" cigarette compared to
19   a regular cigarette was negligible and any use of cigarettes was harmful. Defendants similarly
20
     aim to reassure consumers that using simply choosing their gasoline and motor oils will reduce
21
     their impact on climate change when in fact the benefits for the climate are negligible and
22
     burning all gasolines will contribute to climate change.
23
24           4.141. Cigarette makers also used scientific and engineering terms in their advertising

25   of "light" cigarettes to enhance their credibility. Exxon's advertising for SynergyTM and "green"
26   Mobil ITM products similarly employs phrases like "meticulous[] engineer[ing]," "breakthrough
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1    technology," "rigorously tested in the lab," "proprietary formulation," "test data," "engineers,"
2                                                                            IZs
     "innovat[ion]," and "Scientists Deliver [] Unexpected Solution[s]."
3
     J.     Defendants promote unrealistic or unproven technologies as clean energy
4           solutions for people currently relying on 1)efendants fossil fuels.

5           4.142. Defendants also promote unrealistic or unproven technologies as clean energy

6    solutions for the average consumer who currently relies on Defendants' fossil fuels to power
7
     their cars or homes. These ads leave people witli the deceptive impression that such technologies
8
     are currently viable, or soon to be viable, and will soon permit everyday consumers continued
 9
     reliance on fossil fuels or related infrastructure,:such as gas or coal-fired power plants or intenial
10
     combustion engines for cars. Defendants omit material information and context for these claims,
11

12   as described in the below illustrative examples:

13           4.143. Exxon regularly advertises its efforts to capture and store carbon, leaving

14   consume►•s with the impression that Exxon does this to benefit the climate. Exxon does not
15
     disclose that the massive energy required to capture that cat•bon is powered by fossil fuels
16
     emitting more greenhouse gasses iiito the air126 Further, nearly all the carbon Exxon has captured
17
     was not simply stored, but used to drill for more oil.
18

19

20

21

22
     125 See, e.g., EnergyFactor by ExxonMobil, Green Motor Oil? ExxonMobil Scientists Deliver an
23
     Unexpected Solution (July 19, 2016); Exxon Mobil, Fuels, https://www.exxon.com/en/fuels (last
24   visited Oct. 14, 2022).
     126 Kusnetz, Nicholas. Exxon's Long-Shot Embrace of Carbon Capture in the Houston Area Just
25   Got          Massive        Support      from      Congress.      (Sept.      25,      2022)
     https://ins i decl imatenews.org/news/25092022/exxon-houston-ship-channel-carbon-capture/
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13           4.144. For almost a decade, Exxon also claimed it had a new climate solution: algae
14
     biofuels. As recently as 201.8, Exxon claimed it would be producing 10,000 barrels of algae
15
     biofuel by 2025 and that this fuel could reduce "carbon emissions from transportation" by more
16
     than fifty percent.127 l:n 2019, Exxon continued to advertise that "it is growing algae for biofuels
17
18   that could one day power planes, propel ship.s, and fuel trucks, and cut their emissions in lial£"1'-$

19           4.145. Exxon ultimately invested just $335 million of the $600 million it had promised
20                                                                                             129
     to develop the technology before quietly pulling the plug on the project in December 2022.
21
22
     127 The Future of Energy? It May Come From Where You Least Expect (ExxonMobil Paid Post),
23   N.Y. Times, https://www.nytimes.com/paidpost/exxonmobil/the-future-of-energy-it-may-
     come-from-where-you-least-expect.html.
24   128     Exxon        Mobil     TV      Spot,     'Alge    Potential'.     (Oct.    19,   2019)
     https://www. ispot.tv/ad/ovGn/exxon-mobil-algae-potential.
25   129 BlQ oil firins touted algae as climate solution. Now all have pulled funding. The Guardian.
     (March 17, • 2023). https://www.theguardian.com/environment/2023/mar/17/big-oil-algae-
26   biofuel-funding-cut-exxonmobil.
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1             4.146. On infonnation and belief, Exxon spent nearly half as much as its actual
2    Iinvestment in developing algae biofuel on advertising its commitment to algae biofuels.130
3
              4.147. On information and belief, Exxon's $335 million investment in algae was far
4
     ( short of the several billion dollars that algae researchers believe is necessary to commercialize
5
    algae biofuels.1' I
6 l
7           4.148. In addition to not disclosing the:rniniscule scale of these efforts, Exxon's ads do

 8   ~ not acknowledge that Exxon's biodiesel fuel is generally a blend that uses only 5% to 20%

 9   ~ biofuel, with the remainder composed of fossil fuel. Thus, Exxon's greenwashing ads
10    misleadingly overstate both. the "sustainable" or "environmentally Friendly" nature of its
11
     I biodiesel investment as well as its scale.
12
           170.        In another advertisement published in the Washington Post, Shell touts
13
       hydrogen fuel cell technology, promoting hydrogen as "[o]ne of the cleaner sources" that
14

15    power electric vehicles, stating that "[h]ydroge.n fuel cell vehicles .. .. emit nothing from their

16     tailpipes but water vapor."1' Z

17             4.149. In an online video, Shell advertised hydrogen fuels for cars to potential consumers
18
       in lieu of electric vehicles. Shell claimed:
19
20
21     t'u BiQ oil firms touted al~ae as climate solution. Now all have pulled fundin?. The Guardian.
       (March 17, 2023). https://www.theguardian.com/environment/2023/mar/17/big-oil-algae-
22     biofuel-funding-cut-exxonmobil. (In its 12 years in the space, Exxon invested $350m in algae
       biofucls, according to spokesperson Casey Norton. (Norton says that's more than double what
23     the company spent on touting this research in ads.)")
        'I Big oil firms touted algae as climate solLition. Now all have pulled fimding. The Guardian.
24     (March 17, 2023). https://www.theguardian.com/environment/2023/mar/17/big-oil-algae-
       biofuel-funding-cut-eYxonmobil.
25     132    The Mobility C?uandary. (Shell Paid Post). The                       Washington    Post.
       https://www.washingtonpost.com/brand-studio/shell/the-mobility-quandary/
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     133 @Shell USA. A car that only emits water and lieat? Learn more about #hydro~en, a fuel for
25   the future that can help clean up transport today. X(forinerly Twitter). (Dec. 20, 2017).
     https://twitter.com/Shell_USA/status/943401 9851 93242625?ref_srctwsrc%5Etfw%7Ctwcarn
26   p%5Eembeddedtimeline%7Ctwterm%5Escreen-name%3Ashe11_usa%7Ctwcon%5Es1.
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1           4.150. Shell admitted elsewhere — but not in these advertisements — that "inost of
2    hydrogen today is produced from fossil fuels such as natural gas," including the hydrogen that
3                                                                                           134 As of 2021, fossil
     Shell provided to consumers at their hydrogen fiteling stations in California.
4                                                                    13'
     fuels produced lnore than 99 percent of liydrogen on the market.
5
            4.151. As with most of :Defendants' short-lived but highly publicized investments in
6

7    "clean energy solutions," Shell subsequently closed the five stations aimed at hydrogen fueling

 8   for passenger cars and "confirm[ed] that Shell has discontinued its plan to build and operate

 9   additional light-duty vehicle fueling stations in.California." 136
10   K.     Defendants misleadingly promote themselves as clean energy companies actively
11          working to achieve net-zero emissions.

12            4. •l 52. Defendants' representations and omissions described above imply that

13   Defendants are clean energy companies actively working to solve climate change, but
14   Defendants do not stop there. Defendants actively promote their brand to consumers as a clean
15
     energy business, even claiming that they are working to achieve net zero emissions. Defendants'
16
     promotions are false, misleading, and unfairly compete with other businesses who are primarily
17
     engaged in supplying clean energy.
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21   134 Carbon Neutral Hydrogen. Shell United States. https://www.shell.us/motorist/shell-
     hydrogen-california-retai l-hrs-project.html.
22   135 Global Hydrogen Review 2022. International Energy Agency. (Sept. 2022) pg. 71.
     h tps://www. iea.org/reports/global-hydrogen-review-2022.
23    36 Carbon Neutral Hydrogen. Shell United States. https://www.shell.us/motorist/shell-
     hydrogen-california-retail-hrs-proj ect.html.; Dokso, Anela. Shell Abandons California
24   Hydrogen Stations. H2 Energy News. (Sept. 19, 2023). https://energynews.biz/shell-abandons-
     california-hydrogen-
25   stations/#:~:text=In%20essence%2C%20She11%20has%20shuttered,California%20due%20to
     %20operational%20issues.
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1              4.153. Recognizing the potential to capture market share of "green" consumers, BP was
2     an early adopter of these tactics. For over two decades, BP claimed to consumers that it was
3
      moving "beyond petroleum," "advancing the energy transition,"137 and "transforming itselt"1 ' s
4
     ~ to become a net zero energy business.
5
               4.154. Beginning in 2000, BP began a $200 million campaign claiming it was moving
6

7     "beyond petroleum" with advertisements por-Craying BP as predominantly invested in clean

 8    energy sources. Messages from that campaign included some projects, plans, and an overall

                                                                                                       away from petroleum:
9    f theme that BP was going to Inaterially reduce its emissions and transition
10


                       It's time ~o go on a
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12

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                       IfOw car~on diet.
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                       Cleaner fuels, na#ural pas, hydrogen, st>1ai wind...
15                     some of the ways we're trying to reduce carbon errdssions.

16                     ~..m                                                         tieyona aetrowum

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24             BP.     BP's        Shift      to     Gas.     Youtube.      (Dec.      6     2017)
      https://www.youtube.corn/watch?v=ILwpc5MUrnLIM.
25    138 Our Transformation. B.P. (Sept. 4, 2023). https://www.bp.com/en/global/corporate/who-we-
      are/our-transformation.htm l.
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           BP Advei-t (Revised) Beyond Petroleum Ad. Youtube.            (May          10,   2007).
25   https://www.youtube. com/watch?virDhWudV-
     7w&1 ist=PL4SVn W ogx W YvFLayEJM3phaX 8 EbD 9Pz0J&i ndex=7
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1           4.155. BP succeeded in persuading conswners that it was an eco-friendly company,
2                                                                                                     l4o
     capturing consumer demand for oil companies to respond to the threat of cliinate change.
3                                                                                                     141
     From 2000 to 2007, according to BP, its brand awareness went frorn four percent to 67 percent.
4
            4.156. In reality, BP's.investments in clean energy was only a small percentage of its
5
     total capital expenditure during this period. The vast majority of BP's investments during this
6

 7   period were to increase fossil fuel exploration, production, refining, and marketing.l42

 8          4.157. Though BP abandoned the "beyond petroleum" moniker in 2013, BP continues

 9   to portray itself to consumers as predominantly invested in clean energy.
10          4.158. tn more recent years, BP has run advertisements intended to "advance and protect
11
     the role of gas — and BP — in the future of energy conversation.'"143 These advertisements claim
12
     natural gas is a clean energy source, similar to renewables, and, through its production of natural
13
                                                    144
     gas, BP is "advancing the energy t.ransition.'"
14
15           4.159. In 2019, BP's CEO announced it was, once again, time to "let people know we

16   are engaged in this big energy transition and have a big core business." BP launched the

17   "Po.ssibilities Everywhere" campaign. The advertising campaign once again exaggerated BP
18
19   140 Cherry, Miriam A. et al. Beyond Profit: Rethinking Corporate Social Responsibility and
     Greenwashing After the BP Oil Disaster. Saint Louis University School of Law. (2011.) pg. 1002-
20   1008. (describing the "halo created by a decade of smart advertising" that positioned BP on the
     green side of energy development and liow environmentalists had rated BP as the "eco-friendly
21   gas .                                        station                                   choice")
     https://scholarship .law.slu.edu/cgi/vi ewcontent.egi?arti cle=1375&context =faculty.
22
     141 Nastu, Jennifer. `Beyond Petroleum' Pays Off for .B.l'. Environment and Energy Leader. (Jan.

23   15, 2008) https://www.environmentenergyleader.com/2008/01/beyond-petroleum-pays-off-for-
     bp/
24         Annual Report and Accounts 2008. BP. https://www.bp.com/content/dam/bp/business-
     sites/en/gl obal/corporate/pdfs/i nvestors/bp-annual-report-accounts-2008.pd£
25   143 Brunswick Advocacy Campaign document at 2.
     144      BP.       BP's       Shift       to      Gas.       Youtube.    (Dec.       6    2017)
26   https://www.youtube.com/watch?v=I Lwpc5 M UmUM
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1    investments in clean energy and (alleged) support for a clean energy transition and misleadingly
2                                                                                                                                       '45
     portrayed natural gas as a clean energy similar to wind and solar power.
3
             4.160. One Possibilities Everywhere advet-tisement from 2020, called "Advancing," BP
4
     shows irnagery of drought and storms, alluding to climate change. BP then states the world needs
5
     energy "that is kinder to our planet." Such energy sources are "cleaner, greener, smarter energy."
6

7    BP presents images of those energy sources: solar, hydro, and wind power alongside natural gas,

 8   implying that natural gas is also a clean, green energy:
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25   14J Farand, Chloe. BP's First Global Advertising Campaign Since Deepwater Horizon Accused
     ofBeing~,'Deceptive and Hypocritical'. DeSmog. https://www.desmog.com/2019/01/29/bp-fiist-
26   global-advertising-campaign-deepwater-horizon-accused-greenwashing-deceptive/.
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     Finally, BP presents itself as leading that transition: "With our scale and know-how, our
2    partnerships and new investments, we'll search for energy the world needs to progress, seeking
3                                                    la6
     new possibilities in everything, everywhere."
4
            4.161. ln another ad, called "Blade Runners," BP described itself as "one of the major
5
     wind energy businesses in the US."Ia7 Yet, at the time of this advertisement in 2019, BP owned
6
 7   approximately 1.7 gigawatts ("GW") of wind capacity, which is dwarfed by other companies

 8   including GE, Siemens, and Vestas (with about 39 GW, 26 GW, and 23 GW capacities,

 9   respectively).'as And BP's total wind capacity was just roughly one percent of total installed
10   wind power in the United States. la9
11
             4.162. WPP, one of BP's public relations firms, describes BP's strategy at this time to
12
     portray BP as "advancing the energy transition" I ' o:
13
14
15
16
17
     146               BP               Keep                Advancing             Advertisement.
18
     https://www.dropbox.com/s/dgzea4w30tfbtic9/2020_B143196_B P_Advancing_video_edits_
19   US-UK.MASTERPR002.mp4?dl=0.
     147      _          Blade                  Runners.               BP.                (2019).
20   https://web.archive.org/web/20191130192545/https://www.bp.com/en/global/corporate/wlio-
     we-are/possibilities-everywhere/wind-and-natural-gas.html.
     148 For B.P's wind capacity, see: Press R.elease. BP Advances Offshore Wind Growth Strategy
21
     (Feb. 8, 2021), https://www.bp.com/en/global/corporate/news-and-insights/press-releases/bp-
22   advances-offshore-wind-growth-strategy.html For wind capacity of GE, Siemens, and Vestas,
     see: McClain, Abby. The 15 Largest Wind Power Companies in the World (April 18, 2023),
23   https://www.zippia.com/advice/largest-wind-power-companies/.
     149 Ingram, Elizabeth. U.S. wind capacity grew 8% in 2018, AWEA says. Reiiewable Energy
24   World. (April l0, 2019). https://www.renewableenergyworld.com/wind-power/onshore/u-s-
     wind-capacity-grew-8-in-2018-awea-says/.
25   150     gp Creative Workshop BriefinQ Docurnent. WPP. (Jan. 14, 2020)
     https://www.documentcloud.org/documents/20073850-bp-creative.
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13
14                       Acknowledging that "[s]ociety is increasingly recognizing that there is a climate
        4.163.
15
     emergency requiring a rapid energy transition,” BP then adjusted their brand positioning to
16
     reinvent itself as "transforming ... to help the world reach carbon neutrality and improve
17
                                                                                            151
     people's lives. We get it, and no company is more willing or able to make this happen."
18
19
20
21
22
23
24
25   1 S1    BP Creative Workshop Briefing Document. WPP.                                                                 (Jan.     14,     2020)
     https://www.documentcloud.org/documents/20073850-bp-creative.
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13              4.164. Other Defendants have followed suit, seeking to portray themselves as clean
14      energy businesses leading the transition away from fossil fuels.
15
                4.165. Shell launched the "Make the Future" campaign, which presents various ideas of
16
        how one could reduce emissions or develop clean energy as well as Shell's "target" to achieve
17
       l net zero emissions.
18


19              4.166. For example, one of Shell's Make the Future advertisements included a video

20      describing the company's "target" to achieve net zero emissionsl''-:

21
22
23
        152 Sponsored Advertisement by Shell. By working togetlier, we can achieve a net-zero emissions
24      world. Click to learn more. #MakeTlieFuture. Facebook. (May 10, 2021 to June 27, 2021).
        https://www.facebook.com/ads/library/?active_status=all&ad_type=political_and issue_ads&c
25      ountry=U S&id=487103519201014&view_all_page_id=200969413280005&search_type=page
        &media_type=all
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1           4.167. If a person clicks on tlie link to Shell's website, they will see images of wind
2    turbines and solar panels as they scrol l tlirough pages of how Shell is "Tackling climate change,"
3
     helping to achieve the goal "laid out in the Paris Agreement," and is "transforming our business"
4
     to meet their target of net zero emissions. They will read about how Shell provides renewable
5
     electricity and electric vehicle charging, is restoring habitats and clean water through
6

7    reforestation efforts, and even has an "approach to a fair and just transition." AII this gives an

8    impression that Shell is, currently, transforming its business to reduce emissions. Yet, after

 9   scrolling through all this information, the reader may click on a "legal disclaimer." Buried in the
10   .middle of the disclaimer, Shell states: "Shell's operating plans, outlooks, budgets and pricing
11                                                             15'
     assumptions do not reflect our net-zero emissions target."
12
             4.168. One of Shell's public relations firms aptly describes the intent of Shell's Make
13
     The Future campaign as follows: 154
14
15
16
17
18
19
20
21
22   153 Our Climate Target. Shell United States. https:/hvww.shell.us/energy-and-innovation/our-
     climate-
23   target.htm l?utm_sou rce=facebook& utm_m ed i ua,n=so c ial &utm_co ntent=fv_4_0015& utm_cam
     paign=nz_ld_us_apr-
24   jun_2021&1 inkId=117937083#iframe=L3dlYmFwcHMvY2YpbWF0ZV9hbWJpdG1vb19V U19
     OZXRfemVyb 1 8yMDIyLw
25   154 Shell South Pole Energy Challenge. Edelman via archive.today. (Acc. Jul 25, 2023).
     https://archive.ph/IZ8Qz
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 1
     As part of their efforts to make consumers, particular!y millennials,
2
     aware ot their comrnitrnent to cleaner energy, Shell launched the
3
     #mal<ethefuture campaign. The company tasked Edelman with the job
4
     of giving millennials a reason to connect emotionally with Sheli's
 5   commitment to a sustainable future. We needed them to forget their
6    prejucfices about "big oil" and think differently about She!1.
7           4.169. Following an advertising campaign linking Shell to a polar expedition using
 8
     renewable fuels, Edelman stated the "Business Outcome" of its campaign, which included:
 9
10                   * Audaerìce members are 3195 more Ifkely to believe Shell is
                       comrnitted to cleanerfueCs.
11
                     * Pesitive attitudes i:owards the rand increas.ed by 12°l~
12

13          4.170. Mediacorn, another public relations firm working on Shell's "Make the Future"
14
     campaign, candidly stated that "Shell's `Make The Future' communications ultiniately seek to
15
     change or enhance the perception of the brand among all potential customers and
16
     stakeholders."15' The "target audience" for their project included an "Energy Engaged
17

18   Customer' (EEC) audience — 18-54 years old, curious, open-minded and outward-looking

19   individuals who are also potential custom.ers of Shell's products and services. Our mission was

20   to recruit, engage and ultimately improve perception of the Shell brand." To deliver on the
21
     mission, the firm would create content showing ideas to decarbonize the home, reduce emissions
22
     of passenger cars, make deliveries more efficient, and plan an all-electric journey.
23
24
25   155 Winner 2021, Corporate Influencer. Shell, Mediacom, Pitcli the Future. World Media Group.
     (2021). https://world-media-group.com/case-study/pitcli-the-fiiture-case-study-2021 /
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 1                4.171. In other words, Shell's advertising campaign focuses on its net zero "target," as
2    ~ well as ideas or possibilities to decarbonize, leaving consumers with the impression that this is
 3
      a. primary focus of Shell's business.
 4
                  4.172. In reality, Shell planned to spend four times more money on oil and gas
 5
      developinent than on renewable technology in 2022.156 Independent analysis of Shell's spending
 6

 7    plans shows that the company will be emitting more greenhouse gas by 2030 than it currently

 8    emits.157 On its current trajectory, Shell is projected to miss its emissions reduction targets for

 9   l both 2030 and 2050.158
10                4.173. In Jun.e 2023, the U.K.'s Advertising Standards .A.uthority banned Shell's
11
      marketing campaign describing Shell as providing renewable energy, installing electric vehicle
12
      charging, and driving the energy transition. The Advertising Standards Authority found
13
      consurners were likely to interpret the marketing materials as mmaking a "broader claim about
14
15    She11 as a whole providing cleaner energy." Since the "vast majority" of its operations was not

16    clean energy, the campaign was misleading. 159
17                4.174. ConocoPhillips claims its "actions for our oil and gas operations are aligned with
18
      the aims of the Paris Agreement" and touts its actions and achievements toward the net-zero
19
      energy transition. ConocoPhillips also touts its "Net-Zero Roadmap," which it describes as a
20
      "Paris-Aligned Climate Risk Strategy" and "a comprehensive framework with an ambitio.n to
21
22
23    156 Simon Jack, Oil Giant Shell Says It Needs Oil to Pay for Green Shift, BBC News (Nov. 3,
24    2021. ), https://www.bbc.com/news/business-59154930.
      157 Id.
25    158 Id.
      159
            Id.
26    159 Id.

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     become a net-zero company for operational emissions by 2050."160 ConocoPhillips thus focuses
2    on its "operational" emissions while ignoring that combustion of its product continues to emit
3
     large amounts of greenhouse gases.
4
            4.175. In June 2023, ConocoPhillips publislied a profile on its Methane Measurement
5
     Manager Milind Bhatte, who it claims is helping move the company to its "goal" of "net-zero."161
6

7           4.176. Chevron and Exxon have engaged in similar efforts to portray themselves as

 8   predominantly invested in clean energy and leading the energy transition.

 9          4.177. Functionally, Defendants have cut fossil fuels from their branding efforts--but not
10   their business operations. According to one analysis, between 2010 and 2018, BP spent 2.3% of
11
     total capital spending on low-carbon energy sources, Shell spent 1.2%, Chevron and .Exxon just
12
     0.2% each, and ConocoPhillips 0 .0%.162
13
            4.178. Rather than reducing emissions, Defendants are ramping up fossil fuel production
14
15   like never before. Exxon is projected to increase oil production by more than 35% between 2018

16   and 2030—a sharper rise than over the previous I 2 years.16' Shell is forecast to increase output

17   by 38% by 2030, by increasing its crude oil production by more than half and its gas production
18
19
20   I6o https://www.conocophillips.com/; littps://www.conocophillips.com/sustainability/low-
21   carbon-techno logies/operational-net-zero-roadmap/.
     161      https://www.conocophillips.com/spiritnow/story/milind-bhatte-progressing-toward-net-
22   zero/?utm_medium=osocial&utm_so urce=Twitter&utm_content=image&utm_term=post:1666
     5043994033163 70&utm_campaign=campaign:.l 601648882546323 569.
23   162 Anjli Raval & Leslie Hook, Oil and Gas Advertising Spree Signals Industrv's Dilemma,
24   Financial Times (Mar. 6, 2019), https://www.ft.com/content/5ab7edb2-3366-1 l e9-bd3a-
     8b2a211d90d5.
25   163
         Jonathan Watts et al., Oil Firms to Pour Extra 7m Barrels Per Day Into Markets, Data Shows,
     The Guardian (Oct. 10, 2019), https://www.theguardian.com/environmentl2ol9/oct/10/oil-
26   firm s-barrels-markets.
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                                                                                                        I6'
     by over a quarter.164 BP is projected to increase production of oil and gas by 20% by 2030.
2                                                                                       l66 A 2019 investor
     Chevron set an oil production record in 2018 of 2.93 million barrels per day.
3
     report touted Chevron's "significant reserve additions in 2018" in the multiple regions in North
4
     America and around the world, as well as significant capital projects involving construction of
5
     refineries worldwide.167 ConocoPhillips' new Willow Project in Alaska is expected to produce
6

 7   approximately 576 million barrels of oil, with associated indirect GHG emissions equivalent to

 8   239 million tons of CO2.

.9   L.     Alternative energy technologies, including some developed by Defendants, could
            have replaced or significantly reduced fossil fuel dependence.
10
            4.179. Opportunities to reduce the use of fossil fiiels and associated greenhouse
11

12   emissions, mitigate the harriis associated with the use and consumption of fossil fuels, and

13   promote development of alternative, clean energy sources have been available for decades.
14   Indeed, Defendants themselves developed some of these technologies, though they did not
15
     promote them. Examples include, but are not limited to:
16
                     a.     In 1963, Esso (Exxon Mobil) obtained multiple patents on technologies
17
     for fuel cells,168 including on the design of a ftiel cell and necessary electrodes,169 and on a
18

19

20
     164 Id.
21   165 Id.
     166 Kevin Crowley & Eric Roston, Chevron Aligns Strate' with Paris Deal But Won't Cap
22
     Output, Blooinber; (Feb. 7, 2019), https://www.bloomberg.com/news/articles/2019-02-
23   07/chevron-pledges-alignment-with-paris-accord-but-won-t-cap-output.
     I67
        Chevron, Chevron 2019 Investor Presentation (Feb. 2019), https://chevroncorp.gcs-
24   web.com/static-files/c3815 b42-4de b-4604-8c51-bde9026f6e45.
     168 Fuel Cells. Hydro;;en and Fuel Cell Technologies Office. Department of Eiiergy: Office of
25   Energy Efficiency and Renewable Ener.gy. https://www.energy.gov/eere/fuelcells/fuel-cells.
     169 ExxonMobil Research Engineering Co., Patent US3116169A: Fuel cell and fuel cell
26   electrodes (granted Dec. 31, 1963), https://www.google.com/patents/US3l 16169.
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 1   process for increasing the oxidation of a fuel, specifically lnethanol, to produce electricity in a
2    fuel cell. l7o
3
                      b.    In 1970, Esso (Exxon. Mobil) obtained a patent for a"low-polluting
4
     engine and drive system" that used an interburner and air cornpressor to reduce pollutant
 5
     emissions, including CO2 emissions, from gasoline combustion engines (the system also
 6

 7   increased the efficiency of fossil fuels used in such engines, thereby lowering the amount of

 8   fossil fuel product necessary to operate engines equipped with this technology).171

 9                    c.    A 1989 article in a publication from Exxon Corporate Research for
10   company use only stated: "Since energy generation f'r.om fossil fuels dominates modern CO2
11
     emissions, strategies to limit CO2 growth focus near term on energy efficiency and long term on
12
     developing alternative energy sources. Practiced at a level to significantly reduce the growth of
13
     greenliouse gases, these actions would have substantial impact on society and our industry—
14
15   near-term from reduced demand for current products, long term from transition to entirely new

16   energy systems."7'-

17                    d.    In 1973, Shell obtained a patent for a process to remove acidic gases,
18
     including COz; from gaseous mixtures. l73
19
20
21
     17° ExxonMobil Researcli Engineering Co., Patent US31 13049A: Direct production of electrical
22   energy from liquid fuels (granted Dec. 3, 1963), https://www.google.coln/patents/US3113049.
     171 ExxonMobil Research Engineering Co., Patent US3513929A: Low-pollutingengine and
23
     drive system (granted May 26, 1970), https://www.google.com/patents/US3513929.
24     ' Flannery, Brian. Greenhouse Science, Connections: Corporate Research, Exxon Research and
     17-
     Engineering Company (Fall 1989), http://www.climatefiles.com/exxonmobil/1989-exxon-
25   mobil-article-technologys-place-marketing-mix.
     1~3 Shell Oil Co., Patent US3760564A: Process for the relnoval of acidic gases from a gas
26   mixture, (granted Sept. 25, 1973), https://www.google.com/patents/US3760564A.
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                     e.     Phillips Petroleum Company (ConocoPhillips) obtained a patent in 1966

?    for a"1vIethod for recovering a purified component from a gas" outlining a process to remove
3                                                 174
     carbon from natural gas and gasoline streams.
4
           4.180. Defendants have been aware for decades that clean energy presents a feasible
 5
     alternative to fossil fuels. In 1980, Exxon forecasted that non-fossil fiiel energy sources, if
 6
 7   pursued, could penetrate half of a competitive energy market in approximately 50 years.175 This

 8   internal estimate was based on extensive modeling within the academic community, including

 9   research from David Rose at the Massachusetts lnstitute of Technology which concluded that a
10   transition to non-fossil energy could be achieved in around 50 years. Exxon circulated an internal
11                                                                                            176
     memo approving ofRose's conclusions, stating they were "based on reasonable assumptions."
12
           4.181. Likewise, a 1987 Shell briefing on "Synthetic Fuels and Renewable Energy"
13
     noted that while "iznmediate prospects" were "limited," "nevertheless it is by pursuing
14
15   commercial opportunities now and in the near future that the valuable experience needed for

16   ftu-ther deve.lopment will be gained." The brief also noted that "the task of replacing oil resources
17   is likely to become increasingly difficult and expensive and there will be a growing need to
18
     develop lean, convenient alternatives. Initially these will supplement and eventually replace
19
 •   valuable oil products. Many potential energy options are as yet unknown or at very early stages
20
     of research and development. New etiergy sources take decades to make a major global
21
22
23   174 Phillips Petroleum Co., Patent US3228874A: Method for recoverin-~apurified component
     from a gas (granted Jan. 11, 1966), https://patents.google.com/patent/US3228874.
24   17 H. Sliaw and P. P. McCall, Exxon Research and Engineering Company's Technological
     Forecast: CO2 Greenhouse Effect 5 (Dec. 18, 1980). https://insideclirnatenews.org/wp-
25   content/uploads/2015/09/Technological-Forecast-on-CO2-Greenhouse-Effect-1980.pdf.
     176 CO2 Greenhouse Effect: A Technical Review. Coordination and Planning Division, Exxon
26   Research and Engineering Company 18 (Apr. 1, 1982).
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1      l contribution. Sustained commitment is therefore needed during the remainder of this century to
2      ~ ensure that new technologies and those currently at a relatively early stage of developmeiit are
3
       ~ available to meet energy needs in the next century.~177
4
               4.182. Despite the knowledge that alternative energies presented a viable alternative and
5
        that it was important to begin the traiisition as soon as possible, Defendants chose to delay this
6

7      ~ transition by deceiving consumers and the public.

 8      M.      Defendants' wrongful conduct is a proximate cause of the Tribe's harms.

 9              4.183. Defendants' actions in concealing the dangers of, promoting false and rnisleading

10      information about, and engaging in massive campaigns to promote increasing use of fossil fuels
11
        have succeeded in misleading consumers and the public in Washington, including on the Makah
12
        Reservation, and elsewhere about the climate impacts of using fossil fuels, depriving people of
13
        the truth about the consequences of their decisions to buy and use fossil fuels and technologies
14
        dependent on fossil fiiels.    Further, Defendaiits' conduct has obstructed and delayed the
15
16      introduction and adoptioii of alternative, low-c:arbon technologies. Defendants have succeeded

17      in delaying the transition to alternative, low-carbon teclinologies, deepened consumers'
18      dependence on fossil fuels, driven increased use of oil and gas, and contributed substantially to
19 1
        the buildup of carbon dioxide in the atmosphere that causes global warming and its physical,
20
         environmental, and socioeconomic consequences, including those affecting and harming the
21
         Makah Tribe.
22
23
24
25
              Synthetic Fuels and Renewable Energ,y, Shell Service Briefing, no. 2, 1987,
26       https://assets.documentcloud.org/docuinents/4411089/Docu>.nent2.pdf.
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1            4.184. Defendants' deceptive and tortious conduct as described in this Complaint is a
2    proximate cause of devastating climate change impacts to the Makah Tribe, including: sea-level
3
     rise, more frequent and intense rainfall, and flooding, more frequent and intense heat waves,
4
     more frequent and intense droughts, more frequent, hotter, and more devastating wildfires, ocean
5
     acidification, degradation of air and water quality, hanns to human health, and loss of habitat
6

7    and species.

 8           4.185. The increased consumption of fossil fuels induced by the Defendants' tortious

 9 11 and deceptive conduct caused, and will continue to cause, the release of huge amounts of

10
     otherwise avoidable greenhouse gases, thereby ensuring that the damage to the Makah Tribe
11
     resulting from climate change will be severe and ongoing for decades to come.
12
     N.      The Tribe has sustained, and will sustain, substantial harms and losses.
13
             4.186. The Tribe has incurred, and will foreseeably continue to incur, injuries and
14

15    damages of increasing severity due to the climate crisis proximately caused by Defendants'

16    tortious and deceptive conduct as described in this Coinplaint. These injuries and damages

17    include but are not limited to: injury or destruction of Tribal-owned or -operated facilities and
18    property deemed critical for operations, utility services, and risk management, destruction of
19
      Tribal natural resources, including forest lands and coastal resources, as well as other assets
20
      essential to colnmunity health, safety, and well-being; increased planning and preparation costs
21
      for community adaptation and resilience to climate change's effects; and increased costs
22

23    associated with public health impacts, environmental iinpacts, and economic impacts.

24           4.187. Specifically:

25

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 1                    a.     With its reservation surrounded by ocean waters, the Makah Tribe is

2    particularly vulnerable to severe harms and damages from sea-level rise. The Tribe lias
 3
     experienced and will continue to experience significant and accelerating sea-level rise over the
4
     coming decades. '7g    The Tribe's residents and its essential governnental infrastructure at Neah
 5
     Bay are at high risk of coastal flooding now and in the coming decades.
 6
                      b.     The destructive force and flooding potential from storm surges during
 7

 8 ~I coastal storms and other weather events have increased as the mean sea level of the Makah

 9    Reservation has increased, and the combined effects of storm surge and sea-level rise will
10    continue to exacerbate flooding impacts upon the Tribe and its Reservation. Even if all carbon
11
      emissions were to cease immediately, the Tribe would continue to experience sea-level rise due
12
      to the greenhouse gases already released from burning fossil fuels, and the lag time between
13
      emissions and sea-level rise.
14
15                    c.     Climate cliange is expected to significantly alter the frequency and

16 I intensity of precipitation events on and affecting the Makah Reservation. By 2100, annual
17    precipitation levels on the Makah Reservation, are projected to rise by.up to 8.5 inches.t79
18
                      d.     The Tribe lias already incurred significant costs on projects to address sea-
19
      level rise, including but not limited to: planning for and moving governmental infrastructures,
20
      seivice facilities, and housing for the Tribe's citizens to higlier ground and planning for
21
      adaptation and/or rerouting reservation roads that are being destroyed by sea-level rise, attending
22
23    storin surges, and flooding.

24
25
      178 https://climate.northwestknowledge.net/N WTOOLBOX/tribalProjections.php.
26    179 https://climate.northwestknowledge.net/NWTOOLBOX/tribalProjections.php.
      COMPLAiNT FOR DAMAGES AND                                            SHER EDLING LLC
                                                                       to0 Montgomery St., Ste. 1410
      INJUNCTIVE RELIEF                                                  San Francisco, CA 94104
                                                                             (628) ?31-?S00
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1                      e.    Climate change is causing more extreme weather events in and on the

2     Makah Reservation, with attendant physical and environmental consequences, including coastal
3
     ~ flooding, coastal erosion, inland flooding, extreme heat events, and drought.
4
                       f.    Climate change is reducing winter snow pack, increasing surface water
5
      temperatures, reducing low flows while increasing peak flows during extreme precipitation
6

7     events, threatening aquatic life as well as the Tribe's water supplies.

 8                     g.    Oceans are acidifying at an alarming rate because of fossil-fuel burning,

 9    endangering the Tribe's coastal ecosystems and economy.
10                     h.    The average air temperature has increased and will continue to increase
11
      in and on the Makah Reservation due to climate change. Annual average daily temperatures on
12
      the Reservation have already increased over 2° compared to historic levels, and are projected to
13
      increase as much as 8°F over historic levels by the end of the century. Similarly, the number of
14
15    very warin days (maximum temperature above 86°F) is projected to increase from 1 per year to

16    as many as 15 per year by the end of the century.)s0 Warming air temperatures lead to poorer

17    air quality, more lieat waves, expanded pathogen and pest ranges, bigger, more intense, and more
18
      destructive wildfires, thermal stress for native flora and fauna, and threats to human health—
19
      such as from heat stroke and dehydration, due to increased evaporation and demand, and
20
       increased allergen exposure. Rising air teinperatures will increase ground-level concentrations
21
      of ozone and particulate matter, raising the incidence of serious health risks like respiratory
22
23    distress, cancer, chronic obstructive puhnonary disease ("COPD"), and cardiovascular disease

24
25
26    180   https://climate.northwestknowledge.net/N WTOOLBOX/tribalProjections.php.
      COMPLAINT FOR DAMAGES AND                                            SHER EDLING LLC
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 1   ( among Makah citizens, particularly among children, the elderly, and other vulnerable Makah
2    I citizens.
 3
                      i.      The Tribe's cxpansive forests, an important economic resource for the
 4
     I Tribe, are vulnerable to the consequences of a warming climate. Pests and invasive species are
 5
     ( also expected to take advantage of warmer temperatures, declines in soil moisture, and
 6

 7    hydrologic cycle disruption to spread into new areas. In addition, rising temperatures and more

 8    frequent droughts lead to a longer and more intense wildfire season.

 9             4.188. The Tribe has already invested heavily in and is planning, at significant expense,
10    adaptation and mitigation strategies to address climate change-related impacts to mitigate and/or
11
      prevent injuries to itself and its citizens. These effoi-ts include, but are not limited to, planning
12
      for and relocating housing for Makah citizens to higher ground, planning for and moving
13
      governmental infrastructure and services to higher ground, and planning for the redesign and/or
14
15    relocation of reservation roads.

16                                        V.      LEGAL CLAIMS

17                                         COUNT ONE
                                  PUBLIC NUISANCE — CH. RCW 7.48
18
19             5.1.   The Tribe incorporates all the above paragraphs here.

20             5.2.   Under RCW 7.48.120, "[n]uisance consists in unlawfully doing an act, or omitting

21    to perforin a duty, which act or omission either annoys, injures or endangers the comfort, repose,
22    health or safety of others, offends decency, or unlawfully interferes with, obstructs or tends to
23
      obstruct, or render dangerous for passage, any lake or navigable river, bay, streain, canal or basin,
24
      or any public park, square, street or highway; or in any way renders otlier persons insecure in life,
25
      or in the use of property." An actionable nuisance subject to damages and other relief includes
26
      COIVIPLAINT FOR DAMAGES AND                                           SxEx EDLING LLC
                                                                        l00 Montgomery St., Ste. 1410
      INJUNCTIVE RELIEF                                                   San Francisco, CA 94104
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 1   "whatever is injurious to health or indecent or offensive to the senses ... so as to essentially interfere
 2   with the colnfortable enjoyment of the life and propei-ty." Id. 7.48.010. "A public nuisance is one
 3
     which affects equally the rights of an entire community or neigliborhood, although the extent of the
 4
     dainage may be unequal." Id. 7.48.130.
 5
             5.3.    Defendants, individually and in concert with each other, have engaged, and
 6

 7   continue to engage in, unlawful, negligent, reckless, knowing, and/or intentional tortious conduct.

 8   Such conduct includes:

 9                   a.       promoting doubt in the public's rnind about the existence, causes, and
10
     effects of climate change;
11
                      b.      promoting the sale and use of fossil fuels without warning consumeis
12
     that using fossil fuels would cause dangerous climate change;
13
                      c.      promoting the sale and use of fossil fuels that Defendants knew to be
14

15   hazardous and knew would cause or exacerbate climate cliange and related consequences,

16   including, but not limited to, sea-level rise, drought, extreme precipitation, and extreme heat;

17                    d.      promoting the sale and use of fossil fuels that Defendaiits knew to be
18
     hazardous and knew would cause or exacerbate climate change and related consequences,
19
     including, but not limited to, sea-level rise, drought, extreme precipitation events, and extreme
20
     heat events;
21
                      e.      concealing the liazards that Defendants knew would result from the
22

23   normal use of their fossil fuels by misrepresenting, and casting doubt on, the integrity of

24   scientific information related to climate change;
25

26
     COMPLAINT FOR DAMAGES AND                                                SHER EDLING LLC
                                                                          100 Montgomery St., Ste. 1410
     INJUNCTIVE RELIEF                                                      San Francisco, CA 94104
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 1                      f.      promoting fossil fuels for uses that Defendants knew would be
 2      hazardous to consumers, the public, and the Tribe;
 3
                        g.      disseminating and funding the dissemination of inforination that
 4
        misleads consumers and the public regarding the known and foreseeable risk of climate change
 5
        and its consequences, which follow from the normal, intended use of fossil fuels;
 6

 7                      h.      misleadingly promoting fossil ftiel products as sustainable, clean energy

 8      products;

 9                      i.      misleadingly presenting themselves as clean energy companies who are
10      committed to reducing emissions; and
11
                        j.      misleadingly promoting their investments in alternative technologies as
12
        capable of reducing emissions on a large-scale in the near-tenn.
13
                5.4.    Defendants' tortious conduct has caused harms to public health and property, as
14
15      well as the ability of the Makah Tribe and its citizens to comfortably enjoy life and property.

16      I.)efendants' campaign of deception has been pervasive and long-lasting. Their willful campaign

17      has influenced the public's purchasing and investment decisions for decades, driving increased
18
        demand for fossil fuels. It has also reduced demand for, and investment in, clean energy, tliereby
19
        delaying the clean energy transition. This increased demand directly led to increased greenhouse
20
        gas emissions and is a substantial factor causing the Tribe's injuries.
21
                5.5.    Defendants' conduct is the proximate cause of the Tribe's injuries. Defendants
22 I'
23      knew that continued fossil fuel consumption would lead to a climate crisis. They nonetheless

24      chose to engage in a sophisticated deception campaign that had the purpose and effect of
25
26
        COMPLAINT FOR DAMAGES AND                                              SHLR EDLING LLC
                                                                           l00 Montgomery St., Ste. 1410
        INJUNCTIVE RELIEF                                                    San Francisco, CA 94104
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 1   sustaining, and inflating, fossil fuel consumption. 'I'he 'Tribe's climate injuries are the direct and
2    foreseeable result of Defendants' tortious conduct.
3
             5.6.    The Tribe has already suffered substantial injuries, such as damages to
4
     infrastructure, governmental services facilities, Tribal residences, and reservation roads due to
5
     sea-level rise with attending storm surges and flooding and changes in rainfall patterns resulting
6

 7   in flooding.

 8           5.7.    Defendants' toi-tious conduct has specially harmed the Tribe, and will cotitinue to

 9   do so. The Tribe has had to spend millions of dollars to protect its infrastructure, governmental
10
     services facilities, Tribal residences, and reservation roads from sea-level rise, with attending
11
     storm surges and flooding, and from changes in rainfall patterns resulting in flooding. Sucli
12
     expenditures will increase in the coming years.
13
             5.8.    Defendants' ongoing interference with public rights is substantial and
14

15   unreasonable. The harm to the Tribe is severe and more than the Tribe should be required to bear

16   without conipensation. Defendants' deceptive acts and omissions also lack any social utility

17   because there is no utility in deceiving and misleading the public.
18
             5.9.    Defendants' tortious and deceptive conduct described in this Complaint is
19
     therefore a proximate cause of an unreasonable and substantial interference witli common riglits
20
     held by the residents of the Makah Reservation, as well as all liarms flowing from that public
21
     nuisance.
22

23                             COUNT TWO
        WASHINGTON PRODUCT LIABILITY ACT, FAILURE TO WARN - RCW 7.72
24
             5.10.   The Tribe incorporates all above paragraphs by reference here.
25

26
     COMPLAINT FOR DAMAGES AND                                             SHER EDLING LLC
                                                                       100 Montgomery St., Ste. 1410
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 l           5.11.   Under the Washington Product Liability Act, a defendant manufacturer is liable for
2    failure to warn at the time of manufacture if: (1) defendants' products were not reasonably safe at
3
     the time of manufacture because defendants failed to adequately warn of those products' risks; and
 4
     (2) the failure to adequately warn caused harm. See RCW 7.72.030(1)(b). A manufacturer is liable
 5
     for failing to warn after manufacture wlien it learns of or should have learned of a danger connected
 6

 7   with its product after it was manufactured. In that instance, the manufacturer must provide warnings

 8   as a reasonably prudent manufacturer would do under the circumstances and is liable for any

 9   damages that its failure to warn caused. See RCW 7.72.030(1)(c). A product seller other than a
10   manufacturer (includiiig wholesalers, distributors, and retailers) is liable for negligence, including
11
     for negligently failing to warn, and for misrepresentions and intentional concealment of information
12
     about the product. See RCW 7.72.040(1)(a) and (c).
13
             5.12.   Defendants' fossil-fuel products were, and are, not reasonably safe because
14

15   Defendants have failed to warn ofthe catastrophic risks to the climate from fossil fuel combustion.

16   At the time of manufacture, the likelihood that Defendants' fossil-fuel products would cause

17   catastropliic harni—including sea level rise and more frequent and intense flooding, drought, heat
18
     waves, and wildfires—rendered Defendants' failures to warn inadequate. Defendants' concomitant
19
     campaign to deceive the public about climate change and tlie role of fossil fiiels in causing it further
20
     made warnings necessary.
21
             5.13.   Post-manufacture, Defendants acquired increasingly detailed and sophisticated
22

23   knowledge of the catastrophic effects of unabated fossil fuel use. As a result, these Defendants had

24   a duty to inform and warn users ofthe risks to the climate of which they liad kiiowledge. Defendants
25   breached this duty by not only failing to warn or inforin users of the climate-disruptive effects of
26
     COMPLAINT FOR DAMAGES AND                                              SHER EDLING LLC
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 1   continued use of fossil fuels, but also by continuing to deceptively attack climate science and to
2    promote themselves and fossil fuels as environmentally-friendly and sustainable.
3
               5.14.   Further, those Defendants acting primarily as wholesalers, distributors and/or
 4
     retailers of fossil fuel products at all relevant times luiew those products would cause catastrophic
 5
     harm, yet negligently failed to warn of those harms, and misrepresented and/or intentionally
 6
 7   concealed the facts about unabated use of those products.

 8             5.15.   Defendants' failures to wam, misrepresentations, and intentional concealments are

 9   a proximate cause of heightened fossil fuel consumption, which has directly led to elevated
10
     greenhouse gas emissions and, in turn, substantially worsened climate-change effects to the harm
11
     and detriment of the Makah Tribe. As a proximate result of Defendants' acts and omissions, the
12
     Tribe has incurred, is incurring, and will continue to incur damages to property, public health, and
13
     natural resources.
14
15                                     VI.    PRAYER FOR RELIEF

16             Wherefore, the Makah Tribe prays that the Court:

17             6.1.    Adjudge and decree that Defendants have engaged in the conduct complained of
18
     herein.
19
               6.2.    Order Defendants to abate the nuisance they created, including but not limited to
20
     ftinding an abatement ftind to be managed by the Tribe to remediate and adapt its Reservation
21
22   lands, natural resources, and infrastructure;

23             6.3.    Award joint and several compensatory damages, in an amount determined at trial

24   for injury sustained by the Tribe as a result of Defendants' tortious conduct;
25             6.4.    Award pre-judgment and post-judgment interest, as provided by law;
26
     COIVIPLAINT FOR DAMAGES AND                                           SHER EDLING LLC
                                                                       r00 Montgomery St., Ste. 1410
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 1            6.5.     Award the Tribe its reasonable costs and attorneys' fees as provided by law; and
 2            6.6.     Award any otlier and fui-ther relief the Court deems just and equitable.
 3
                                   VII.    REQUEST FOR JURY TRIAL
 4
               7.1.    The Tribe respectfiilly requests that all issues presented by the above Complaint
 5
       be tried by a jury, with the exception of any issues that, by law, lnust be tried before the Court.
 6

 7            Dated this 20t1 day of December, 2023.

 8                                              Respectfully submitted,

 9                                              SHER EDLING LLP

10                                              /s/ Corrie J. Yackulic
                                                CORRIE J. YACKULIC, WSBA No. 16063
11                                              VICTOR M. SHER (pro hac vice forthcorning)
                                                MATTHEW K. EDLING (pro hac vice forthcorn.ing)
12                                              Sher Edling LLP
                                                100 Montgomery St., Ste. 1410
13                                              San Francisco, CA 94104
                                                Tel:    (628) 231-2500
14                                              Fax: (628) 231-2929
                                                Email: corrie@cjylaw.com
15                                                     vic@eredlin ~.com
                                                       matt@sheredling.com
16
17                                              Attorneysfor Plaintiff, MAKAH INDIAN TRIBE

18                                              DRUMMOND WOODSUM & MACMAHON

19 I                                            KAIGHN SMITH JR. (pro hac vice forthconiing)
                                                84 Marginal Way, Suite 600
20                                              Portland, .ME. 04101
                                                Tel:    (207) 253-0559
21                                              Email: ksmith(cr~dwmlaw.com

22
                                                Attorneys,for Plaintiff. MAKAHIIVDIAN TRIBE
23
24
25
26
       COMPLAINT FOR DAMAGES AND                                            SHER EDLING LLC
                                                                        100 Montgomery St., Ste. 1410
       INJUNCTIVE RELIEF                                                  San Francisco, CA 94104
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                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                FOR THE COUNTY OF KING


MAKAH INDIAN TRIBE                                         I No. 23-2-25216-1 SEA

VS                                                          CASE INFORMATION COVER SHEET AND
                                                            AREA DESIGNATION
EXXON MOBIL CORPORATION

                                                            (CICS)


                                               CAUSE OF ACTION

                                                 TTO - Tort /Other


                                            AREA OF DESIGNATION

SEA                  Defined as all King County north of Interstate 90 and including all of Interstate
                     90 right of way, all of the cities of Seattle, Mercer Island, Issaquah, and North
                     Bend, and all of Vashon and Maury Islands.




Case Information Cover Sheet and Area Designation (CICS)                                         Page 1
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                       IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                     FOR THE COUNTY OF KING

MAKAH INDIAN TRIBE                               l No. 23-2-25216-1 SEA

VS                                                ORDER SETTING CIVIL CASE SCHEDULE

EXXON MOBIL CORPORATION                           ASSIGNED JUDGE: Josephine Wiggs, Dept. 17
                                                  FILED DATE: 12/20/2023
                                                  TRIAL DATE:12/23/2024

A civil case has been filed in the King County Superior Court and will be managed by the Case
Schedule on Page 3 as ordered by the King County Superior Court Presiding Judge.

                                               I. NOTICES

NOTICE TO PLAINTIFF:
The Plaintiff may serve a copy of this Order Setting Case Schedule (Schedule) on the
Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the Plaintiff shall
serve the Schedule on the Defendant(s) within 10 days after the later of: (1) the filing of the
Summons and Complaint/Petition or (2) service of the Defendant's first response to the
Complaint/Petition, whether that response is a Notice of Appearance, a response, or a Civil
Rule 12 (CR 12) motion. The Schedule may be served by regular mail, with proof of mailing to
be filed promptly in the form required by Civil Rule 5 (CR 5).

NOTICE TO ALL PARTIES:
All attorneys and parties should make themselves familiar with the King County Local Rules
[KCLCR] -- especially those referred to in this Schedule. In order to comply with the Schedule,
it will be necessary for attorneys and parties to pursue their cases vigorously from the day the
case is filed. For example, discovery must be undertaken promptly in order to comply with the
deadlines for joining additional parties, claims, and defenses, for disclosing possible witnesses
[See KCLCR 26], and for meeting the discovery cutoff date [See KCLCR 37(g)].

        You are required to give a copy of these documents to all parties in this case.




Order Setting Civil Case Schedule (ORSCS-CV)                                              Page 1
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                                           I. NOTICES (continued)

CROSSCLAIMS, COUNTERCLAIMS AND THIRD-PARTY COMPLAINTS:
A filing fee of $240 must be paid when any answer that includes additional claims is filed in an
existing case.

KCLCR 4.2(a)(2)
A Confirmation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by
the deadline in the schedule. The court will review the confirmation of joinder document to
determine if a hearing is required. If a Show Cause order is issued, all parties cited in the order
must appear before their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:
When a final decree, judgment, or order of dismissal of all parties and claims is filed with the
Superior Court Clerk's Office, and a courtesy copy delivered to the assigned judge, all pending
due dates in this Schedule are automatically canceled, including the scheduled Trial Date. It is
the responsibility of the parties to 1) file such dispositive documents within 45 days of the
resolution of the case, and 2) strike any pending motions by notifying the bailiff to the assigned
judge.

:Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date
by filing a Notice of Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the
assigned judge. If a final decree, judgment or order of dismissal of all parties and claims is not
filed by 45 days after a Notice of Settlement, the case may be dismissed with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR
41(b)(2)(A) to present an Order of Dismissal, without notice, for failure to appear at the
scheduled Trial Date.

NOTICES OF APPEARANCE OR WITHDRAWAL AND ADDRESS CHANGES:
All parties to this action must keep the court informed of their addresses. When a Notice of
Appearance/Withdrawal or Notice of Change of Address is filed with the Superior Court Clerk's
Office, parties must provide the assigned judge with a courtesy copy.

ARBITRATION FILING AND TRIAL DE NOVO POST ARBITRATION FEE:
A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject
to mandatory arbitration and service of the original complaint and all answers to claims,
counterclaims and crossclaims have been filed. If mandatory arbitration is required after the
deadline, parties must obtain an order from the assigned judge transferring the case to
arbitration. Any party filing a Statement must pay a $250 arbitration fee. If a party seeks a
trial de novo when an arbitration award is appealed, a fee of $400 and the request for trial de
novo must be filed with the Clerk's Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
All parties will be assessed a fee authorized by King County Code 4A.630.020 whenever the
Superior Court Clerk must send notice of non-compliance of schedule requirements and/or
Local Civil Rule 41.

 King County Local Rules are available for viewing at www.kinqcounty.cpov/courts/clerk.

Order Setting Civil Case Schedule (ORSCS-CV)                                                Page 2
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                                               11. CASE SCHEDULE

*   CASE EVENT                                                                       EVENT DATE
    Case Filed and Schedule Issued.                                                    12/20/2023
*   Last Day for Filing Statement of Arbitrability without a Showing of Good           05/29/2024
    Cause for Late Filing [See KCLMAR 2. 1(a) and Notices on Page 2].
     $250 arbitration fee must be paid
*   DEADLINE to file Confirmatibn of Joinder if not subject to Arbitration              05/29/2024
    [See KCLCR 4.2 a and Notices on Page 2.
    DEADLINE for Hearing Motions to Change Case Assignment Area                         06/12/2024
    [KCLCR 82(e)].
    DEADLINE for Disclosure of Possible Primary Witnesses [See KCLCR                    07/22/2024
    26(k)].
    DEADLINE for Disclosure of Possible Additional Witnesses [See KCLCR                 09/03/2024
    26(k)].
    DEADLINE for Jury Demand [See KCLCR 38(b)(2)].                                      09/16/2024
    DEADLINE for a Change in Trial Date [See KCLCR 40(e)(2)].                           09/16/2024
    DEADLINE for Discovery Cutoff [See KCLCR 37(g)].                                    11/04/2024

    DEADLINE for Engaging in Alternative Dispute Resolution [See KCLCR                  11/25/2024
    16b.
    DEADLINE: Exchange Witness & Exhibit Lists & Documentary Exhibits                   12/02/2024
    KCLCR 4 " .
*   DEADLINE to file Joint Confirmation of Trial Readiness [See KCLCR                   12/02/2024
    16(a) 1
    DEADLINE for Hearing Dispositive Pretrial Motions [See KCLCR 56; CR                 12/09/2024
    56].
*    Joint Statement of Evidence [See KCLCR 4 (k)]                                      12/16/2024
    DEADLINE for filing Trial Briefs, Proposed Findings of Fact and                     12/16/2024
    Conclusions of Law and Jury Instructions (Do not file proposed Findings
    of Fact and Conclusions of Law with the Clerk)
    Trial Date [See KCLCR 40].                                                          12/23/2024
The * indicates a document that must be filed with the Superior Court Clerk's 0ffice by the date
shown.

                                                   III. ORDER

Pursuant to King County Local Rule 4 [KCLCR 4], IT IS ORDERED that the parties shall comply
with the schedule listed above. Penalties, including but not limited to sanctions set forth in Local
Rule 4(g) and Rule 37 of the Superior Court Civil Rules, may be imposed for non-compliance. It
is FURTHER ORDERED that the party filing this action must serve this Order Setting Civil Case
Schedule and attachment on all other parties.


DATED:        12/20/2023                                              .~,


                                                                   PRESIDING JUDGE




Order Setting Civil Case Schedule (ORSCS-CV)                                                 Page 3
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                   IV. ORDER ON CIVIL PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ THIS ORDER BEFORE CONTACTING YOUR ASSIGNED JUDGE.
This case is assigned to the Superior Court Judge whose name appears in the caption of this case
schedule. The assigned Superior Court Judge will preside over and manage this case for all pretrial matters

COMPLEX LITIGATION: If you anticipate an unusually complex or lengthy trial, please notify the assigned
court as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions of King County Local Civil
Rules 4 through 26 shall apply to the processing of civil cases before Superior Court Judges. The local civil
rules can be found at www.kingcounty.gov/courts/clerk/rules/Civil.

CASE SCHEDULE AND REQUIREMENTS: Deadlines are set by the case schedule, issued pursuant to
Local Civil Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
Ii4hPOSED BY THE COURT'S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report
No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the
assigned judge) a joint confirmation report setting forth whether a jury demand has been filed, the expected
duration of the trial, whether a settlement conference has been held, and special problems and needs (e.g.,
interpreters, equipment).

The Joint Confirmation Regarding Trial Readiness form is available at www.kingcountyqov/courts/scforms.
If parties wish to request a CR 16 conference, they must contact the assigned court. Plaintiff's/petitioner's
counsel is responsible for contacting the other parties regarding the report.

B. Settlement/Mediation/ADR
a. Forty five (45) days before the trial date, counsel for plaintiff/petitioner shall submit a written settlement
demand. Ten (10) days after receiving plaintifPs/petitioner's written demand, counsel for
defendant/respondent shall respond (with a counter offer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILURE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREMENT MAY RESULT
IN SANCTIONS.

C. Trial
Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as convened by the
court. The Friday before trial, the parties should access the court's civil standby calendar on the King County
Superior Court website www.kingcounty.gov/courts/superiorcourt to confirm the trial judge assignment.

MOTIONS PROCEDURES

A. Noting of Motions

Dispositive Motions: All summary judgment or other dispositive motions will be heard with oral argument
before the assigned judge. The moving party must arrange with the hearing judge a date and time for the
hearing, consistent with the court rules. Local Civil Rule 7 and Local Civil Rule 56 govern procedures for
summary judgment or other motions that dispose of the case in whole or in part. The local civil rules can be
found at www.kingcounty.gov/courts/clerk/rules/Civil.

Non-dispositive Motions: These motions, which include discovery motions, will be ruled on by the
assigned judge without oral argument, unless otherwise ordered. All such motions must be noted for a date
by which the ruling is requested; this date must likewise conform to the applicable notice requirements.


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Rather than noting a time of day, the Note for Motion should state "Without Oral Argument." Local Civil Rule
7 governs these motions, which include discovery motions. The local civil rules can be found at
www.kingcounty.gov/courts/clerk/rules/Civil.

Motions in Family Law Cases not involving children: Discovery motions to compel, motions in limine,
motions relating to trial dates and motions to vacate judgments/dismissals shall be brought before the
assigned judge. All other motions should be noted and heard on the Family Law Motions calendar. Local
Civil Rule 7 and King County Family Law Local Rules govern these procedures. The local rules can be
found at www.kingcounty.gov/courts/clerk/rules.

Emergency Motions: Under the court's local civil rules, emergency motions will usually be allowed only
upon entry of an Order Shortening Time. However, some emergency motions may be brought in the Ex
Parte and Probate Department as expressly authorized by local rule. In addition, discovery disputes may be
addressed by telephone call and without written motion, if the judge approves in advance.

B. Original Documents/Working Copies/ Filing of Documents: All original documents must be filed
with the Clerk's Office. Please see information on the Clerk's Office website at
www.kinqcounty,cov/courts/clerk regarding the requirement outlined in LGR 30 that attorneys must e-file
documents in King County Superior Court. The exceptions to the e-filing requirement are also available on
the Clerk's Office website. The local rules can be found at www.kingcounty.qov/courts/clerk/rules.

The working copies of all documents in support or opposition must be marked on the upper right corner of
the first page with the date of consideration or hearing and the name of the assigned judge. The assigned
judge's working copies must be delivered to his/her courtroom or the Judges' mailroom. Working copies of
rriotions to be heard on the Family Law Motions Calendar should be filed with the Family Law Motions
Coordinator. Working copies can be submitted through the Clerk's office E-Filing application at
www. kinqcounty. gov/courts/clerk/documen ts/eWC.

Service of documents: Pursuant to Local General Rule 30(b)(4)(B), e-filed documents shall be
electronically served through the e-Service feature within the Clerk's eFiling application. Pre-registration to
accept e-service is required. E-Service generates a record of service document that can be e-filed. Please
see the Clerk's office website at www.kingcounty.gov/courts/clerk/documents/efiling regarding E-Service.

Original Proposed Order: Each of the parties must include an original proposed order granting requested
relief with the working copy materials submitted on any motion. Do not file the original of the proposed
order with the Clerk of the Court. Should any party desire a copy of the order as signed and filed by the
judge, a pre-addressed, stamped envelope shall accompany the proposed order. The court may distribute
orders electronically. Review the judge's website for information:
www.kingcounty.gov/courts/SuperiorCourt/iudges.

Presentation of Orders for Signature: All orders must be presented to the assigned judge or to the Ex
Parte and Probate Department, in accordance with Local Civil Rules 40 and 40.1. Such orders, if presented
to the Ex Parte and Probate Department, shall be submitted through the E-Filing/Ex Parte via the Clerk
application by the attorney(s) of record. E-filing is not required for self-represented parties (non-attorneys). If
the assigned judge is absent, contact the assigned court for further instructions. If another judge enters an
order on the case, counsel is responsible for providing the assigned judge with a copy.

Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be presented
to the Ex Parte and Probate Department. Such orders shall be submitted through the E-Filing/Ex Parte
via the Clerk application by the attorney(s) of record. E-filing is not required for self-represented parties (non-
attorneys). Formal proof in Family Law cases must be scheduled before the assigned judge by contacting
the bailiff, or formal proof may be entered in the Ex Parte Department. If final order and/or formal proof
are entered in the Ex Parte and Probate Department, counsel is responsible for providing the
assigned judge with a copy.

C. Form



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Pursuant to Local Civil Rule 7(b)(5)(B), the initial motion and opposing memorandum shall not exceed 4,200
words and reply memoranda shall not exceed 1,750 words without authorization of the court. The word count
includes all portions of the document, including headings and footnotes, except 1) the caption; 2) table of
contents and/or authorities, if any; and 3): the signature block. Over-length memoranda/briefs and motions
supported by such memoranda/briefs may be stricken.

1T IS SO ORDERED. FAILURE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY RESULT
IN DISMISSAL OR OTHER SANCTIONS. PLAINTIFF/PEITITONER SHALL FORWARD A COPY OF THIS
ORDER AS SOON AS PRACTICABLE TO ANYPARTY WHO HAS NOT RECEIVED THIS ORDER.




                                                                   PRESIDING JUDGE




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                  EXHIBIT 2




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                                                                  Environment



  Two PNW tribal nations sue oil companies over costs of
  climate change
  Dec. 21, 2023 at 11:29 am




  Cranes load coke for further refining Oct. 19 at Cherry Point
  Refinery in Blaine. (Kevin Clark / The Seattle Times)
                                                                          116
https://www.seattletimes.com/seattle-news/environment/two-pnw-tribal-nations-sue-oil-companies-over-costs-of-climate-change/    1/4
1/30/24, 1:20 PM      Case 2:24-cv-00157-JNW         Document
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  By Isabella Breda
  Seattle Times staff reporter


  Major oil companies for decades deliberately
  sought to downplay and discredit scientific
  warnings about the central role of fossil fuels in
  causing climate change, alleges two lawsuits
  filed this week by the Makah and Shoalwater Bay
  tribes.
  The lawsuits filed in King County Superior Court
  name ExxonMobil, BP, Shell, Chevron,
  ConocoPhillips and Phillips 66 as defendants,
  and seek compensation for the millions of dollars
  already spent, and likely to be spent in the
  future, for the tribes to respond to climate-
  induced disasters such as extreme heat, drought,
  wildfire, shoreline erosion, sea level rise and
  flooding.
  The lawsuits allege the companies have known
  fossil fuels would cause catastrophic climate
  change since at least 1959, but continued
  marketing massive quantities of oil and gas. They
  allege the oil companies tried to mislead the public by funding op-eds and
  advertisements in Seattle and national newspapers that claimed the science of climate
  change was uncertain or lacking evidence.
  The Seattle Times reached out to the six companies listed as defendants for comment
  Thursday morning, but as of late afternoon, only Phillips 66 had responded. A
  spokesperson declined to comment.
  The complaints outline the companies’ research and misleading marketing around their
  products’ role in causing climate change and the sea level rise, extreme weather, public
  health harms and other climate effects on the tribes and their lands.
  With both the Makah and Shoalwater Bay reservations on the Pacific Ocean, they are
  particularly vulnerable to sea level rise, the lawsuits state. Both tribes have already
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https://www.seattletimes.com/seattle-news/environment/two-pnw-tribal-nations-sue-oil-companies-over-costs-of-climate-change/    2/4
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  incurred the costs of moving their citizens to higher ground, and ocean acidification “at
  an alarming rate” from burning fossil fuels has endangered the tribes’ coastal
  ecosystems and economy, according to the lawsuits.
  “We are seeing the effects of the climate crisis on our people, our land, and our
  resources. The costs and consequences to us are overwhelming,” said Makah Tribal
  Council Chair Timothy J. Greene, Sr. in a statement. “We intend to hold these companies
  accountable for hiding the truth about climate change and the effects of burning fossil
  fuels. And we aim to force them to help pay for the high costs of surviving the
  catastrophe caused by the climate crisis.”
  The lawsuits also cite a report by the Climate Impacts Group at the University of
  Washington that suggests with global warming of at least 1.5 degrees Celsius by 2050,
  Washington is projected to experience a 67% increase in the number of days per year
  above 90 degrees, relative to 1976-2005, leading to an increased risk of heat-related
  illness and death, warmer streams and more frequent algal blooms.
  The report also found warming would fuel a decrease of 38% in snowpack, relative to
  1970-99, leading to reduced water storage, irrigation shortages, and winter and summer
  recreation losses, as well as increases in winter streamflow, decreases in summer
  streamflow, leading to reduced summer hydropower, conflicts over water resources and
  negative effects on salmon.
  “These oil companies knew their products were dangerous, yet they did nothing to
  mitigate those dangers or warn any of us about them, for decades,” said Shoalwater Bay
  Chair Charlene Nelson in a written statement. “Now we are facing hundreds of millions
  of dollars in costs to relocate our community to higher ground and protect our people,
  our property, and our heritage. These companies need to be held accountable for that.”
  The tribes bring their claims under Washington’s Products Liability Act for failure to
  warn, misrepresentation and intentional concealment. The complaints request jury
  trials, and ask the court to order the companies to create a fund to be managed by the
  tribes to remediate and adapt reservation lands, natural resources and infrastructure to
  climate change.
  The lawsuits follow the path of more than 20 local and state governments that have sued
  fossil fuel companies over their role in climate change since 2017, according to E&E
  News.

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  Isabella Breda: 206-652-6536 or ibreda@seattletimes.com; Seattle Times staff reporter
  Isabella Breda covers the environment.




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                  EXHIBIT 3




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682                                    TREATY WITH THE MAKAR, 1855.

                                              TREATY WITH. THE MAKAR, 1855.

     Jan. a1, 1855.       Articles of agreement and CO'flll)entir/n, made and concluded at .Neah Bay,
   12s~at., 939.      _-    in the TerritM"!I of WMhington, th-is thirtytrst day of January, in
   Rat1fiea Mar. 8, 1859.              •
   Proclaimed Apr. 18 · the J!ear eighteen hundred and .ftfi~-f,ve, by saaa         I.
                                                                                    Stevens, governor
 1859.                    '     and superl,ntendent of Indian a airs for the said Territorg, on the
                                part of the Uniter! States! and t imaersignea chiefs, head-men, and
                                aele[f__ates of the several villages of the .Makah tribe of Indians, viz:
                                .Neah Waatch., Tsoo-Yess, and Osett, occupying tlte aountr11 around
                              · Oape Olassettor Flattery, on behalfof the said tribe and duly author-
                                izea by tlw same.
   surren<J,er of lands       ARTICLE 1. The said tribe hereby cedes relinquishes and convehs
 to the Uruted Ste.tes.
            .              to the Umte • d S
                                             tatel'I a 11 t h eir
                                                               • rig
                                                                  • h t, tit
                                                                          · l e, an
                                                                                 ' d mterest
                                                                                     ·       } an d to t e
                                                                                             m
                           lands and country occupied by it, bounded and described as follows,
    Bounde.ries.           viz: Commencing at the mouth of the Oke-ho River, on the Straits
                           of Fuca; thence running westwardly with said straits to Cape Classett
                           or Flattery; thence southwardly along the coast to Osett, or the Lower
                         · Cape Flattery; thence eastwardly along the line of lands occupied by
                           the Kwe-deh-tut or Kwill-eh-yute tribe of Indians, to the summit of
                           the coast-range of mountains, and thence northwardly along the line
                           of lands lately ceded to the United States bv the S'Klallam tribe to the
                           place of beginning; including all the islands lying off the same on the
                           straits and coast.
    Reservation,
                              ARTICLE 2. There is, however, reseFved for the present use and
    Boundaries.
                           occupation of the said tribe the following tract of land, viz: Commenc~
                           ing on the beach at the mouth of a small brook running into Neah Bay
                           :o,ext to the site of the old Spanish fort; thence along the shore round
                           Cape Glassett or Flattery, to the mouth of another srnall stream run-
                            ning into the bay on the south side of said cape, a little above the
                            Waatch village; thence following said brook to its source; thence in a
                            straight line to the source of the first-mentioned brook, and thence fol~
                            lowing the same down to the p4'ce of beginning; which said tract shall
                            be set apart, and so far as necessary surveyed and marked out for their
  th~~~;.~::i~!:eo : :1de exclusive use; nor shall any white man be permitted to reside upon the
         ·        ' . · same without permission of the said tribe and of the superintendent or
     Roe.dsmaybeme.de. agent; but if necessary :for the public convenience, roads may be run
                '           thro~gh the said reservation, tne Indians being compensated for any
                            damage ~hereby done them. It is, however, understood that should
  th ereon.                 the President of the United States hereafter see fit to place upon the
                            said reservation any other friendly tribe or band to occupy the same in
                            common with those above mentioned, he shall be at liberty to do so.
    Indians to within
  res•vat!on    settle ona     A RTICLE 3• The sai'd tr1'be agrees to remove to an d sett1e upon t he
 year.                      said reservation, if required so to do, within one year after the ratifi-
                            cation of this treaty, or sooner, if the means are furnished them·. In
                           !he mean time it shall b'e lawful for them to reside upon any land not
                            m the actual claim and occupation of citizens of the United States,
                            and upon any land claimed or occupied, if with the permission of the
                            owner.                          •                                           .
 1e:-.!fh:cu~!J Jri{J:        ARTICLE 4. The right of taking fish' and of whaling or sealing at
 dians.      ,             usu~l an? accustome~ groun?~ and stations i~ further secured to said
                           ~ndians m common with all ~1tizens of the U mted States, and of erect-
                           ing- ~emporary houses for the purpose of curing, together with the
    Proviso.
                           privil_ege of hunting and gathering roots and berries on .open and
                           unclaimed lands: Provided, however, That they shall not take $'hell-fish
                           :from any beds staked or cultivated by citizens.
 uiii~~~:'a1es.by the         ARTICLE 5. In consideration· of the above cession the United States
                           agree ~o pay to the said tribe the sum of thirty thousand dollars, in the
                           fol~owmg manner, that is to say: During the first year after the ratifi-
                           cat10n hereof, three thousand dollars; for the next two years, twenty-




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                                  TREATY WITH THE MAKAR, 1855.                                             683
   five hundred dollars each year; :for the next three years, two thousand
   dollars each year; for the next four years, one thousand five hundred
   dollars each year; and :for the next ten years, one thousand dollars
   each year; all which said sums of money shall be applied to the use Howtobeapplled.
   and benefit of the said Indians, under the direction of the President of
   the United States, who may :from time to time determine at his dis-
   cretion upon what beneficial objects to expend the same. And the
   superintendent of Indian affairs, or other proper officer, shall each
   year inform the President of the wishes of said Indians in :respect
   thereto.
       ARTICLE 6. To enable the said Indians· to remove to and settle upon Appropriation for
   their
     •    aforesaid
                  •     reservation ,- and •   to• clear, fence
                                                             • , and break up a suffi-
                                                                                    .    removala
                                                                                        Ing
                                                                                                  nd f0 rclear-
                                                                                            and fencmg    land,
   ment quantity of land for cultivat10n, the Umted States :further agree etc.
   to pay t_he sum of three thousand dollars, to be laid out and expended
   under the direction of the President, and in such manner as he shall
   approve. And any substantial improvements heretofore made by any
   individual Indian, and which he may be compelled to abandon in con-
   sequence of this treaty, shall be valued under the direction of the Pres-
    ident and payment made therefor accordingly.
       ARTICLE 7. The President may hereafter, when in his opinion the Ind!rf maihbe re-
   interest.9 of the Territory shall require, and the welfare of.said Indians ~~!ton:°m e res-
   be promoted thereby, remove them from said reservation to such suit-
   able place or places within said Territory as he may deem fit, on
   remunerating them :for their improvements and the expenses of their
   removal, or may consolidate them with other friendly tribes or bands; Tribes may be con-
   and he may :further, at his discretion, cause the whole, or any portion solidated.
   of the lands hereby reserved, or such other land as may be selected in                          ·
·. lieu thereof, to be surveyed into lots, and assign the same to such indi-
   viduals or :families as are willing to avail themselves of the privilege,
   and will locate thereon as a permanent home. on ·the same terms and
   subject to the same regulations as are provided in the ~ixth article of Ante, p. 612.
   the treaty with the On1ahas, so :far as the same may be practicable. ·
       ARTICLE. 8. The annuities of the aforesaid tribe shall not be taken Annuities of tribe
   to pay the debts of individuals.                                   ·                 not to pay individual
       ARTICLE 9. The said Indians acknowledge their dependence on the d\~~ians to preserve
   Government of the United States, and promise to be friendly with all frie nd1 Yrelations.
   citizens thereof, and they pledge themselves to commit no depredations
   on the property of such citizens. And should any one or more of . To pay for depredot·
   them violate this pledge, and the :fact be satisfactorily proven b_efore t,ons.
   the agent, the property taken shall be returned, or in default thereof,
   or if injured or destroyed, compensation may be made by the Govern-
   ment out of their annuities. Nor will they make war on any other tribe Not to make wotr,
   except in self-defence, but will submit all matters of difference between except.
   them and other Indians to the Government of the United States or its
   agent for decision and abide thereby. And if any of the said Indians
   commit any depredations on any other Indians within the Territory,
   the same rule shall prevail as that prescribed in this article in case of
  .depredations against citizens. And the said tribe agrees not to shelter f Tg surrender O f -
   or conceal offenders against the United States, but to deliver up the en ers.
   same for trial by the authorities.
  . ARTICLE 10. The above tribe is desirous to exclude from its reserva- _Annuities to be
     • th e use of ard en t s:p1r1
   t 10n                            · ·ts, an d to prevent its
                                                             . :eeopl e f rom d rm
                                                                                 . k'mg drinking
                                                                                        withheld ardent
                                                                                                  from those
                                                                                                           spir-
   the same, and therefore 1t is provided that any Indian belonging thereto its.                         ·
   who shall be guilty of bringing liquor into said reservation, or who
   drinks liquor, may have his or her proportion of the annuities withheld
   :from him or her for such time as the President may determine.                   ··
       ARTICLE 11. The United States :further agree to establish at the -ta~'l!~~ns~~~~:r=
   general agency :for the district of Puget's Sound, within one year from a1, ~tc., school for ~hdee
   th e rat 1'ficat'10n h ereof 1, and to support f or the per10  • d o:f twenty years, Indians;  to prov1roe·
                                                                                        tools and employ
   an agricultural and inctustrial school, to be :free to children of the said chanics, etc.               ·
   tribe in common with those of the other tribes of said district and to




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                          provide a smithy and carpenter's shop, and furnish them with the neces-
                          sary tools and employ a blacksmith, carpenter and farmer for the like
                          term to instruct the Iindians in their respective occupations. Pr011ided,
                          howevevr, That should it be deemed expedient a separate school may be
                          established for the benefit of said tribe and such others as may be asso-
                          ciated with it, and the like persons employed for the same purposes at
   A physician, etc.      some other suitable place. And the United States further agree to
                          employ a physician to reside at the said central agency, or at such other
                          school should one be established, who shall furnish medicine and advice
                          to the sick, and shall vaccinate them; the expenses of the said school,
                          shops, persons employed, and medical attendance to be defrayed by the
                          Umted States and not deducted from the annuities.
att~ia.~beai!'a. ~oi~ ARTICLE 12. The said tribe agree~ to free all slaves now held by its
a.cquireothers.           people, and not to purchase or acqmre others hereafter.
   No!     trade 011t of     ARTICLE 13. The said tribe finally agrees not to trade at Vancouver's
tbe          Sia.tes. not Is land ore1sew"here out o f t h e d omm1ons
     (mtedIndians
   Foreign                                                       ' '     of t h e U mte
                                                                                     · d S tates, nor sh al1
to
vation.                         · I n dians be perm1'tted .t o res10.e
    reside on the reser- f ore1gn                                  ·1 m•
                                                                          1'ts reservat'10n wit· h out con-
                          sent of the superintendent or agent.
eff~en treaty to take        ARTICLE 14. This treaty shall be obligatory on the contracting J?ar-
       .                  ties as soon as the same shall· be ratified by the President of the U mted
 ·                        States.
                          _ In testimony whereof, the said Isaac I. Stevens, governor and super-
                          intendent of Indian affairs,'and the undersigned, chiefs, headmen and
                           delegates of the tribe aforesaid have hereunto set their hands and seals
                           at the place and on the day and year herein before written.
                                        Isaac I. Stevens, governor and superintendent. [L. s.]
                    Tse-kanwtl, head chief of the Ma-             Baht-se-ditl, Neah village, his x
                       kah tribe, his x mark.            [L. s.]      mark.          ·                · [L. s.J
                    Kal-chote, snbchief of the Makahs,             Wack-shie, Neah village, his x
                       his x mark.                       [ L. s.]     mark.                             [L. s.]
                    Tah-a-howtl, snbchief of the Ma-               Hah-yo-hwa, Waatch village, his
                       kahs, his x mark.                 [L. s.]      x mark.                           [L. s.]
                    Kah-bach-sat, subchief of the Ma-              Daht-leek, or Mines, Osett village,
                       kahs, his x mark.                 [L. s.]      his x mark.                       [L. s.~
                    Keta-kus-sum, snbchief of the Ma-              Pah-hat, Neah village, his x mark. [L. s.
                       kahs, his x mark.                 [ L. s.] Pai-yeh, Osett village, his x mark. [L. s.
                    Haatse, subchief of the Makahs,                Tsah-weh-snp, Neah village, his x          ·
                       his x mark.                       tL. s.] mark.                                  [L. s.].
                    Keh-chook, snbchief of the Ma-                 Al-is-kah, Osett village, hisxmark. [L. s.]
                       kahs, his x mark.                 [ L. s.] Kwe-t.ow'tl, Neah village, his x
                    lt-an-da-ha, subchief of the Ma-                  mark.                             [L. s.J
                       kahs, his x mark.                 [L. s.] Kaht-saht-wha, Neah village, his x
                    Klah-pe-an-hie, or Andrew Jack-                   mark.                             [L. s.]
                       son, snbchief of the Makahs, his            Tchoo-qunt-lah, or Yes Sir, Neah
                       x mark.                           [L. s.J      village, his x mark.              [ L. s.]
                    Tsal-ab-oos, or Peter, Neah village,           Klatt.s-ow-sehp, Neah village, his
                       his x mark.                       [L. s.]      x mark.           .               [L. s.J
                    Tahola, Neah village, his x mark. [L. s.] Kai-kl-chis-sum, Neah village, his
                    Kleht-li-qnat-stl, Waatch village,            - mark.                               [L. s.]
                       his x mark.                       [L. s.] Kah-kwt-lit-ha, Waatch village,
                    Too-whaii-tan, Waatch village, his              · his x mark. ·                     [L. s.J
                       x mark.                           [L. s.] He-dah-titl, Neah village, his x
                    Taht.s-kin, Neah village, his x                   mark.                             [L. s.]
                       mark.                             [ L. s.] Sah-dit-le-nad, Waatch village, his ·
                    Nenchoop, Neah village, his x                     x mark.                           [L. s.]
                       mark.                             [ L, s.] Klah-kn-pihl, Tsoo-yess village,
                    Ah-de-ak-too-ah, Osett village, his               his x mark.                       [ L. s. J
                       x mark.                           [L. s.] Billuk-whtl, Tsoo-yess village, his
                    William, Neah village, hisxmark. [L. s.]          x mark.                           [L. s.]
                    Wak-kep-tnp, Waatch village, his               Kwah-too-qualh, Tsoo-yeBB village,
                       x mark.                           [L. s.]      his x mark.                       [L. s.]
                    Klaht-te-di-ynke, Waatch village,              Y ooch-boott, Tsoo-yess village, his
                       his x mark.                       [L. s.]      x mark.                            [L. s.]
                    Oobick, W aatch village, his x                 Swell, or Jeff. Davis. Neah village,
                       mark.           .                 [L. s.J      his x mark.                        [ L. s. J
                    Bich-t.ook, Waatch village, his x
                       mark.                             [L. s.]




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                           TREATY WITH THE CHIPPEW.A, 1855.                                    686     ·

   Executed in the presence of 'us. The words ":five hundred" being
:first interlined in tlie 5th article, and erasures made in the 8th and 9th
articles.
      M. T. Simmons, Indian agent.
      George Gibbs, secretary.
      B. F. Shaw, interpreter.
      C. M. Hitchcock, M. D.
      E. S. Fowler.
      Orrington Cushman.
      Robt. Davis.


                 TREATY WITH THE CHIPPEWA, 1855 .
 .Articles of agreement and CO'li,vention made and concluded at the city_          Feb. 22, 1855.
   of Washinqton, this twenA-se<Jond day of Fewuary, one tlwusanil 1os~t.,1165.
                                   -G+'f,.,          rr · W. 111                 RatifiedMar.S,1&55.
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   eign    nunwrfNJ
     ' l.t l.   ,;,__ ,:,
                          anu,,:, .JV"::!"  e, 1,,,,
                                               vy u-eOTge  . .m.anypenny, commu-
                                                                              •
                                                                                 Proclaimed Apr. 7,
   sioner, on the part of the United States, and the foUowing-named 1855•
   chi~fs and delegates,_representing the .Mississippi bands of Ohippew_a
   Indians, viz: .Fti,r1-o-na-ke-shick, o: Hole-~n-the-day; Que-we-san-s-i-s/i,
   or Bad Boy,- Wand-e~kaw, OT Little Hill,- I-awe-sli.01.oe-we-ke-shig,
   OT Grossing__ SNY!I; Petud-dunce, or Rat's Liver; .Mun-o-min-e-kay-
   shein, OT Rice-¥akeri .Mah-yah-ge-way-we-durg, OT the Ohorister;
   Kay-gwa-daush, or tile .Attempter; Oaw-caug-e-we-goon or Crow
   Feather; and Show-baush-king, or He that passes under Everything,
   and the following-named chiefs and delegates representing the Pil-
   lag_er and ·Lake Winnioigoshish bands o.f_ Chippewa Indians, viz:
   .Aish-ke-bun-e-koshe, or Flat .Mouth; Be-sheck-kee, m· Buffalo; .Nay-
   m.1,n-a-aa11,Sh, OT Young .Man's Son; .Maug-e~g_aw-bow, OT Stepping
   Ahead; .Mi-gi-si, or Eagle, and Kaw-be-mub-bee or ..North Star,
   they b~in(j thereto duly authorized by the said bands of .Eultians
   respectively.                            ·
   ARTICLE 1. The Mississippi, Pillager, and Lake Winnibig_<>shish U c1r:nfs.1te to th e
bands of Chippewa Indians hereby cede, sell, and convey to the United n e       s.
States all their right, title, and interest in, and to, the lands now owned
and claimed by them, in the Territory of Minnesota, and included within
the following boundaries, viz: Beginning at a point where the east
branch of Snake River crosses the southern boundary-line of the Chip-
pewa country, east of the Mississippi River, as established by the treaty
of July twenty-ninth, one thousand eight hundred and thirty-seven,
running thence, up the said branch, to its source; thence, nearly north
in a straight line, to the mouth of East Savannah River; thence, up the
St. Louis ·River, to the mouth of East Swan River; thence, up said
river, to its source; thence, in a straight line, to the most westwardly
bend of Vermillion River; thence, northwestwardly, in a straight line,
to the :first and most considerable bend in the Big Fork River; thence,
down said river, to its mouth; thence, down Rainy Lake River, to the
mouth of Black River; thence, up that river, to its source; thence, in
a straight line, to the northern extremity of Turtle Lake; thence, in a
straight line, to the mouth of Wild Rice River; thence, up Red River
of the North, to the mouth of Buffalo River; thence, in a straight line,
to the southwestern extremity of Otter-Tail Lake; thence, through
said lake, to the source of Leaf River; thence down said river, to its
junction with Crow Wing River; thence down Crow Wing River, to
its junction with the Mississippi River; thence to the commencement
on said r_iver of the southern boundary-line o~ the Chippewa coun~ry,
as uStabhshed by the treaty of July twenty-mnth, one thousand eight
hundred and thirty-seven; and thence, along said line, to the place of
beg-inning. And the said Indians do further fully and entirely relin-
quish and convey to the United States, any and all right, title, and




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